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                               Case No. 24-6943

                   UNITED STATES COURT OF APPEALS
                         FOR THE NINTH CIRCUIT
            ____________________________________________________
                         GEORGE JARVIS AUSTIN,

                    Plaintiff/Appellant (Admitted Student)

                                         v.

              GEORGETOWN UNIVERSITY, et. al. Defendants.

               (Federal Tax Identification Number: XX-XXXXXXX)
               ____________________________________________________

            On Appeal from the United States District Court for the
    Northern District of California: Case No. 4:24-cv-00260-CRB (DMR)
     Charles R. Bryer, Judge,(Donna M. Ryu, recused Magistrate Judge)
​       ​     _____________________________________________________

       MR. AUSTIN’S (APPELLANT’S) EXCERPTS OF RECORD
                        VOLUME 5 of 9
              ______________________________________________________


    Mr. George Jarvis Austin,
    Plaintiff-Appellant (Self-represented)
    2107 Montauban Ct., Stockton, CA
    209.915.6304,
    gaustin07@berkeley.edu




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presumptions], evaluating their thoughts and efforts -their uery worth as citizens-

according to a criterion barred to the Government by history and the Constitution. H

   only "cars[irLg] continued hurt and injury" to harm Mr. Austin, because he is

Black [i.e. race] or Georgetown's use of derogatory racist stereotypes of Black people
[i.e. Georgetown conduct admits use of derogatory anti-Black stereotypes: a.

Georgetown operates on the premise Black men are inferior to Whites and thus

Georgetown does not need to respect either their 1. 1.981 rights to mandatory written

media contract and 2. Their Civil Rights Act of 1.964 Title VI rights to not be

excluded from Campus Activity, or core programs like Campus Complaint

Procedures-Policy-Programs via IDEAA, b. Georgetown discovered Mn Austin is

Black during the admissions process (i.e. Georgetown student ID, and usage of Mn

Austin's image and likeness for commercial gain, marketing exploitation in

Georgetown advertisement, etc.) "ergo" C. Georgetown assumes anti-Black derogatory

stereotype applies to Mr Austin's mandatory written media contract (and thus does

not make contract offer on same basis as Whites) and based on that flawed logic,

non-sequitur illogic, & per se illegal racist presumption, thus Georgetown willfully

ignores documentation-direct evidence, and continues to 1. refuse to make a

mandatory written media contract (per its own policy-terms) with Mn Austin, and 2

illegally exclude Mn Ausitn from IDEAA complaint process to resolve, investigate,

correct GeorgetowrlS per se illegal conduct, because he is Black, on the same basis as

Whites (whereas their rights in both areas are respected, and exercised)]. Per the

2023 US Supreme Court's Students for Fair Admissions, Inc. U. President & Fellows

of Harvard Coll., No. 20-1199, 7 (U.S. Jun. 2.9, 2023): "Georgetown's structures] are

infirm for a second reason as well: They require[d] stereotyping [ML Austin by the

way they operate .. assuming " ess worthy", and "Inferiority"] ].. the very thing

      6 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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Gruffer foreswore....it engages in   offensive      demeaning [and derogatory]

assumptiorL[s].JI

5.     Georgetown's facially discriminatory anti-Black conduct reflects the pattern

of behavior highlighted in Judge Weigel's ruling in Johnson U. San Francisco

Unified School Dist., 339 F. Supp. 1315, 1317 (N.D. Cal. 1971) cited to by Judge

Orlick II in San Francisco NAACP U. San Francisco Unified School Dist., 5.9 E

Supp. 2d 1021, 1023 (N.D. Cal. 1999), with NAACP represented by Judge Breyer's

colleague Judge Haywood Gilliam (although the order cited above spelled his name

wrong) clerked for the Legendary Judge Thelton Henderson .Gilliam Responses

9-17-l4.pdf. The highlighted pattern in Johnson U. San Francisco Unified School

Dist., 339 F. Supp. 1315, 1317 (ND. Cal. 1971) demonstrates willful racist conduct

similar to Georgetown's toward Mr. Austin whereas a school district chooses to still

engage in facially discriminatory, Dejure or Defacto Segregationist conduct (to

isolate, confine, or refuse to equally serve or contract with Black students, Black

Teachers, or Black Administrators in violation of Equal Protection Clause), despite

knowing 'More than seventeen years ago [in 1.971], a unanimous decision of the

United States Supreme Court made it clear that racial discrimination in public

education violates the [US]Constitution. Today it is established beyond all question

that any law, ordinance or regulation of any governmental agency .. furthering such

discrimination violates the Constitution of the United States. The cases so holding

are legion. They have been handed down, not only by the Supreme Court of the

United States, but,   throughout the nation.   JJ




5.     Per Judge Weigel's wisdom in Johnson U. San Francisco Unified School Dist.

Georgetown's "Opposition to desegregation [in serving or making contracts with Mn

      7 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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Austin] fosters false concepts of racial [White] superiority and of racial [Black]

inferiority....[and reflects Georgetown's]   Racial hatred [which] is an adult rather

than a childhood disease." This "adult rather than a childhood disease"

demonstrated by the "infirm" Georgetown pattern of conduct toward Mr. Austin is

clear per the US Supreme Court's l. Runyon U. McCrary 2. General Building

Contractors Assn., Inc. U. Pennsylvania, and 3. Comcast Corp. U. Nat'Z Ass'n of

African Am.-Owned Media, 140 S. Ct. 1009, 1016 (2020), prohibits the "blatant

deprivation of Civil Rights such as where a private offerer [in this case Georgetown]

refuses to extend to [an African- American, in this case Mr Austinj, because he is an

[African-Americanj, the same opportunity to enter into contracts he extends to White

offerees [in this case non-Black, or White Georgetown students]    JJ




                  Georgetown violates Mr. Austin's 1981 rights

6.    Mr. Austin cites to world renown Thelton E. Henderson, for the 1981 legal

standard. Because legendary Judge Henderson has a particularly unique insight to

1981's operation, and personal understanding of how anti-Black racial animus

operates regardless of status or position in society (as he experienced both subtle,

and not so subtle forms of anti-Black discriminatory animus even after his ascension

and success) his analysis is particularly valuable under these facts. Mr. Austin was

blessed to be invited to Judge Henderson's home, in Berkeley, as 1 of 2 keynote

speakers to raise school funds for students in need (Mr. Austin had no personal gain

in the efforts, and was happy to share and help others): Judge Henderson was

impressed after my speech, and thereafter invited Mr. Austin back to his home for a

bit of Tea, Mentorship, and Wisdom. Legendary Judge Thelton Henderson, who

Mr. Austin had the pleasure of meeting personally after Mr. Austin gave a keynote

      8 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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speech at his home in Berkeley, has extra credibility of analysis (provided his depth

of personal experience with racism as a Black man, despite his accomplishments),

his knowledge of how the Klu Klux Klan (and other proponents

of White Supremacy) operate. California Newsreel - SOUL OF JUSTICE:
THELTON HENDERSON'S AMERICAN JOURNEY
      (" He was on the scene as James Meredith braved venomous mobs to integrate Ol'Miss, when
      Medgar Eyers was assassinated and when four little girls were killed in the Birmingham
      church bombing. In his role at the Justice Department, Henderson embodied the tension
      described by Andrew Young as being an 'arm of the law in a sometimes lawless society.")
7.    As an interesting aside, presiding Judge Judge Breyer's and Magistrate

Judge Ryu's (who recused herself) colleague Judge Haywood Gilliam clerked for the

Legendarv Judge Thelton Henderson, and represented the NAACP in the matter of

San Francisco NAACP U. San Francisco Unified School Dist., 5.9 E Supp. 2d 1021,

1023 (N.D. Cal. 1999) presided over by Judge Orlick II, Judge Orrick III's father

Gilliam Responses 9-17-l4.pdf, Judge Gilliam's responses to Senate Judiciary's

Questions for the record "6...to faithfully and impartially apply the law in every

case, without regard to the type of matter or the identity of the parties       7.

treating every person who comes into the courtroom, whether they are litigants,

counsel, witnesses, jurors or court staff, with euenhandedness, respect, and courtesy.

The judge also must ensure that all parties in a case receive the opportunity to hare

their arguments heard and fairly considered...The citizens of our country entrust

federal judges to dispense 'equafjustice under the law, and to decide cases by

applying controlling precedent to the facts of the cases before them, without regard to

any other considerations (including race)..." also reflects the principle, and creed, of

Equal Opportunity' which is not only central to the doctrine of equality as embodied

42 USC 1981, but which defendant Georgetown fundamentally, & egregiously,

violated (producing Mr. Austin's complaints) and violates in an ongoing manner.

      9 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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wwwjudiciary.senate.gov/imo/media/dod Gi11iam%2()Responses %2()9-17-l4.pdf

8.    Mr. Austin is the person, admitted student, and offeree whose economic,

IP-publicity, property, & 42 USC 1981 rights to contract were violated by

Georgetown, private offerer, in the attached picture [image, likeness,etc.] and the

process which deprived Mr. Austin's contract rights. Mr. Austin is a high

performing, accomplished, highly recruited, and high potential admitted

Georgetown student who has 1981 right to contract, and Title VI Equal Protection

rights just like everyone else, and fully expects to be treated on the same basis as

Whites, but was not (dckt. 76). See attached Georgetown's initial written offer to

attend, as well as its own promulgated mandatory policies, and instructions

demonstrates it knew better, but willfully, intentionally, intended to deprive Mr.

Austin's mandated written media contract, and failed to correct once Mr. Austin

made formal complaints, and excluded Mr. Austin's violating his Equal Protection

rights (showing deliberate indifference, dckt. 80). See attached. Per the Supreme

Court, and Georgetown itself, these are fundamental and valuable rights which are

being violated against Mr. Austin's interest, and rights (dckt. 81). See attached.

9.    Mr. Austin learned to perceive discriminatory animus, and embody "Equal

Opportunity" non-discriminatory service attitude, through experience. There are

several ways to ascertain racial discriminatory animus. Some of the ways

applicable here include a. observation of different policies applied for different racial

groups b. Admissions by the racial abusers or discriminator that they in fact

discriminated with disparate treatment or application of inferior or superior policies

to certain groups (i.e. admits to treating Blacks as 'inferior' or 'less worthy', or

Whites as 'superior' or more worthy) C. Admissions of fact by the racial abusers or

     10 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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their use of Racial slurs or Derogatory Racial stereo- types (both offensive to the

Constitution) d. Admitted use of per se illegal segregationist, racial caste like,

tactics that block or refuse to serve (in violation of 1981, and Equal Protection

under Civil Rights Act 1964, Title VI, in an education context) certain persons based

on race, or derogatory racial stereotypes and several other ways. Mr. Austin

learned the value of treating everyone equally well, non-discriminatory service from

the use of 'blind' or 'volunteer' testers like DOJ or HUD uses for housing

discrimination or 'mystery' or 'secret' shoppers that various retail industries use to

evaluate the quality of service (including non-discriminatory mandates) as well as

how to proactively respond to racist conduct once perceived (dckt. L9)~ See attached.

10.    Per US Supreme Court's General Building Contractors Assn., Inc. U.

Pennsylvania, and Comcast Corp. U. Nat'Z Ass'n of African Am.-Owned Media, 140 S.

Ct. 100.9, 1016 (2020), standards of demonstrated racial animus under sec. 1981,

Georgetown purposefully, and willfully, deprived Mr. Austin's rights to contract and

engaged in a "blatant deprivation of civil rights such as where apriuate offerer [in

this case Georgetown] refuses to extend to [an African- American, in this case Mr

Austinj, because he is an [African-Americanj, the same opportunity to enter into

contracts he extends to White offerees [in this case White admitted students.   JJ




11.     When Defendant Georgetown made White, or Non-Black male, students

contract offers, they provided Whites: 1. with respect to their persons, as human

beings, (and provided a head-up, or forewarning, that Georgetown desired to take a

photo of them and use it for commercial, marketing, purposes), whereas they

disrespected Mr. Austin's personhood, human-ness, and purposefully hid, omitted,

and defrauded out of economic contract rights, or even knowledge that his image,

       11 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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and likeness, was being used for commercial-marketing purposes because he is

Black 2. knowledge of what the photo was used for (and where it may be sent for

marketing purposes) for Whites, but hid knowledge, and fact photo was being used

at all (after already stealing rights from him) for Mr. Austin because he is Black 3.

Pre-approval of use of the photo by the non-Black male, or White students whereas

they didn't even think to ask Mr. Austin in disrespect of his overall person, and

rights to not give pre-approval because he is Black 4. An opportunity to accept or

decline the offer itself for Whites, whereas they stole the opportunity to make his

own choice, decline or accept, after already stealing economic-IP-rights of publicity

from Mr. Austin because he is Black 5. An opportunity to review the written

contract offer before making the decision 6. An opportunity to agree to the terms of

the contract offer 7. An opportunity to provide a counteroffer if terms were not

acceptable and 8. An opportunity to have a meeting of the minds 9. Enjoy

consideration and performance of the contract's obligation as well as other benefits,

privileges, rights provided in a contractual relationship.

12.    Georgetown willfully chose to deprive Mr. Austin's rights in this manner

because he is a Black male admitted student compared to similarly situated White,

or non-Black students. Per Georgetown, (i.e. FAC para.l11.), written authorization

requires Mr. Austin's prior a. notice of his picture being taken, b. notice of purpose,

C. notice of business use, d. presentation of written contractual agreement to

consent to business use, e. with General Counsel approval of form f. signature

consenting prior to use. Per Georgetown, written authorization requires a written

contract between the student and those utilizing the IP-Publicity Rights-Photo

(including Georgetown themselves) for photos taken prior to commercial use.

      12 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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Georgetown admits it failed all of its duties in this regard, and violated Mr. Austin's

right to contract explicitly, but never a. Apologizes b. Seeks to remedy or C. even

explains why they violated his rights. Georgetown's first acknowledgement of

business use was after Georgetown's exploitation without consent (after lying to Mr.

Austin in the first place denying that they stole some of his rights without asking,

or attempting to engage in making a contact). Georgetown admits there was No

offer, acceptance, consideration, or signature (per required written authorization),

and thus no contract was made with Mr. Austin because he is Black, in the same

way as similarly situated Whites, with George- town's 'blatant' violations of Mr.

Austin's rights under 42 USC 1981 per Comcast Corp. U. Nat? Ass'n of African

Am.-Owned Media, 140 S. Ct. 1009, 1016(2020)

13.     Georgetown admits, publicly, that a student, or "Any applicant for

employment or admission, current or former employee or student, or third party

(hereinafter referred to as "CompZairLant'Q" can make a complaint via email or in

person, and is encouraged to do so, :https://facultyhandbook.georgetown.edu/section4/a/
Georgetown admits, publicly, that once complaint is made via email, as Mr. Austin

did once Georgetown admitted it violated Mr. Austin's rights to contract under 1981,

a set of mandatory steps must be done by IDEAA to avoid violating its own

Georgetown policies or the law that informs-undergirds IDEAA faeultyhandbook.

georgetown.edu/section4/a/

14.    When Defendant Georgetown receives a complaint via email made by "Any

applicant for employment or admission, current or former employee or student, or

third party" similarly situated Whites, or Non-Black males, they provided Whites a

set of mandatory steps (facultyhandbook.georgetown.edu/ section4/a/) per


      13 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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Georgetown written policy 'Troeedures for Processing Grievances" that must be

done in accord with Equal Protection under Civil Rights Act of 1964 (Title VI)

coexistent with 42 USC 1981 including: 1. IDEAA staff shall send acknowledgement

of complaint receipt for Whites, even if the acknowledgment is to say Georgetown's

IDEAA needs more information to proceed through the Complaint process, whereas

they did not even acknowledge Mr. Austin's complaints, AT ALL, because he is

Black 2. IDEAA staff shall schedule intake meetings for Whites, or non-Black

males, but not only did not schedule an intake meeting for Mr. Austin, but failed to

even acknowledge the first step of complaint because Mr. Austin is Black

(demonstrating extreme animus as if Mr. Austin is not a person, and less than "Any

applicant for employment or admission, current or former employee or student, or

third party" or human being) 3. IDEAA staff provides a general understanding of

the relevant policy and this grievance procedure as a normal part of intake for

Whites whereas they refuse to answer any questions about relevant policy or

procedure, and fail to provide any relevant information to Mr. Austin because he is

Black 4. IDEAA staff provides, At the request of the Complainant, an opportunity to

proceed either with an Informal Resolution or an Investigation of the responded for

Whites, whereas they failed to provide Mr. Austin with either opportunity, and

failed at the very beginning to acknowledge his humanity (by refusing to even

acknowledge his complaint to begin the process) because he is Black.

15     Further, per faQultyhandbQQk.gemrgetown .edu/sectiQn4/a/ Whites are

provided: 5. The opportunity at any time, even if informal resolution was initially

chosen, to request in writing to alternatively proceed to Investigation for Whites,

whereas this opportunity was deprived and not provided for Mr. Austin, as well as

      14 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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all the previous steps in the process, because he is a Black Complainant 6. The

opportunity to initiate a formal Complaint by providing a written signed statement

(via email) for Whites whereas they deprived this opportunity for Mr. Austin (and

all other steps because he is Black) 7. The opportunity to provide any supporting

documentation, or evidence, to substantiate a formal Complaint (via email) for

Whites whereas they deprived this opportunity for Mr. Austin (and all other steps

because he is Black) 8. The opportunity to receive a written response from the

Respondent in 20 days or less after filing complaint, if they have one, as to why they

conducted themselves in that manner, violating the law or policy, for Whites,

whereas they deprived that opportunity for Mr. Austin (and completely excluded

him from this Equal Protection required procedure, and policy) because he is Black

9. The opportunity provide rebuttal to Respondent's statement, if needed, within 10

days, after receiving Respondent's response to the initial complaint for Whites,

whereas whereas they deprived that opportunity for Mr. Austin (and completely

excluded him from this Equal Protection required procedure, and policy) because he

is Black.

16.     Moreover, per facultyhandbook.georgetown .edu/section4/a/ Whites are

provided : 10. The opportunity, or right, to present additional evidence, identify

witnesses, and cross examine opposing witnesses in per the Complaint for Whites

whereas they deprived that opportunity for Mr. Austin (and completely excluded

him from this Equal Protection required procedure, and policy) because he is Black

II. The opportunity, and right, to receive IDEAA's investigation, interviewing of

witnesses, complainant and respondent(s), of complaint, within a prompt and

reasonable time frame, for Whites, whereas they deprived that opportunity for Mr.

       15 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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Austin (and completely excluded him from this Equal Protection required

procedure, and policy) because he is Black 12. The opportunity, and right, to have

complaint substance and evidence evaluated and ascertained by IDEAA's experts

for violations (and remedies), where IDEAA shall maintain documentation to

support the findings in its report, including, as applicable, written findings of fact,

transcripts, and audio recordings whereas defendant Georgetown deprived that

opportunity for Mr. Austin (and completely excluded him from this Equal Protection

required procedure, and policy) because he is Black 13. The opportunity, and right,

to receive written notice from IDEAA as to their findings within thirty days of the

conclusion of the investigation for Whites, whereas defendant Georgetown

deprived that opportunity for Mr. Austin (and completely excluded him from this

Equal Protection required procedure, and policy) because he is Black.

17.     Lastly, per facultyhandbookgeorgetown .edu/section4/a/ Whites are

provided: 14. The opportunity, and right, to receive written notice from IDEAA of

not only the findings of the investigation, but instructions on next steps whether

those are appeal (if more information is needed) or corrective action if the

Investigation found violations of law and policy in accord with the complaint for

Whites, whereas defendant Georgetown deprived that opportunity for Mr. Austin

(and completely excluded him from this Equal Protection required procedure, and

policy) because he is Black 15. The opportunity, and right, for IDEAA to forward

its report findings to the Respondent's Executive Vice President or Senior Vice

President, or his or her designee, or other University officials (or their superiors if

they are the violators) consistent with the above provisions addressing

confidentiality to direct that prompt remedial action be taken to correct the

       16 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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situation for Whites , whereas defendant Georgetown deprived that opportunity for

Mr. Austin (and completely excluded him from this Equal Protection required

procedure, and policy) because he is Black 16. The opportunity, and right, for

corrective actions to be imposed on Respondents, where IDEAA shall monitor their

implementation (and additional legal action outside of campus is still able to be

pursued especially when the limits of internal corrective measures do not remedy

the violations by Respondents), whereas defendant Georgetown deprived that

opportunity for Mr. Austin (and completely excluded him from this Equal Protection

required procedure, and policy) because he is Black.

18.     Mr. Austin had no complaints against him, he simply inquired, and

complained as to why Georgetown 1. Violated school policy 2. Violated his

Constitutional rights to contract and 3. Why he was illegally excluded from

essential campus procedures for "Any applicant for employment or admission,

current or former employee or student, or third party" similarly situated Whites, or

Non-Black males, they provided Whites a set of mandatory steps (faculty

handbook.geolrgetown.edu/ section4/a/) per Georgetown written policy
'Troeedures for Processing Grievances" that must be done in accord with Equal

Protection under Civil Rights Act of 1964 (Title VI) coexistent with 42 USC 1981.

19.     As Legendary Judge Henderson explains in Walker U. Contra Costa County: a

"refusal to enter into   contract [on the same basis as Whites] is actionable under §

1981. In making this determination, a lower court should give a fair and natural

reading to the statutory phrase ` the same right[s] ...[in "making, performance,

modification, and termination of contracts, and the enjoyment of all benefits,

privileges, terms, and conditions of the contractual reZationship'7, and should not

       17 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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strain in an undue manner the language of§ 1981....."Wa1ker V. Contra Costa

County, No. C03-3723 TEH, 4 (N.D. Cal. Sep. 6, 2005). Fact 23: Further down in

Walker U. Contra Costa County Judge Henderson expounds on the elements, and

standards of proof, to survive Summary Judgment for a 1981 claim (at later stages

in the litigation process) :
        "E. Disparate Treatment Claims Arising Out of [DefendantS refusal to make a contract] To survive summary
        judgment on a disparate treatment claim, a plaintiff must first state a prima facie case. McDonnell Douglas Corp. v.
        Green, 411 US. 792, 807 (1973). A plaintiff must show: (1) that he belongs to a protected group, (2) that he was
        qualified [to make the contract, if there are requirements, (3) that he suffered an adverse ,. action [i.e. refusal to
        make a contract], and (4) the [opportunity to make contract] remained open or another [similarly situated person] was
        treated more favorably. Sischo-Nownejad v. Merced Community College Dist., 934 F2d 1104, 1109-1110 (9th Cir
        1991). Once the plaintiff establishes a prima facie case, the burden shifts to the defendant to articulate "a legitimate
        non-discriminatory reason"for the challenged action. Id. at 1109. If the [organization who discriminated] does so, the
        burden shifts back to the plaintiff to show that the articulated reason is pretextual. Id. At the summary judgment
        stage, the plaintiff need only present "minimal"proof that "does not even need to rise to the level of a preponderance of
        the evidence. " Wallis v. J.R. Sir plot Co., 26 E3d 885, 88.9 (9th Cin 1994). Defendants stipulate for the purposes of this
        motion that Plaintiff has the evidence to make a prima facie case with respect to [failure to make a contract]. "
20.      Mr. Austin l. Is an African American or Black man who is high achieving,

highly recruited, accomplished, high potential, and an admitted Georgetown

student (protected group[s]) 2. was & is qualified to make the contract (of sound

mind, admitted student, Georgetown took photo and sought to economically exploit

photo, and Georgetown already demonstrated it understood how to properly engage

in written contract when Mr. Austin deferred for a year to participate in Capital

Fellows, Senate Fellows Program [with a written contract similarly required] and

$400 consideration exchanged to solidify that contract) 3. Suffered adverse actions

(Georgetown stole, took, or defrauded out of IP-Rights of publicity-Privacy without

telling Mr. Austin, and when he confronted them on their violation still continued to

refuse to make a contract on the same basis as Whites because of Mr. Austin's race

or derogatory racial stereotypes presuming "inferiority" or "less worthy" by complet-

ely disrespecting Mr. Austin's Constitutional rights to contract) 4. Opportunity to

contract remains open, and Mr. Austin has continued to follow up on the issue.

Further, per the fourth or fifth element, Whites, or non-Black admitted students,


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under this school policy (and Constitutional requirement) were treated

demonstrably better, and Mr. Austin was treated demonstrably in an inferior

manner (see para. 11-19, see attached, dckt. L)

21. In addition to violating Mr. Austin's right to make media contract, as mandated

per Georgetown's own policies, Georgetown simultaneously violated Mr. Austin's

rights in existing contract per performance, modification,      and the enjoyment of

all benefits, privileges, terms, and conditions of the contractual relationship"as well

as Equal Protection per Title VI of the Civil Rights Act of 1964. Georgetown did so

when it completely excluded Mr. Austin on the basis of race, derogatory racial

stereotypes, and sex, because Mr. Austin is a Black man and illegally excluded from

essential campus services-procedures for "Any applicant for employment or

admission, current or former employee or student, or third part;/"that similarly

situated Whites, or Non-Black males, are provided via a set of mandatory steps

(faculty handbook.geolrgetown.edu/ section4/a/) per Georgetown written

policy 'Troeedures for Processing Grievances" that must be done in accord with

Equal Protection under Civil Rights Act of 1964 (Title VI) coexistent with 42 USC

1981.

22.     Per Judge Henderson's analysis in Walker U. Contra Costa County, combined

with US Supreme Court's General Building Contractors Assn., Inc. U. Pennsylvania,

and Comcast Corp. U. Nat? Ass'n of African Am.-Owned Media, defendant

Georgetown's conduct is "blatantly" racist whereas similarly situated White, or

non-Black, student offerees are made offers by Georgetown, respecting their person,

and rights (economic and otherwise) the "private offerer [who blatantly violates Civil

rights when it] refuses to extend to [an African- American, in this case Mr Austinj,

       19 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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because he is an [African-Americanj, the same opportunity to enter into contracts.    JJ




Comcast Corp. V. Nat'l Ass'n of African Am.-Owned Media, 140 S. Ct. 1009, 1016

(2020): Georgetown is a private offerer Mr. Austin is a private offeree, admitted

student (who expects to be treated on the same basis as White, non-Black, admitted

students: anything else offends the Constitution, 1981, Equal Protection, 13th, 14th,

15th Amendments, and Civil Rights of 1964. The only requirements for making a

Georgetown media contract, as an admitted student, is to a. Be an admitted student

on campus, & b. Have an organization desire to use your image, or likeness, to

market or economically exploit their product-service for their benefit. Unbeknownst

to Mr. Austin, Georgetown went out of its way to take and use his image and

likeness while he was an admitted student on campus to market or economically

exploit their product-service for their benefit, and thus fulfills all requirements "to

make" a contract. However, despite meeting all requirements, and following up to

make a contract, get an explanation as to why they violated the law, and school

policy in the first place, Georgetown illegally refuses to make a contract with Mr.

Austin because of his race, or derogatory racial stereotypes (as Georgetown

explicitly admits to Mr. Austin in both word, and deed). Georgetown violated

existing contract, and simultaneously Mr. Austin Title VI Equal Protection rights

when it completely excluded Mr. Austin from essential campus IDEAA

services-procedures, illegally because Mr. Austin is a Black man.

              GeQrgetQwn violates Mr. Austin's Equal P1rQteQtiQn

23. Per the Supreme Court's 1. Brown U. Board of Education, 347 U.S. 483, 4.94

(1954), 2. Students for Fair Admissions, Inc. U. President & Fellows of Harvard

Coll., No. 20-1199, 7 (U.S. Jun. 2.9, 2023) 3. Gebser U. Logo Vista Independent School

     20 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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District 4. Lawrence U. Texas 539 U.S. 558 (2003) Georgetown impermissibly used

Mr. Austin's race, or derogatory anti-Black racist stereotypes, simultaneously

violated Mr. Austin's 1981 rights to contract, in existing contract, and Mr. Austin's

Title VI Equal Protection rights when it completely excluded Mr. Austin from

essential campus IDEAA to treat an admitted student, and Black man, in a

derogatory manner to "deny, restrict, separate, segregate (in application of policy),    77




and exclude Mr. Austin from services-procedures, illegally because Mr. Austin is a

Black man.

24.     Per Students for Fair Admissions, Inc. U. President & Fellows of Harvard

Coll., No. 20-1199, 7 (U.S. Jun. 2.9, 2023) Georgetown's conduct which admits,

explicitly, to both a. treating Black men as inferior' or 'less worthy' (presuming

derogatory stereotype to deprive making a contract), or b. Treating Whites, or

non-Black men, as 'superior' or more worthy (ensuring Whites had opportunity to

review, decline, counteroffer; or accept proposed Georgetown contract offer; let alone

not presuming derogatory stereotypes to deprive Whites their rights to contract) is

doubly offensive to the Constitution of the United States because "[Georgetown's

customer service of process] systems also fail to comply with the Equal Protection

CZause's [co-existent with 42 USC 1.981 's) twin commands that race may never be

used as a "negative" and that it may not operate as a [derogatory] stereotype....

[Georgetown's structures] are zero-sum, and a benefit provided to some [Whites as

'superior' or more worthy in a Higher Education environment designed to serue all

people] but not to others necessarily advantages the former [Whites] at the expense of

the latter [Blacks, particularly Black men.}9}3 Per the US Supreme Court's Heckler

U. Mathews, 465 U.S. 728, 739 (1984) Georgetown confers their own perceived-

       21 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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presumed inferiority (or "stigma") of admitted Black (male) students (as both 1. the

contract offer process and 2. The IDEAA complaint process should be the same for

regardless of race) to create "Stigmatic injury-i.e., 'stigmatizing members of the

disfaoored group as innately inferior and therefore as less worthy "-certainly may

confer Article III standing in discrimination cases. "

25.       Per Gebser U. Logo Vista Independent School District 524 U.S. 274, 2.90

(1998) Georgetown's conduct provides for Equal Protection
"damages remedy [ when] an official who at a minimum has authority to address the alleged discrimination and to institute
corrective measures on the recipient's behalf has actual knowledge of discrimination in the recipient's programs and fails
adequately to respond.....the response must amount to deliberate indifference to discrimination. The administrative
enforcement scheme presupposes that an official who is advised of a       violation refuses to take action to bring the recipient
into compliance. The premise, in other words, is an official decision by the recipient not to remedy the violation. That
framework finds a rough parallel in the standard of deliberate indifference. " Per General Building Contractors Assn., Inc. v.
Pennsylvania, 458 US. 375, 38.9-391 (1982) Georgetown's violation of Mr. Austin's right to contract coincides, and overlaps
with their Equal Protection violations because "the prohibition against discrimination in §1981 is co-extensive with the Equal
Protection Clause".
26.       Per the Ninth Circuit's Brown U. Arizona, No. 20-15568 (9th Cin Sep. 25,

2023) when a student is experiencing a violation of school policy and reports that

conduct to the appropriate University body, especially when the violation was by

someone or something under University control, then it's a violation of Equal

Protection to deny that student investigatory, or enforcement, services as a victim,

or survivor, of the violation whereas Plaintiff
"presented sufficient evidence to allow a reasonable fact finder to conclude that a responsible university official exercised
sufficient control over the "context" in which [University policy and the law was violated] to support liability.... Davis ex rel.
LaShonda D. v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 645 (1999). We further hold presented sufficient evidence to allow a
reasonable fact finder to conclude that the University had "actual knowledge"offacts that required an appropriate response,
and that a university officials failure to escalate reports of [University policy and the law violative] actions was a "clearly
unreasonable"response demonstrating the University'S "deliberate indifference."Id. at 642-48, 648-49;..Gebser v. Lago Vista
Indep. Sch. Dist., 524 U.S. 274, 290 (1998).
                             Mr. Austin's other claims are substantive
27.       Mr. Austin's other claims, prior to any discovery, or disclosure, include: 3.

Georgetown induced contract formation with Mr. Austin as a student through

actual fraud, misstatements on its commitment to follow the law, misstatements

regarding its contract, misstatements regarding its own policies, and continues its

deceitful pattern in its ongoing pattern of still omitting material information after
        22 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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admitting its violations of its own policy, contract, and the law. 4. Georgetown

breached its duties of care toward an admitted Black male student and is negligent

in a. monitoring its leadership's illegal, Equal Protection, policy-contract violating

conduct and b. Managing, correcting, or controlling their illegal, Equal Protection,

policy and contract violating conduct 5. Georgetown exhibits extreme bad faith to

Mr. Austin's detriment with unconstitutional, malicious, intentional, willfully

harmful conduct it could have easily avoided, and by its own policies were

mandated to do the exact opposite of what Georgetown in fact did. Mr. Austin's

cases (including this one) are neither meritless, nor groundless, and in fact are

rooted in well settled, longstanding, Supreme Court, Ninth Circuit, and California

Supreme Court Jurisprudence (and standards for factual pleading).
        "The Court agrees that Riveredge's action was not "frivolous" as that term has been defined under Rule 11. See
        Napier V. Thirty or More Unidentified Federal Agents, 855 F.2d 1080, 1090-91 (3d Cir. 1988) (to be frivolous there
        must be no legal basis for suit, and no argument "advocating a good faith extension or modification of current law"),
        Mareno V. Rowe, 910 F.2d 1043, 1047 (2d Cir. 1990) ("to constitute a frivolous legal position for purposes of Rule II
        sanction, it must be clear under existing precedents that there is no chance of success and no reasonable argument
        to extend, modify or reverse the law as it stands")
             -    Riveredge Assoc. v. Metro. Life Ins. Co. 774 F. Supp. 897 (D.N.J. 1991)

        "We reversed the sanctions, stating that "[w]e believe a plausible, good faith argument can be made          to the
        contrary." Id. at 833, see also Davis v. Ameslan Enterprises, 765 F.2d 494, 498 (5th Cir. 1985) ("the district court's
        determination to impose sanctions may depend on `whether the pleading, motion, or other paper was based on a
        plausible view of the law."') (quoting comment to 1983 amendments"
                  Golden Eagle Distributing Corp. v. Burroughs 801 F.2d 1531 (9th Cir. 1986) Cited 304 times

Mr. Austin's claims from 7.15.21 tO present are not barred by Res Judicata.

28.     It is well settled law per the Supreme Court that ongoing conduct, which

cannot be foreseen (as Georgetown is engaged in), is not barred by Res Judicata.

Relevant Background: On 4/05/2024, Q, Self Represented Plaintiff, Mr. George

Jarvis Austin, provided notice of Voluntary Withdrawal or Dismissal (Without

Prejudice) of this entire, unrelated case, 137 (Docket Text: ORDER DENYING

MOTION TO RELATE CASES by Judge Yvonne Gonzalez Rogers Denying [135]

Administrative Motion), in its entirety under FRCP Rule 41 (without prejudice as is


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the presumption). The Notice terminated the case, its operative complaint, Mr.

Austin's First Amended Complaint (FAC;Dckt. M), without need of court order

upon receipt. Plaintiff's notice is controlling under Rule 41 of FRCP without need

of Judicial Order per Rule 41 of FRCP(A)(l)(A)(i - 'notice'). Finding that it is

"beyond debate that a dismissal under Rule 41 is effective on filing, no court order is

required, the parties are left as though no action had been brought, the defendant

can't complain, and the district court lacks jurisdiction to do anything about it" See

e.g. Commercial Space Management Co. V. Boeing Co., 193 F.3d 1074 (9th Cir. 1999)

This is a new, unrelated, unheard case, Dckt. 137 with new defendants, never heard

causes of action. Mr. Austin voluntarily withdrew or voluntarily (dismissed)

because of documented Due Process, Equal Protection non-judicial act violations

(without prejudice) this entire, unrelated, case 4:24-cv-00260-CRB [DMR] under Rule

41 of FRCP without need of Judicial Order. Under Supreme Court's Cooter Gel,

provided these facts, Defendant fs motion shouZdn't even be considered.

Mr. Austin's cases are not repetitive refilings. but reflect independent Article III,
Supreme Court recognized, well settled, discrete adverse, new, legal harms
29. Mr. Austin did not replead the previously plead harms from 2019-2020 (i.e.

Civ. Code 3344, privacy), nor did he refile the same exact case which causes of

action terminated with the 7.14.21 judgment-disposition per lack of diversity

jurisdiction. Instead, Mr. Austin filed a new case, with new Defendant harms of

ongoing discriminatory conduct never before plead, nor experienced, by Georgetown

University to an admitted Black male student after 7.15.21 to the present. Neither

Civil Code 3344, nor privacy, nor Diversity Jurisdiction are part of this action

(outside of context setting up for the current, and ongoing, causes of action after

disposition of the previous case). Mr. Austin has never been disciplined or in any
     24 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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trouble with any institution of higher education, ever, has straight A's the last nine

semesters, is a good student, good person, and good citizen (attentive, conscientious

and straightforward). See Dckt. M, FAC Mr. Austin is the person whose economic,

property, and 42 USC 1981 rights to contract were violated in the following picture

(page 4, and the process which deprived Mr. Austin's contract rights. Per US

Supreme Court's General Building Contractors Assn., Inc. U. Pennsylvania, and

Comcast Corp. U. Nat? Ass'n of AfricarL Am.-Owned Media, standards of

demonstrated racial animus under sec. 1981, Georgetown purposefully, and

willfully, deprived Mr. Austin's rights to contract and engaged in a "blatant

deprivation of civil rights such as where apriuate offerer [in this case Georgetown]

refuses to extend to [an African- American, in this case Mr Austinj, because he is an

[African-Americanj, the same opportunity to enter into contracts he extends to White

offerees [in this case non-Black, or White admitted students.                            JJ




Mr. Austin's complaint is in Good Faith, with Substantive Issues, Facts, Direct

evidence per 2023 Supreme Court, facially discriminatory ongoing conduct from

7.15.21 to present (Which has not had opportunity to be heard) and is not vexatious

per Supreme Court's Coo te rge l or any other controlling law (Alternatively, it is the

right thing to do). Thus, Mr. Austin should not be sanctioned.

                                Signed, Under Penalty of Perjury.
      "L Mn George Jarvis Austin, declare, certify, verify, or state, under penalty of perjury under the laws of the United
      States of America, and California, that the foregoing specific, numbered , declarations of precise facts, cross
                                                                                                                              as
      referenced with filings-documents on the record, are true and correct (and as I Mr Austin personally experienced).
      s/ George Jarvis Austin                           11.13.24




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                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA

GEORGE JARVIS AUSTIN, Plaintiff                       TOA - RULE 59 Motion on Judge CRB's Order
(Admitted Student ),                                  Good Faith Complaint, Substantive Issues, Facts,
                                                      Direct evidence per 2023 Supreme Court, facially
                                                      discriminatory ongoing conduct from 7.15.21 to
                                                      present (Which has not had opportunity to be heard)
                                                      is not vexatious per Supreme Court's Cootergel or
                                                      any other controlling law (it is the right thing to do).
                                                      AMENDED (FAC) COMPLAINT
                                                      In Honor of the Civil Rights Act of 1964.Tir1e VI.
                                                      Excluding Roman Numeral pages (full filing
                                                      fee paid on site), Hyperlinked with
                                                      Affidavits, Supplements, & Direct Evidence.
v.


GEORGETOWN UNIVERSITY, et. al. Defendants.
(Federal Tax IdentQ?cation Number: XX-XXXXXXX)
Case No. 4:24-cv-00260-CRB (DMR)
                                                      Notice: 2.7.25 at 10a.m. via Zoom

 George Jarvis Austin, Plaintiff (Self-represented)
 2107 Montauban Ct., Stockton, CA
 209.915.6304,
 gaustin07@berkeley.edu

Note: Mr. George Jarvis Austin is an admitted Georgetown student, filing complaint(s) about Georgetown's
ongoing 1. Equal Protection 2. 42 USC 1981 3. Deceit, False Promises, Misrepresentations, Omissions and
Actual Fraud (with Malice) 4. Negligence and 5. Bad Faith violations of his rights (including fundamental
violations of privacy, contract, and publicity rights as well as those enumerated above) as witnessed by over
50+ separate persons. As a Pro Se Litigant, and individual person, Mr. Austin upholds, and reminds of, his as
well as Georgetown's ongoing duty to privacy (and other enumerated duties) throughout the litigation, or
settlement, phases of this legal process with $10 - $15 million minimum Demand depending on structure,
context and timing).
Mr. Austin is a whistleblower; As part of providing 'notice' of documented formal complaints to Georgetown
ideaa@georgetown.edu. generalcounsel@georgetown.edu, presidentsofiice@georgetown.edu,
media@georgetown.edu, privacy@georgetown.edu, visualidentity@georgetownedu, lawdeauofstudeuts
@georgetown.edu, (showing "deliberate inference; discriminatory animus)" included 50+ outside expert
'witnesses' including ocr@ed.gov,;4vacyTA@etLgov, studentaid@ed.gov, and
whistleblowercoordinator.oig@ed.gov, in real time. See Supplement-Afiidavit
NOTE: Mr. Austin's (Plaintiff's, self-represented with limited resources) technology is not currently allowing the
showing of line numbering although he has repeatedly attempted to correct the technological issue (it is
unintentional, and shall be corrected as soon as able) Erickson V. Pardus, 551 U.S. 89, 94 (2007)) "a pro se
complaint, .. must be held to less stringent standards than formal pleadings drafted by lawyers.")


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                                    Table ofAutholrities
1.       Banister U. Davis, 140 S. Ct. 1698, 1703 (2020) ("Rule 59(e) allows a litigant to file a
        "motion to alter or amend a judgment." The time for doing .. is 28 days from entry
        of the judgment")
2.      Cooter Gel! U. Hartmarx Corp. 4.96 U.S. 384 (1990) Cited 4,115 times "when a
        plaintiff has voluntarily dismissed a complaint pursuant to Rule 41(a)(1), a collateral
        proceeding to examine whether the complaint is well grounded will stretch out the
        matter long beyond the time in which either the plaintiff or the defendant would
        otherwise want to litigate the merits of the claim. An interpretation that can only
        have the unfortunate consequences of encouraging the filing of sanction motions and
        discouraging voluntary dismissals cannot be a sensible interpretation of Rules that
        are designed "to secure the just, speedy, and inexpensive determination of every
        action. " Fed. Rule Civ. Proc. 1"
3.      14th Amend. (Equal Protection Clause), Title VI of the Civil Rights Act of
        1964, 42 USC 1981, FERPA, etc.
4.      Brown v. Board of Education, 347 U.S. 483, 4.94 (1954),
5.      How the Nazis Were Inspired by Jim Crow I HISTORY;
6.      How American Racism Influenced Hitler I The New Yorker ,°
7.      What America Taught the Nazis in the 1930s - The Atlantic;
8.      The Impact Of Racist Ideologies: Jim Crow And The Nuremberg Laws
        -Holocaust Museum)
9.      Slaverv archive. georgetownedu/ (...Sale of Maryland Jesuit 's enslaved
        community to Louisiana in 1838. These archival materials relate to the sale
        of 272 men, women, and children by Rev. Thomas Mulledy in 1838.).
10.     Brown U. Board of Education, 347 U.S. 483, 4.94 (1954) "....The words of the
        amendment,.[that].. contain ...the right to exemption..from legal
        discriminations. implying inferiority in civil society...." (referring to Civil
        Rights Amendments 13th, 14th, l 5th Amend.).
11.     Students for Fair Admissions, Inc. V. President & Fellows of Harvard Coll.,
        No. 20-1199, 38 (U.S. Jun. 292023) 'furthers "stereotypes that treat
        individuals as the product of their race, evaluating their thoughts and efforts
        -their very worth as Citizens- according to a criterion barred to the
        Government by history and the Constitution. "Id., at .912 ....Such stereotyping
        can only "cause[] continued hurt and injury, " Edmonson, 500 U.S... contrary
        as it is to the "core purpose" of the Equal Protection Clause [co-extensive with
        sec. 1981]."
12.     Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll.,
        No. 20-1199, 7 (U.S. Jun. 29, 2023): "Georgetown structures] are infirm for a
        second reason as well: They require[d] stereotyping [la/lr. Austin by the way
        they operate .. assuming " ess worthy", and "Inferiority"] ].. the very thing
        Grutter foreswore....it engages in  offensive demeaning [and derogatory]
        assumption[s]. "
        2 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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13.     Johnson U. San Francisco Unified School Dist., 339 F. Supp. 1315, 1317 (N.D.
        Cal. 1971)
14.     NAACP U. San Francisco Unified School Dist., 5.9 E Supp. 2d 1021, 1023
        (ND. Cal. 1999), with NAACP represented by Judge Breyer's colleague
Judge
        Haywood Gilliam (although the order cited above spelled his name wrong)
        clerked for the Legendary Judge Thelton Henderson,, .Gilliam Responses
        9-17-14.pdf.
15.     Johnson U. San Francisco Unified School Dist., 339 F. Supp. 1315, 1317 (N.D.
        Cal. 1971) 'More than seuenteen years ago [in 1971], a unanimous decision of
        the United States Supreme Court made it clear that racial discrimination in
        public education uiolates the [US]Constitution. Today it is established beyond
        all question that any law, ordinance or regulation of any governmental agency
        .. furthering such discrimination uiolates the Constitution of the United
        States. The cases so holding are legion. They hare been handed down, not only
        by the Supreme Court of the United States, but,     throughout the nation."
16.     Johnson U. San Francisco Unified School Dist., 339 F. Supp. 1315, 1317 (N.D.
        Cal. 1971)"Opposition to desegregation [in seruing or making contracts with
        Mr Austin] fosters false concepts of racial [White] superiority and of racial
        [Black] inferiority....[and reflects Georgetown] Racial hatred [which] is an
        adult rather than a childhood disease."
17.     Comcast Corp. U. Nat'l Ass'n of African Am.-Owned Media, 140 S. Ct. 1009,
        1016 (2020), prohibits the "blatant depriuation of Ciuil Rights such as where a
        priuate offerer [in this case Georgetown] refuses to extend to [an African-
        American, in this case Mr Austin], because he is an [African-American], the
        same opportunity to enter into contracts he extends to White offerees [in this
        case non-Black, or White Georgetown students]. "
                   Georgetown violates Mr. Austin's 1981 rights

18.     Mr. Austin cites to world renown Thelton E. Henderson, for the 1981 legal
        standard. Because legendary Judge Henderson has a particularly unique
        insight to 1981's operation, and personal understanding of how anti-Black
        racial animus operates regardless of status or position in society (as he
        experienced both subtle, and not so subtle forms of anti-Black discriminatory
        animus even after his ascension and success) his analysis is particularly
        valuable under these facts. Mr. Austin was blessed to be invited to Judge
        Henderson's home, in Berkeley, as 1 of 2 keynote speakers to raise school
        funds for students in need (Mr. Austin had no personal gain in the efforts,
        and was happy to share and help others): Judge Henderson was impressed
        after my speech, and thereafter invited Mr. Austin back to his home for a bit
        of Tea, Mentorship, and Wisdom. Legendary Judge Thelton Henderson, who
        Mr. Austin had the pleasure of meeting personally after Mr. Austin gave a
        3 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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        keynote speech at his home in Berkeley, has extra credibility of analysis
        (provided his depth of personal experience with racism as a Black man,
        despite his accomplishments), his knowledge of how the Klu Klux Klan (and
        other proponents of White Supremacy) operate. California Newsreel - SOUL
        OF JUSTICE: THELTON HENDERSON'S AMERICAN JOURNEY
        (" He was on the scene as James Meredith braved venomous mobs to integrate Ol'Miss, when
        Medgar Eyers was assassinated and when four little girls were killed in the Birmingham
        church bombing. In his role at the Justice Department, Henderson embodied the tension
        described by Andrew Young as being an 'arm of the law in a sometimes lawless society.")
19.     As an interesting aside, presiding Judge Judge Breyer's and Magistrate
        Judge Ryu's (who recused herself) colleague Judge Haywood Gilliam clerked
        for the Legendary Judge Thelton Henderson, and represented the NAACP i n
        the matter of San Francisco NAACP U. San Francisco Unified School Dist., 5.9
        F Supp. 2d 1021, 1023 (N.D. Col. 1999) presided over by Judge Orrick II,
        Judge Orrick III's father
20.     Gilliam Rponses 9-17-14.pdf, Judge Gilliam's responses to Senate
        Judiciary's Questions for the record "6...to faithfully and impartially apply
        the law in every case, without regard to the type of matter or the identity of the
        parties      7. treating euery person who comes into the courtroom, whether
        they are litigants, counsel, witnesses, jurors or court staff, with
        euenhandedness, respect, and courtesy. The judge also must ensure that all
        parties in a case receive the opportunity to hare their arguments heard and
        fairly considered...The citizens of our country entrust federal judges to
        dispense 'equal'justice under the law, and to decide cases by applying
        controlling precedent to the facts of the cases before them, without regard to
        any other considerations (including race)..." also reflects the principle, and
        creed, of 'Equal Opportunity' which is not only central to the doctrine of
        equality as embodied 42 USC 1981, but which defendant Georgetown
        fundamentally, & egregiously, violated (producing Mr. Austin's complaints)
        and violates in an ongoing manner. www.judiciary.senate.gov/imo/media/doc/
        Gilliam%2()Responses %2()9-17-l4.pdf
21.     (dckt. 76).
22.     (dckt. 80).
23.     (dckt. 81).
24.     (dckt. Q).
25.     Comcast Corp. U. Nat'Z Ass'n of African Am.-Owned Media, 140 S. Ct. 1009,
        1016 (2020), ..."bZatant deprivation of civil rights such as where apriuate
        offerer [in this case Georgetown] refuses to extend to [an African- American, in
        this case Mr Austin], because he is an [African-American], the same
        opportunity to enter into contracts he extends to White offerees [in this case
        White admitted students]. "
26.       Per Georgetown, (i.e. FAC para.lll.), written authorization requires Mr.
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        Austin's prior a. notice of his picture being taken, b. notice of purpose, c.
        notice of business use, d. presentation of written contractual agreement to
        consent to business use, e. with General Counsel approval of form f. signature
        consenting prior to use. Per Georgetown, written authorization requires a
        written contract between the student and those utilizing the IP-Publicity
        Rights-Photo (including Georgetown themselves) for photos taken prior to
        commercial use. Georgetown admits it failed all of its duties in this regard,
        and violated Mr. Austin's right to contract explicitly, but never a. Apologizes
        b. Seeks to remedy or c. even explains why they violated his rights.
        Georgetown's first acknowledgement of business use was after Georgetown's
        exploitation without consent (after lying to Mr. Austin in the first place
        denying that they stole some of his rights without asking, or attempting to
        engage in making a contact) .
27.     Georgetown admits there was No offer, acceptance, consideration, or
        signature (per required written authorization), and thus no contract was
        made with Mr. Austin because he is Black, in the same way as similarly
        situated Whites, with George- town's 'blatant' violations of Mr. Austin's rights
        under 42 USC 1981 per Comcast Corp. U. Nat'l Ass'n of African Am.-Owned
        Media, 140 S. Ct. 1009, 1016 (2020)
28.      Georgetown admits, publicly, that a student, or "Any applicant for
        employment or admission, current or former employee or student, or third
        party (hereinafter referred to as "Complainant'9" can make a complaint via
        email or in person, and is encouraged to do so, :https://facultyhandbook.
        Eeolr2etown.edu/section4/a/ Georgetown admits, publicly, that once complaint is
        made via email, as Mr. Austin did once Georgetown admitted it violated Mr.
        Austin's rights to contract under 1981, a set of mandatory steps must be done
        by IDEAA to avoid violating its own Georgetown policies or the law that
        informs-undergirds IDEAA faeultyhandbook.
        georgetown.edu/seetion4/a/
29.     When Defendant Georgetown receives a complaint via email made by "Any
        applicant for employment or admission, current or former employee or
        student, or third party" similarly situated Whites, or Non-Black males, they
        provided Whites a set of mandatory steps (facultyhandbook.
        georgetown.edu/ section4/a/) per Georgetown written policy 'Troeedures
         for Processing Grievances" that must be done in accord with Equal
        Protection under Civil Rights Act of 1964 (Title VI) coexistent with 42 USC
        1981 including: 1. IDEAA staff shall send acknowledgement of complaint
        receipt for Whites, even if the acknowledgment is to say Georgetown's IDEAA
        needs more information to proceed through the Complaint process, whereas
        they did not even acknowledge Mr. Austin's complaints, AT ALL, because he
        is Black 2. IDEAA staff shall schedule intake meetings for Whites, or

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        non-Black males, but not only did not schedule an intake meeting for Mr.
        Austin, but failed to even acknowledge the first step of complaint because Mr.
        Austin is Black (demonstrating extreme animus as if Mr. Austin is not a
        person, and less than "Any applicant for employment or admission, current or
         former employee or student, or third party" or human being) 3. IDEAA staff
        provides a general understanding of the relevant policy and this grievance
        procedure as a normal part of intake for Whites whereas they refuse to
        answer any questions about relevant policy or procedure, and fail to provide
        any relevant information to Mr. Austin because he is Black 4. IDEAA staff
        provides, At the request of the Complainant, an opportunity to proceed either
        with an Informal Resolution or an Investigation of the responded for Whites,
        whereas they failed to provide Mr. Austin with either opportunity, and failed
        at the very beginning to acknowledge his humanity (by refusing to even
        acknowledge his complaint to begin the process) because he is Black.
30.     Further, per facultyhandbookgeorgetown .edu/section4/a/ Whites are
        provided: 5. The opportunity at any time, even if informal resolution was
        initially chosen, to request in writing to alternatively proceed to Investigation
        for Whites, whereas this opportunity was deprived and not provided for Mr.
        Austin, as well as all the previous steps in the process, because he is a Black
        Complainant 6. The opportunity to initiate a formal Complaint by providing
        a written signed statement (via email) for Whites whereas they deprived this
        opportunity for Mr. Austin (and all other steps because he is Black) 7. The
        opportunity to provide any supporting documentation, or evidence, to
        substantiate a formal Complaint (via email) for Whites whereas they
        deprived this opportunity for Mr. Austin (and all other steps because he is
        Black) 8. The opportunity to receive a written response from the Respondent
        in 20 days or less after filing complaint, if they have one, as to why they
        conducted themselves in that manner, violating the law or policy, for Whites,
        whereas they deprived that opportunity for Mr. Austin (and completely
        excluded him from this Equal Protection required procedure, and policy)
        because he is Black 9. The opportunity provide rebuttal to Respondent's
        statement, if needed, within 10 days, after receiving Respondent's response to
        the initial complaint for Whites, whereas whereas they deprived that
        opportunity for Mr. Austin (and completely excluded him from this Equal
        Protection required procedure, and policy) because he is Black.
31      Moreover, per facultyhandbook.georgetown .edu/section4/a/ Whites are
        provided : 10. The opportunity, or right, to present additional evidence,
        identify witnesses, and cross examine opposing witnesses in per the
        Complaint for Whites whereas they deprived that opportunity for Mr. Austin
        (and completely excluded him from this Equal Protection required procedure,
        and policy) because he is Black II. The opportunity, and right, to receive

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        IDEAA's investigation, interviewing of witnesses, complainant and
        respondent(s), of complaint, within a prompt and reasonable time frame, for
        Whites, whereas they deprived that opportunity for Mr. Austin (and
        completely excluded him from this Equal Protection required procedure, and
        policy) because he is Black 12. The opportunity, and right, to have complaint
        substance and evidence evaluated and ascertained by IDEAA's experts for
        violations (and remedies), where IDEAA shall maintain documentation to
        support the findings in its report, including, as applicable, written findings of
        fact, transcripts, and audio recordings whereas defendant Georgetown
        deprived that opportunity for Mr. Austin (and completely excluded him from
        this Equal Protection required procedure, and policy) because he is Black 13.
        The opportunity, and right, to receive written notice from IDEAA as to their
        findings within thirty days of the conclusion of the investigation for Whites,
        whereas defendant Georgetown deprived that opportunity for Mr. Austin
        (and completely excluded him from this Equal Protection required procedure,
        and policy) because he is Black.
32.     Lastly, per facultyhandbook.georgetown .edu/section4/a/ Whites are
        provided: 14. The opportunity, and right, to receive written notice from
        IDEAA of not only the findings of the investigation, but instructions on next
        steps whether those are appeal (if more information is needed) or corrective
        action if the Investigation found violations of law and policy in accord with
        the complaint for Whites, whereas defendant Georgetown deprived that
        opportunity for Mr. Austin (and completely excluded him from this Equal
        Protection required procedure, and policy) because he is Black 15. The
        opportunity, and right, for IDEAA to forward its report findings to the
        Respondent's Executive Vice President or Senior Vice President, or his or her
        designee, or other University officials (or their superiors if they are the
        violators) consistent with the above provisions addressing confidentiality to
        direct that prompt remedial action be taken to correct the situation for
        Whites , whereas defendant Georgetown deprived that opportunity for Mr.
        Austin (and completely excluded him from this Equal Protection required
        procedure, and policy) because he is Black 16. The opportunity, and right, for
        corrective actions to be imposed on Respondents, where IDEAA shall monitor
        their implementation (and additional legal action outside of campus is still
        able to be pursued especially when the limits of internal corrective measures
        do not remedy the violations by Respondents), whereas defendant
        Georgetown deprived that opportunity for Mr. Austin (and completely
        excluded him from this Equal Protection required procedure, and policy)
        because he is Black.
33.     Mr. Austin had no complaints against him, he simply inquired, and


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        complained as to why Georgetown 1. Violated school policy 2. Violated his
        Constitutional rights to contract and 3. Why he was illegally excluded from
        essential campus procedures for "Any applicant for employment or admission,
        current or former employee or student, or third party" similarly situated
        Whites, or Non-Black males, they provided Whites a set of mandatory steps
        (faculty handbook.georgetown.edu/ section4/a/) per Georgetown
        written policy 'Trocedures for Processing Grievanees" that must be done
        in accord with Equal Protection under Civil Rights Act of 1964 (Title VI)
        coexistent with 42 USC 1981.
34.     As Legendary Judge Henderson explains in Walker U. Contra Costa County: a
        "refusal to enter into contract [on the same basis as Whites] is actionable
        under § 1981. In making this determination, a lower court should give a fair
        and natural reading to the statutory phrase ` the same right[s] ...[in "making,
        performance, modification, and termination of contracts, and the enjoyment of
        all benefits, privileges, terms, and conditions of the contractual relationship'7,
        and should not strain in an undue manner the language of§ 1981....."Walker
        V. Contra Costa County, No. C03-3723 TEH, 4 (N.D. Cal. Sep. 6, 2005). Fact
        23: Further down in Walker U. Contra Costa County Judge Henderson
        expounds on the elements, and standards of proof, to survive Summary
        Judgment for a 1981 claim (at later stages in the litigation process) :
        "E. Disparate Treatment Claims Arising Out of [DefendantS refusal to make a contract] To survive summary
        judgment on a disparate treatment claim, a plaintiff must first state a prima facie case. McDonnell Douglas Corp. U.
        Green, 411 U.S. 7.92, 807 (1978). A plaintiff must show: (Z) that ne belongs to a protected group, (2) that ne was
        qualified [to make the contract, if there are requirements, (8) that he suffered an adverse .. action [i.e. refusal to
        make a contract], and (4) the [opportunity to make contract] remained open or another [similarly situated person] was
        treated more favorably. Sischo-Nownejad v. Merced Community College Dist., 934 F2d 1104, 1109-1110 (9th Cir
        1991). Once the plaintiff establishes aprima facie case, the burden shifts to the defendant to articulate "a legitimate
        non-discriminatory reason"for the challenged action. Id. at 1109. If the [organization who discriminated] does so, the
        burden shifts back to the plaintiff to show that the articulated reason is pretextual. Id. At the summary judgment
        stage, the plaintiff need only present "minimal"proof that "does not even need to rise to the level of a preponderance of
        the evidence. " Wallis v. J.R. Sir plot Co., 26' Fed 885, 889 (9th Cir 1994). Defendants stipulate for the purposes of this
        motion that Plaintiff has the evidence to make a prima facie case with respect to [failure to make a contract. "
35.     dckt. E)
36.     (faculty handbook.geolrgetown.edu/ section4/a/)
37.     Per Judge Henderson's analysis in Walker U. Contra Costa County, combined
        with US Supreme Court's General Building Contractors Assn., Inc. U.
        Pennsylvania, and Comcast Corp. U. Nat'l Ass'n of African Am.-Owned Media,
        defendant Georgetown's conduct is "blatantly" racist whereas similarly
        situated White, or non-Black, student offerees are made offers by
        Georgetown, respecting their person, and rights (economic and otherwise) the
        "private offerer [who blatantly violates Civil rights when it] refuses to extend
        to [an African- American, in this case Mr Austin], because he is an
        [African-American], the same opportunity to enter into contracts. " Comcast
        Corp. V. Nat'l Ass'n of African Am.-Owned Media, 140 S. Ct. 1009, 1016
        (2020): Georgetown is a private offerer Mr. Austin is a private offeree,
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        admitted student (who expects to be treated on the same basis as White,
        non-Black, admitted students: anything else offends the Constitution, 1981,
        Equal Protection, 13th, 14th, 15th Amendments, and Civil Rights of 1964) .
        The only requirements for making a Georgetown media contract, as an
        admitted student, is to a. Be an admitted student on campus, & b. Have an
        organization desire to use your image, or likeness, to market or economically
        exploit their product-service for their benefit. Unbeknownst to Mr. Austin,
        Georgetown went out of its way to take and use his image and likeness while
        he was an admitted student on campus to market or economically exploit
        their product-service for their benefit, and thus fulfills all requirements "to
        make" a contract. However, despite meeting all requirements, and following
        up to make a contract, get an explanation as to why they violated the law,
        and school policy in the first place, Georgetown illegally refuses to make a
        contract with Mr. Austin because of his race, or derogatory racial stereotypes
        (as Georgetown explicitly admits to Mr. Austin in both word, and deed) .
        Georgetown violated existing contract, and simultaneously Mr. Austin Title
        VI Equal Protection rights when it completely excluded Mr. Austin from
        essential campus IDEAA services-procedures, illegally because Mr. Austin is
        a Black man.
               Georgetown violates Mr. Austin's Equal Protection
38.     Per the Supreme Court's 1. Brown U. Board of Education, 347 U.S. 483, 4.94
        (1954), 2. Students for Fair Admissions, Inc. U. President & Fellows of
        Harvard Coll., No. 20-1199, 7 (U.S. Jun. 2.9, 2023) 3. Gebser U. Lago Vista
        Independent School District 4. Lawrence U. Texas 53.9 U.S. 558 (2003)
        Georgetown impermissibly used Mr. Austin's race, or derogatory anti-Black
        racist stereotypes, simultaneously violated Mr. Austin's 1981 rights to
        contract, in existing contract, and Mr. Austin's Title VI Equal Protection
        rights when it completely excluded Mr. Austin from essential campus IDEAA
        to treat an admitted student, and Black man, in a derogatory manner to
        "deny, restrict, separate, segregate (in application of policy)," and exclude Mr.
        Austin from services-procedures, illegally because Mr. Austin is a Black man.
39.     Per Students for Fair Admissions, Inc. U. President & Fellows of Haruard
        Coll., No. 20-1199, 7 (U.S. Jun. 2.9, 2023) Georgetown's conduct which admits,
        explicitly, to both a. treating Black men as 'inferior' or 'less worthy'
        (presuming derogatory stereotype to deprive making a contract), or b. Treating
        Whites, or non-Black men, as 'superior' or more worthy (ensuring Whites had
        opportunity to reuiew, decline, counteroffer, or accept proposed Georgetown
        contract offer, let alone not presuming derogatory stereotypes to depriue Whites
        their rights to contract) is doubly offensive to the Constitution of the United
        States because "[Georgetown customer seruice of process] systems also fail to
        comply with the Equal Protection Clause's [co-existent with 42 USC 1.981 S)
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        twin commands that race may never be used as a "negative" and that it may
        not operate as a [derogatory] stereotype.... [Georgetown structures] are
        zero-sum, and a benefit provided to some [Whites as Superior'or more worthy
        in a Higher Education environment designed to serve all people] but not to
        others necessarily advantages the former [Whites] at the expense of the latter
        [Blacks, particularly Black men]. '§" Per the US Supreme Court's Heckler v.
        Mathews, 465 U.S. 728, 789 (1984) Georgetown confers their own perceived-
        presumed inferiority (or "stigma") of admitted Black (male) students (as both
        1. the contract offer process and 2. The IDEAA complaint process should be
        the same for regardless of race) to create "Stigmatic injury-i.e.,
        "stigmatizing members of the disfavored group as innately inferior and
        therefore as less worthy "-certainly may confer Article III standing in
        discrimination cases."
40.     Per Gebser v. Lago Vista Independent School District 524 U.S. 274, 2.90
        (1998) Georgetown's conduct provides for Equal Protection 'damages remedy [
        when] an official who at a minimum has authority to address the alleged
        discrimination and to institute corrective measures on the recipient's behalf
        has actual knowledge of discrimination in the recipient's programs and fails
        adequately to respond.....the response must amount to deliberate indifference
        to discrimination. The administrative enforcement scheme presupposes that
        an official who is advised of a     violation refuses to take action to bring the
        recipient into compliance. The premise, in other words, is an official decision
        by the recipient not to remedy the violation. That framework finds a rough
        parallel in the standard of deliberate indifference. " Per General Building
        Contractors Assn., Inc. U. Pennsylvania, 458 U.S. 375, 389-391 (1982)
        Georgetown's violation of Mr. Austin's right to contract coincides, and
        overlaps with their Equal Protection violations because "the prohibition
        against discrimination in § 1981 is co-extensive with the Equal Protection
        Clause".
41.     Per the Ninth Circuit's Brown U. Arizona, No. 20-15568 (9th Cir Sep. 25,
        2023) when a student is experiencing a violation of school policy and reports
        that conduct to the appropriate University body, especially when the violation
        was by someone or something under University control, then it's a violation
        of Equal Protection to deny that student investigatory, or enforcement,
        services as a victim, or survivor, of the violation whereas Plaintiff 'Presented
        sufficient evidence to allow a reasonable fact finder to conclude that a
        responsible university official exercised sufficient control over the "context" in
        which [University policy and the law was violated] to support liability....
        Davis ex rel. LaShonda D. v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 645
        (1999). We further hold presented sufficient evidence to allow a reasonable
        fact finder to conclude that the University had 'actual knowledge" of facts that

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        required an appropriate response, and that a university officials failure to
        escalate reports of[Unioersity policy and the law uiolatiue] actions was a
        'Clearly unreasonable" response demonstrating the UniuersityS 'deliberate
        indifference. " Id. at 642-43, 648-49,°..Gebser U. Lago Vista Indep. Sch. Dist.,
        524 U.S. 274, 2.90 (1998).
                            Mr. Austin's other claims are substantive

42.     Rivelredge Assoc. v. Metro. Life Ins. Co. 774 F. Supp. 897 (D.N.J. 1991)
        "The Court agrees that Riveredge's action was not "frivolous" as that term has been defined under Rule 11. See
        Napier v. Thirty or More Unidentified Federal Agents, 855 F.2d 1080, 1090-91 (3d Cir. 1988) (to be frivolous there
        must be no legal basis for suit, and no argument "advocating a good faith extension or modification of current law"),
        Mareno v. Rowe, 910 F.2d 1043, 1047 (2d Cir. 1990) ("to constitute a frivolous legal position for purposes of Rule 11
        sanction, it must be clear under existing precedents that there is no chance of success and no reasonable argument
        to extend, modify or reverse the law as it stands")
43.     Golden Eagle Distributing Corp. v. Burroughs 801 F.2d 1531 (9th Cir.
        1986) Cited 304 times
        "We reversed the sanctions, stating that "[w]e believe a plausible, good faith argument can be made         to the
        contrary." Id. at 833, see also Davis v. Veslan Enterprises, 765 F.2d 494, 498 (5th Cir. 1985) ("the district court's
        determination to impose sanctions may depend on `whether the pleading, motion, or other paper was based on a
        plausible view of the law."') (quoting comment to 1983 amendments"

Mr. Austin's claims from 7.15.21 to present are not barred by Res Judicata
44.     It is well settled law per the Supreme Court that ongoing conduct, which
        cannot be foreseen (as Georgetown is engaged in), is not barred by Res
        Judicata. Relevant Background: On 4/05/2024, Q, Self Represented
        Plaintiff, Mr. George Jarvis Austin, provided notice of Voluntary Withdrawal
        or Dismissal (Without Prejudice) of this entire, unrelated case, 137 (Docket
        Text: ORDER DENYING MOTION TO RELATE CASES by Judge Yvonne
        Gonzalez Rogers Denying [135] Administrative Motion), in its entirety under
        FRCP Rule 41 (without prejudice as is the presumption). The Notice
        terminated the case, its operative complaint, Mr. Austin's First Amended
        Complaint (FAC;Dckt. Li), without need of court order upon receipt.
        Plaintiff's notice is controlling under Rule 41 of FRCP without need of
        Judicial Order per Rule 41 of FRCP(A)(1)(A)(i - 'notice').
45.     Finding that it is "beyond debate that a dismissal under Rule 41 is effective
        on filing, no court order is required, the parties are left as though no action
        had been brought, the defendant can't complain, and the district court lacks
        jurisdiction to do anything about it" See e.g. Commercial Space Management
        Co. v. Boeing Co., 193 F.3d 1074 (9th Cir. 1999) This is a new, unrelated,
        unheard case, Dckt. 137 with new defendants, never heard causes of action.
        Mr. Austin voluntarily withdrew or voluntarily (dismissed) because of
        documented Due Process, Equal Protection non-judicial act violations
        (without prejudice) this entire, unrelated, case 4:24-cv-00260-CRB [DMR]
        under Rule 41 of FRCP without need of Judicial Order. Under Supreme
        Court's Cooter Gel, provided these facts, DefendantS motion shouldnt eyen be
        considered.
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Mr. Austin's cases are not repetitive refilings. but reflect independent Article III,
Supreme Court recognized, well settled, discrete adverse, new, legal harms
46. Mr. Austin did not replead the previously plead harms from 2019-2020 (i.e.
     Civ. Code 3344, privacy), nor did he refile the same exact case which causes of
     action terminated with the 7.14.21 judgment-disposition per lack of diversity
     jurisdiction. Instead, Mr. Austin filed a new case, with new Defendant harms
     of ongoing discriminatory conduct never before plead, nor experienced, by
     Georgetown University to an admitted Black male student after 7.15.21 to
     the present.
47.  Neither Civil Code 3344, nor privacy, nor Diversity Jurisdiction are part of
     this action (outside of context setting up for the current, and ongoing, causes
     of action after disposition of the previous case). Mr. Austin has never been
     disciplined or in any trouble with any institution of higher education, ever,
     has straight A's the last nine semesters, is a good student, good person, and
     good citizen (attentive, conscientious and straightforward). See Dckt. ,
     FAC Mr. Austin is the person whose economic, property, and 42 USC 1981
     rights to contract were violated in the following picture (page 4, and the
     process which deprived Mr. Austin's contract rights.
48.  Per US Supreme Court's General Building Contractors Assn., Inc. U.
     Pennsylvania, and Comcast Corp. U. Nat'l Ass'n of African Am.-Owned Media,
     standards of demonstrated racial animus under sec. 1981, Georgetown
     purposefully, and willfully, deprived Mr. Austin's rights to contract and
     engaged in a "blatant deprivation of ciuil rights such as where apriuate
     offerer [in this case Georgetown] refuses to extend to [an African- American, in
     this case Mr Austin], because he is an [African-American], the same
     opportunity to enter into contracts he extends to White offerees [in this case
     non-Black, or White admitted students]."
49.  Mr. Austin's complaint is in Good Faith, with Substantive Issues,
     Facts, Direct evidence per 2023 Supreme Court, facially discriminatory
     ongoing conduct from 7.15.21 to present (Which has not had opportunity to be
     heard) and is not vexatious per Supreme Court's Cootergel or any other
     controlling law (Alternatively, it is the right thing to do). Thus, Mr. Austin
     should not be sanctioned.
                                Signed, Under Penalty of Perjury.
      "L Mn George Jarvis Austin, declare, certify, verify, or state, under penalty of perjury under the laws of the United
      States of America, and California, that the foregoing specific, numbered , declarations of precise facts, cross
      referenced with filings-documents on the record, are true and correct (and as IMK Austin personally experienced). 5)
      s/ George Jarvis Austin                           11.11.24




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                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA

GEORGE JARVIS AUSTIN, Plaintiff                       Proposed Order: RULE 59 Motion on Judge CRB's Order
(Admitted Student ),                                  Good Faith Complaint, Substantive Issues, Facts,
                                                      Direct evidence per 2023 Supreme Court, facially
                                                      discriminatory ongoing conduct from 7.15.21 to
                                                      present (Which has not had opportunity to be heard)
                                                      is not vexatious per Supreme Court's Cootergel or
                                                      any other controlling law (it is the right thing to do).
                                                      AMENDED (FAC) COMPLAINT
                                                      In Honor of the Civil Rights Act of 1964.Tir1e VI.
                                                      Excluding Roman Numeral pages (full filing
                                                      fee paid on site), Hyperlinked with
                                                      Affidavits, Supplements, & Direct Evidence.
v.


GEORGETOWN UNIVERSITY, et. al. Defendants.
(Federal Tax IdentQ?cation Number: XX-XXXXXXX)
Case No. 4:24-cv-00260-CRB (DMR)
                                                      Notice: 2.7.25 at 10a.m. via Zoom

 George Jarvis Austin, Plaintiff (Self-represented)
 2107 Montauban Ct., Stockton, CA
 209.915.6304,
 gaustin07@berkeley.edu

Note: Mr. George Jarvis Austin is an admitted Georgetown student, filing complaint(s) about Georgetown's
ongoing 1. Equal Protection 2. 42 USC 1981 3. Deceit, False Promises, Misrepresentations, Omissions and
Actual Fraud (with Malice) 4. Negligence and 5. Bad Faith violations of his rights (including fundamental
violations of privacy, contract, and publicity rights as well as those enumerated above) as witnessed by over
50+ separate persons. As a Pro Se Litigant, and individual person, Mr. Austin upholds, and reminds of, his as
well as Georgetown's ongoing duty to privacy (and other enumerated duties) throughout the litigation, or
settlement, phases of this legal process with $10 - $15 million minimum Demand depending on structure,
context and timing).
Mr. Austin is a whistleblower; As part of providing 'notice' of documented formal complaints to Georgetown
ideaa@georgetown.edu. generalcounsel@georgetown.edu, presidentsofiice@georgetown.edu,
media@georgetown.edu, privacy@georgetown.edu, visualidentity@georgetownedu, lawdeauofstudeuts
@georgetown.edu, (showing "deliberate inference; discriminatory animus)" included 50+ outside expert
'witnesses' including ocr@ed.gov,;4vacyTA@etLgov, studentaid@ed.gov, and
whistleblowercoordinator.oig@ed.gov, in real time. See Supplement-Afiidavit
NOTE: Mr. Austin's (Plaintiff's, self-represented with limited resources) technology is not currently allowing the
showing of line numbering although he has repeatedly attempted to correct the technological issue (it is
unintentional, and shall be corrected as soon as able) Erickson V. Pardus, 551 U.S. 89, 94 (2007)) "a pro se
complaint, .. must be held to less stringent standards than formal pleadings drafted by lawyers.")


                                                         1
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 Proposed Order: Rule 59 Motion per Judge Breyer's Order on Defendant's Motion

1.      The Court grants Mr. Austin's Rule 59 Motion to Amend, Alter or Reconsider

Judge Breyer's order regarding Defendant's Sanctions Motion under the Supreme

Court's Banister U. Davis, 140 S. Ct. 16.98, 1703 (2020) which "allows a Zitigant to

file a "motion to alter or amend      judgment. " [in]     28 days from entry of the

judgment" Per the Supreme Court's Cooter Gel! U. Hartman Corp. 4.96 U.S. 384

(1990) Cited 4,115 times Mr. Austin should not be sanctioned, at all, as he properly

withdrew, or voluntarily dismissed the underlying substantive, complaint and

"when     plaintiff has voluntarily dismissed a complaint pursuant to Rule 41(a)(1), a

collateral proceedirlg to examine whether the complaint is well grounded will stretch

out the matter long beyond the time in which either the plaintiff or the defendant

would otherwise want to Zitigate the merits of the claim. An interpretation that can

only have the unfortunate consequences of encouraging the filing of sanction motions

and discouraging voluntary dismissals cannot be a sensible interpretation o/'Rules

that are designed "to secure the just, speedy, and inexpensive determination of every action. H

Fed. Rule Civ. Proc. 1"

2.      Mr. Austin demonstrates that he acts in good faith, follows well settled and

2023 Supreme Court's precedent, as well as Georgetown's own school policy with

this complaint whereas Mr. Austin documents, substantiates, and pleads that

Georgetown continues to violate the Equal Protection Clause, Title VI of the Civil

Rights Act of 1964, 42 USC 1981, Federal Privacy Laws, and other law from 7.15.21

to present. Per Brown U. Board of Education, 347 U.S. 483, 4.94 (1954),

Georgetown's, use of the precise "less worthy" or "inferior" derogatory racist

stereotypes, against Mr. Austin, "implying inferiority in civil society" originate from

        2 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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anti-Black propaganda of the vilest Enslavers, Klu Klux Klan members, and the

staunchest Jim Crow segregationist who inspired the Nazi's Third Reich (How the

Nazis Were Inspired by Jim Crow I HISTORY; How American Racism Influenced
Hitler I The New Yorker ,° What America Taught the Nazis in the 1980s - The
Atlantic;     The Impact Of Racist Ioleologies: Jim Crow And The Nuremberg Laws
Holocaust Museum)

Georgetown admits it took active part, in the horrific crimes of enslavement of

Black Peoples, as part of the Black Holocaust, as an institution: Slavery archive.

georgetownedu/ (...SaZe of MaryZarLd Jesuit's enslaved community to Louisiana in

1838. These archival materials relate to the sale of 272 men, women, and children

by Rev. Thomas Mulledy in 1838.). See attached. Georgetown's precise derogatory

stereotype usage is similar to defendant Board of Education's usage against

plaintiff Oliver Brown in Brown U. Board of Education, 347 U.S. 483, 4.94 (1954)

whereas Mr. Austin seeks to exercise & enforce his Federal rights to make contracts

(expressly promulgated as mandatory under Georgetown's policies), and not be

treated in an inferior manner in civil society (creating Stigma) while doing so, in the

context of higher education, whereas Georgetown violates "....The words of the

amendment,.[that].. contain ...the right to exemption from legal discriminations.

implying inferiority in civil society...." (referring to Civil Rights Amendments 13th,

14th, 15th Amend.).

3.     Per the 2023 US Supreme Court's Students for Fair Admissions, Inc. U.

President & Fellows of Haruard Coll., No. 20-1199, 38 (U.S. Jun. 29,2023) use of

derogatory stereotypes is per se illegal in a. business, b. the entire contractual

relationship (i.e. "to make or enforce a contract), C. education (& d. other areas of

society), because it 'Turthers "stereotypes that treat individuals as the product of


       3 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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their race, evaluating their thoughts and efforts -their uery worth as Citizens-

according to a criterion barred to the Government by history and the Constitution. H

Id., at .912 ....Such stereotyping can only "cause[] continued hurt and injury, H

Edmonson, 500 U.S... contrary as it is to the "corepurpose" of the Equal Protection

Clause [co-extensive with sec. 1981]." Georgetown's admission of a. Using race in the

"negative" via both its 1. media contract making with Mr. Austin and 2. complaint

procedures with Mr. Austin b. Considering Blacks 'inferior' or 'less worthy' in their

1. complaint procedures and 2. media contract offer process and C. providing Whites

unfair advantage by alternatively considering them 'superior' or 'more worthy'

constitutes this type of derogatory use of stereotypes, and is per se illegal.

4.      Georgetown's, ongoing, well documented, conduct Highlights exactly how

defendants engage in use of derogatory racial"stereotypes that treat individuals
[Mr Austin] as the product of their race [or derogatory anti-Black racist

presumptions], evaluating their thoughts and efforts -their uery worth as citizens-

according to a criterion barred to the Government by history and the Constitution. H

     only "cars[irLg] continued hurt and injury" to harm Mr. Austin, because he is

Black [i.e. race] or Georgetown's use of derogatory racist stereotypes of Black people
[i.e. Georgetown's conduct admits use of derogatory anti-Black stereotypes: a.

Georgetown operates on the premise Black men are inferior to Whites and thus

Georgetown does not need to respect either their 1. 1.981 rights to mandatory written

media contract and 2. Their Civil Rights Act of 1.964 Title VI rights to not be

excluded from Campus Activity, or core programs like Campus Complaint

Procedures-Policy-Programs via IDEAA, b. Georgetown discovered Mn Austin is

Black during the admissions process (i.e. Georgetown student ID, and usage of M71

Austin's image and likeness for commercial gain, marketing exploitation in
       4 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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Georgetown advertisement, etc.) "ergo" C. Georgetown assumes anti-Black derogatory

stereotype applies to Mr Austin's mandatory written media contract (and thus does

not make contract offer on same basis as Whites) and based on that flawed logic,

non-sequitur illogic, & per se illegal racist presumption, thus Georgetown willfully

ignores documentation-direct evidence, and continues to 1. refuse to make a

mandatory written media contract (per its own policy-terms) with Mn Austin, and 2

illegally exclude Mr Ausitn from IDEAA complaint process to resolve, investigate,

correct GeorgetowrlS per se illegal conduct, because he is Black, on the same basis as

Whites (whereas their rights, as Whites, in both areas are respected, and exercised)].

Per the 2023 US Supreme Court's Students for Fair Admissions, Inc. U. President &

Fellows of Haruard Coll., No. 20-1199, 7 (U.S. Jun. 2.9, 2023): "Georgetown's

structures] are infirm for a second reason as well: They require[d] stereotyping [ML

Austin by the way they operate .. assuming " less worthy", and "Inferiority"] ].. the
very thing Gruffer foreswore....it engages in    offensive   demeaning [and
                             JJ
derogatory] assumption[s].

5.     Georgetown's facially discriminatory anti-Black conduct reflects the pattern

of behavior highlighted in Judge Weigel's ruling in Johnson U. San Francisco

Unified School Dist., 339 F. Supp. 1315, 1317 (N.D. Cal. 1971) cited to by Judge

Orlick II in San Francisco NAACP U. San Francisco Unified School Dist., 5.9 E

Supp. 2d 1021, 1023 (N.D. Cal. 1999), with NAACP represented by Judge Breyer's

colleague Judge Havwood Gilliam (although the order cited above spelled his name

wrong) clerked for the Legendary Judge Thelton Henderson77 .Gilliam Responses

9-17-l4.pdf. The highlighted pattern in Johnson U. San Francisco Unified School

Dist., 339 F. Supp. 1315, 1317 (ND. Cal. 1971) demonstrates willful racist conduct

similar to Georgetown's toward Mr. Austin whereas a school district chooses to still
       5 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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engage in facially discriminatory, Dejure or Defacto Segregationist conduct (to

isolate, confine, or refuse to equally serve or contract with Black students, Black

Teachers, or Black Administrators in violation of Equal Protection Clause), despite

knowing 'More than seventeen years ago [in 1.971], a unanimous decision of the

United States Supreme Court made it clear that racial discrimination in public

education violates the [US]Constitution. Today it is established beyond all question

that any law, ordinance or regulation of any governmental agency .. furthering such

discrimination violates the Constitution of the United States. The cases so holding

are legion. They have been handed down, not only by the Supreme Court of the
                                                JJ
United States, but,    throughout the nation.

5.     Per Judge Weigel's wisdom in Johnson U. San Francisco Unified School Dist.

Georgetown's "Opposition to desegregation [in serving or making contracts with Mn

Austin] fosters false concepts of racial [White] superiority and of racial [Black]

inferiority....[and reflects Georgetown's]   Racial hatred [which] is an adult rather

than a childhood disease." This "adult rather than a childhood disease"

demonstrated by the "infirm" Georgetown pattern of conduct toward Mr. Austin is

clear per the US Supreme Court's l. Runyon U. McCrary 2. General Building

Contractors Assn., Inc. U. Pennsylvania, and 3. Comcast Corp. U. Nat'Z Ass'n of

African Am.-Owned Media, 140 S. Ct. 1009, 1016 (2020), prohibits the "blatant

deprivation of Civil Rights such as where a private offerer [in this case Georgetown]

refuses to extend to [an African- American, in this case Mr Austinj, because he is an

[African-Americanj, the same opportunity to enter into contracts he extends to White
                                                                   JJ
offerees [in this case non-Black, or White Georgetown students]

                  Georgetown violates Mr. Austin's 1981 rights

       6 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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6.     Mr. Austin cites to world renown Thelton E. Henderson, for the 1981 legal

standard. Because legendary Judge Henderson has a particularly unique insight to

l98l's operation, and personal understanding of how anti-Black racial animus

operates regardless of status or position in society (as he experienced both subtle,

and not so subtle forms of anti-Black discriminatory animus even after his ascension

and success) his analysis is particularly valuable under these facts. Mr. Austin was

blessed to be invited to Judge Henderson's home, in Berkeley, as 1 of 2 keynote

speakers to raise school funds for students in need (Mr. Austin had no personal gain

in the efforts, and was happy to share and help others): Judge Henderson was

impressed after Mr. Austin's speech, and thereafter invited Mr. Austin back to his

home for a bit of Tea, Mentorship, and Wisdom. Legendary Judge Thelton

Henderson, who Mr. Austin had the pleasure of meeting personally after Mr. Austin

gave a keynote speech at his home in Berkeley, has extra credibility of analysis

(provided his depth of personal experience with racism as a Black man, despite his

accomplishments), his knowledge of how the Klu Klux Klan (and other proponents

of White Supremacy) operate. California Newsreel - SOUL OF JUSTICE:
THELTON HENDERSON'S AMERICAN JOURNEY
       (" He was on the scene as James Meredith braved venomous mobs to integrate Ol'Miss, when
       Medgar Eyers was assassinated and when four little girls were killed in the Birmingham
       church bombing. In his role at the Justice Department, Henderson embodied the tension
       described by Andrew Young as being an "arm of the law in a sometimes lawless society.")
7.     As an interesting aside, presiding Judge Judge Breyer's and Magistrate

Judge Ryu's (who recused herself) colleague Judge Haywood Gilliam clerked for the

Legendary Judge Thelton Henderson, and represented the NAACP in the matter of

San Francisco NAACP U. San Francisco Unified School Dist., 5.9 E Supp. 2d 1021,

1023 (N.D. Cal. 1999) presided over by Judge Orlick II, Judge Orrick III's father

Gilliam Responses 9-17-l4.pdf, Judge Gilliam's responses to Senate Judiciary's

       7 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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Questions for the record "6...to faithfully and impartially apply the law in every

case, without regard to the type of matter or the identity of the parties   7.

treating every person who comes into the courtroom, whether they are litigants,

counsel, witnesses, jurors or court staff, with euenhandedness, respect, and courtesy.

The judge also must ensure that all parties in a case receive the opportunity to hare

their arguments heard and fairly considered...The citizens of our country entrust

federal judges to dispense 'equafjustice under the law, and to decide cases by

applying controlling precedent to the facts of the cases before them, without regard to

any other considerations (including race)..." also reflects the principle, and creed, of

Equal Opportunity' which is not only central to the doctrine of equality as embodied
42 USC 1981, but which defendant Georgetown fundamentally, & egregiously,

violated (producing Mr. Austin's complaints) and violates in an ongoing manner.
www.judiciary.senate.gov/imo/media/doc/ Gi11iam%20Responses %209-17-l4.pdf`

8.     Mr. Austin is the person, admitted student, and offeree whose economic,

IP-publicity, property, & 42 USC 1981 rights to contract were violated by

Georgetown, private offerer, in the attached picture [image, likeness,etc.] and the

process which deprived Mr. Austin's contract rights. Mr. Austin is a high

performing, accomplished, highly recruited, and high potential admitted

Georgetown student who has 1981 right to contract, and Title VI Equal Protection

rights just like everyone else, and fully expects to be treated on the same basis as

Whites, but was not (dckt. 76). See attached Georgetown's initial written offer to

attend, as well as its own promulgated mandatory policies, and instructions

demonstrates it knew better, but willfully, intentionally, intended to deprive Mr.

Austin's mandated written media contract, and failed to correct once Mr. Austin


      8 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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made formal complaints, and excluded Mr. Austin, violating his Equal Protection

rights (showing deliberate indifference, dckt. 80). See attached. Per the Supreme

Court, and Georgetown itself, these are fundamental and valuable rights which are

being violated against Mr. Austin's interest, and rights (dckt. 81). See attached.

9.      Mr. Austin learned to perceive discriminatory animus, and embody "Equal

Opportunity" non-discriminatory service attitude, through experience. There are

several ways to ascertain racial discriminatory animus. Some of the ways

applicable here include a. observation of different policies applied for different racial

groups b. Admissions by the racial abusers or discriminator that they in fact

discriminated with disparate treatment or application of inferior or superior policies

to certain groups (i.e. admits to treating Blacks as 'inferior' or 'less worthy', or

Whites as 'superior' or more worthy) C. Admissions of fact by the racial abusers or

their use of Racial slurs or Derogatory Racial stereo- types (both offensive to the

Constitution) d. Admitted use of per se illegal segregationist, racial caste like,

tactics that block or refuse to serve (in violation of 1981, and Equal Protection

under Civil Rights Act 1964, Title VI, in an education context) certain persons based

on race, or derogatory racial stereotypes and several other ways. Mr. Austin

learned the value of treating everyone equally well, non-discriminatory service,

from the use of 'volunteer' testers like DOJ or HUD uses for housing discrimination

or 'mystery' or 'secret' shoppers that various retail industries use to evaluate the

quality of service (including non-discriminatory mandates) as well as how to

proactively respond to racist conduct once perceived (dckt. L). See attached.

10.     Per US Supreme Court's General Building Contractors Assn., Inc. U.

Pennsylvania, and Comcast Corp. U. Nat'Z Ass'n of African Am.-Owned Media, 140 S.

        9 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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Ct. 100.9, 1016 (2020), standards of demonstrated racial animus under sec. 1981,

Georgetown purposefully, and willfully, deprived Mr. Austin's rights to contract and

engaged in a "blatant deprivation of civil rights such as where apriuate offerer [in

this case Georgetown] refuses to extend to [an African- American, in this case Mr

Austinj, because he is an [African-Americanj, the same opportunity to enter into

contracts he extends to White offerees [in this case White admitted students.   JJ




11.     When Defendant Georgetown made White, or Non-Black male, students

contract offers, they provided Whites: 1. with respect to their persons, as human

beings, (and provided a heads-up, or forewarning, that Georgetown desired to take a

photo of them and use it for commercial, marketing, purposes), whereas they

disrespected Mr. Austin's personhood, human-ness, and purposefully hid, omitted,

and defrauded out of economic contract rights, or even knowledge that his image,

and likeness, was being used for commercial-marketing purposes because he is

Black 2. knowledge of what the photo was used for (and where it may be sent for

marketing purposes) for Whites, but hid knowledge, and fact photo was being used

at all (after already stealing rights from him) for Mr. Austin because he is Black 3.

Pre-approval of use of the photo by the non-Black male, or White students whereas

they didn't even think to ask Mr. Austin in disrespect of his overall person, and

rights to not give pre-approval because he is Black 4. An opportunity to accept or

decline the offer itself for Whites, whereas they stole the opportunity to make his

own choice, decline or accept, after already stealing economic-IP-rights of publicity

from Mr. Austin because he is Black 5. An opportunity to review the written

contract offer before making the decision 6. An opportunity to agree to the terms of

the contract offer 7. An opportunity to provide a counteroffer if terms were not

       10 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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acceptable and 8. An opportunity to have a meeting of the minds 9. Enjoy

consideration and performance of the contract's obligation as well as other benefits,

privileges, rights provided in a contractual relationship.

12.     Georgetown willfully chose to deprive Mr. Austin's rights in this manner

because he is a Black male admitted student compared to similarly situated White,

or non-Black students. Per Georgetown, (i.e. FAC para.l11.), written authorization

requires Mr. Austin's prior a. notice of his picture being taken, b. notice of purpose,

C. notice of business use, d. presentation of written contractual agreement to

consent to business use, e. with General Counsel approval of form f. signature

consenting prior to use. Per Georgetown, written authorization requires a written

contract between the student and those utilizing the IP-Publicity Rights-Photo

(including Georgetown themselves) for photos taken prior to commercial use.

Georgetown admits it failed all of its duties in this regard, and violated Mr. Austin's

right to contract explicitly, but never a. Apologizes b. Seeks to remedy or C. even

explains why they violated his rights. Georgetown's first acknowledgement of

business use was after Georgetown's exploitation without consent (after lying to Mr.

Austin in the first place denying that they stole some of his rights without asking,

or attempting to engage in making a contact). Georgetown admits there was No

offer, acceptance, consideration, or signature (per required written authorization),

and thus no contract was made with Mr. Austin because he is Black, in the same

way as similarly situated Whites, with George- town's 'blatant' violations of Mr.

Austin's rights under 42 USC 1981 per Comcast Corp. U. Nat? Ass'n of AfricarL

Am.-Owned Media, 140 S. Ct. 1009, 1016(2020)

13.     Georgetown admits, publicly, that a student, or "Any applicant for

       11 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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employment or admission, current or former employee or student, or third party

(hereinafter referred to as "CompZairLant'9" can make a complaint via email or in

person, and is encouraged to do so, :https://facultvhandbook.georgetown.edu/section4/a/

Georgetown admits, publicly, that once complaint is made via email, as Mr. Austin

did once Georgetown admitted it violated Mr. Austin's rights to contract under 1981,

a set of mandatory steps must be done by IDEAA to avoid violating its own

Georgetown policies or the law that informs-undergirds IDEAA facultyhandbook.

georgetown.edu/section4/81
14.     When Defendant Georgetown receives a complaint via email made by "Any

applicant for employment or admission, current or former employee or student, or

third party" similarly situated Whites, or Non-Black males, they provided Whites a

set of mandatory steps (facultyhandbook.georgetown.edu/ section4/a/) per

Georgetown written policy 'Troeedures for Processing Grievances" that must be

done in accord with Equal Protection under Civil Rights Act of 1964 (Title VI)

coexistent with 42 USC 1981 including: 1. IDEAA staff shall send acknowledgement

of complaint receipt for Whites, even if the acknowledgment is to say Georgetown's

IDEAA needs more information to proceed through the Complaint process, whereas

they did not even acknowledge Mr. Austin's complaints, AT ALL, because he is

Black 2. IDEAA staff shall schedule intake meetings for Whites, or non-Black

males, but not only did not schedule an intake meeting for Mr. Austin, but failed to

even acknowledge the first step of complaint because Mr. Austin is Black

(demonstrating extreme animus as if Mr. Austin is not a person, and less than "Any

applicant for employment or admission, current or former employee or student, or

third party" or human being) 3. IDEAA staff provides a general understanding of

       12 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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the relevant policy and this grievance procedure as a normal part of intake for

Whites whereas they refuse to answer any questions about relevant policy or

procedure, and fail to provide any relevant information to Mr. Austin because he is

Black 4. IDEAA staff provides, At the request of the Complainant, an opportunity to

proceed either with an Informal Resolution or an Investigation of the responded for

Whites, whereas they failed to provide Mr. Austin with either opportunity, and

failed at the very beginning to acknowledge his humanity (by refusing to even

acknowledge his complaint to begin the process) because he is Black.

15     Further, per facultyhandbook.georgetown .edu/section4/a/ Whites are

provided: 5. The opportunity at any time, even if informal resolution was initially

chosen, to request in writing to alternatively proceed to Investigation for Whites,

whereas this opportunity was deprived and not provided for Mr. Austin, as well as

all the previous steps in the process, because he is a Black Complainant 6. The

opportunity to initiate a formal Complaint by providing a written signed statement

(via email) for Whites whereas they deprived this opportunity for Mr. Austin (and

all other steps because he is Black) 7. The opportunity to provide any supporting

documentation, or evidence, to substantiate a formal Complaint (via email) for

Whites whereas they deprived this opportunity for Mr. Austin (and all other steps

because he is Black) 8. The opportunity to receive a written response from the

Respondent in 20 days or less after filing complaint, if they have one, as to why they

conducted themselves in that manner, violating the law or policy, for Whites,

whereas they deprived that opportunity for Mr. Austin (and completely excluded

him from this Equal Protection required procedure, and policy) because he is Black

9. The opportunity provide rebuttal to Respondent's statement, if needed, within 10

      13 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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days, after receiving Respondent's response to the initial complaint for Whites,

whereas whereas they deprived that opportunity for Mr. Austin (and completely

excluded him from this Equal Protection required procedure, and policy) because he

is Black.

16.     Moreover, per facultyhandbook.georgetown .edu/section4/a/ Whites are

provided : 10. The opportunity, or right, to present additional evidence, identify

witnesses, and cross examine opposing witnesses per the Complaint for Whites

whereas they deprived that opportunity for Mr. Austin (and completely excluded

him from this Equal Protection required procedure, and policy) because he is Black

II. The opportunity, and right, to receive IDEAA's investigation, interviewing of

witnesses, complainant and respondent(s), of complaint, within a prompt and

reasonable time frame, for Whites, whereas they deprived that opportunity for Mr.

Austin (and completely excluded him from this Equal Protection required

procedure, and policy) because he is Black 12. The opportunity, and right, to have

complaint substance and evidence evaluated and ascertained by IDEAA's experts

for violations (and remedies), where IDEAA shall maintain documentation to

support the findings in its report, including, as applicable, written findings of fact,

transcripts, and audio recordings whereas defendant Georgetown deprived that

opportunity for Mr. Austin (and completely excluded him from this Equal Protection

required procedure, and policy) because he is Black 13. The opportunity, and right,

to receive written notice from IDEAA as to their findings within thirty days of the

conclusion of the investigation for Whites, whereas defendant Georgetown deprived

that opportunity for Mr. Austin (and completely excluded him from this Equal

Protection required procedure, and policy) because he is Black.

       14 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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17.     Lastly, per facultyhandbook.georgetown .edu/section4/a/ Whites are

provided: 14. The opportunity, and right, to receive written notice from IDEAA of

not only the findings of the investigation, but instructions on next steps whether

those are appeal (if more information is needed) or corrective action if the

Investigation found violations of law and policy in accord with the complaint for

Whites, whereas defendant Georgetown deprived that opportunity for Mr. Austin

(and completely excluded him from this Equal Protection required procedure, and

policy) because he is Black 15. The opportunity, and right, for IDEAA to forward

its report findings to the Respondent's Executive Vice President or Senior Vice

President, or his or her designee, or other University officials (or their superiors if

they are the violators) consistent with the above provisions addressing

confidentiality to direct that prompt remedial action be taken to correct the

situation for Whites, whereas defendant Georgetown deprived that opportunity for

Mr. Austin (and completely excluded him from this Equal Protection required

procedure, and policy) because he is Black 16. The opportunity, and right, for

corrective actions to be imposed on Respondents, where IDEAA shall monitor their

implementation (and additional legal action outside of campus is still able to be

pursued especially when the limits of internal corrective measures do not remedy

the violations by Respondents), whereas defendant Georgetown deprived that

opportunity for Mr. Austin (and completely excluded him from this Equal Protection

required procedure, and policy) because he is Black.

18.     Mr. Austin had no complaints against him, he simply inquired, and

complained as to why Georgetown 1. Violated school policy 2. Violated his

Constitutional rights to contract and 3. Why he was illegally excluded from

       15 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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essential campus procedures for "Any applicant for employment or admission,

current or former employee or student, or third party" similarly situated Whites, or

Non-Black males, they provided Whites a set of mandatory steps (faculty

handbook.geolrg'etown.edu/ seetion4/a/) per Georgetown written policy

'Troeedures for Processing Grievances" that must be done in accord with Equal

Protection under Civil Rights Act of 1964 (Title VI) coexistent with 42 USC 1981.

19.     As Legendary Judge Henderson explains in Walker U. Contra Costa County: a

"refusal to enter into             contract [on the same basis as Whites] is actionable under §

1981. In making this determination, a lower court should give a fair and natural

reading to the statutory phrase ` the same right[s] ...[in "making performance,

modification, and termination of contracts, and the enjoyment of all benefits,

privileges, terms, and conditions of the contractual reZationship'7, and should not

strain in an undue manner the language of§ 1981....."Wa1ker V. Contra Costa

County, No. C03-3723 TEH, 4 (N.D. Cal. Sep. 6, 2005). Further down in Walker U.

Contra Costa County Judge Henderson expounds on the elements, and standards of

proof, to survive Summary Judgment for a 1981 claim (at later stages

in the litigation process) :
        "E. Disparate Treatment Claims Arising Out of [DefendantS refusal to make a contract] To survive summary
        judgment on a disparate treatment claim, a plaintiff must first state a prima facie case. McDonnell Douglas Corp. U.
        Green, 411 U.S. 7.92, 807 (1973). A plaintiff must show: (Z) that ne belongs to a protected group, (2) that ne was
        qualified [to make the contract, if there are requirements], (8) that he suffered an adverse .. action [i.e. refusal to
        make a contract], and (4) the [opportunity to make contract] remained open or another [similarly situated person] was
        treated more favorably. Sischo-Nownejad v. Merced Community College Dist., 934 F2d 1104, 1109-1110 (9th Cin
        1991). Once the plaintiff establishes a prima facie case, the burden shifts to the defendant to articulate "a legitimate
        non-discriminatory reason"for the challenged action. Id. at 1109. If the [organization who discriminated] does so, the
        burden shifts back to the plaintiff to show that the articulated reason is pretextual. Id. At the summary judgment
        stage, the plaintiff need only present "minimal"proof that "does not even need to rise to the level of a preponderance of
        the evidence. " Wallis v. J.R. Sir plot Co., 26' Fed 885, 889 (9th Cir 1994). Defendants stipulate for the purposes of this
        motion that Plaintiff has the evidence to make a prima facie case with respect to [failure to make a contract. "
20.      Mr. Austin l. Is an African American or Black man who is high achieving,

highly recruited, accomplished, high potential, and an admitted Georgetown

student (protected group[s]) 2. was & is qualified to make the contract (of sound


       16 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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mind, admitted student, Georgetown took photo and sought to economically exploit

photo, and Georgetown already demonstrated it understood how to properly engage

in written contract when Mr. Austin deferred for a year to participate in Capital

Fellows, Senate Fellows Program [with a written contract similarly required] and

$400 consideration exchanged to solidify that contract) 3. Suffered adverse actions

(Georgetown stole, took, or defrauded out of IP-Rights of publicity-Privacy without

telling Mr. Austin, and when he confronted them on their violation still continued to

refuse to make a contract on the same basis as Whites because of Mr. Austin's race

or derogatory racial stereotypes presuming "inferiority" or "less worthy" by complet-

ely disrespecting Mr. Austin's Constitutional rights to contract) 4. Opportunity to

contract remains open, and Mr. Austin has continued to follow up on the issue.

Further, per the fourth or fifth element, Whites, or non-Black admitted students,

under this school policy (and Constitutional requirement) were treated

demonstrably better, and Mr. Austin was treated demonstrably in an inferior

manner (see para. 11-19, see attached, dckt. L)

21. In addition to violating Mr. Austin's right to make media contract, as mandated

per Georgetown's own policies, Georgetown simultaneously violated Mr. Austin's

rights in existing contract per performance, modification,     and the enjoyment of

all benefits, privileges, terms, and conditions of the contractual relationship"as well

as Equal Protection per Title VI of the Civil Rights Act of 1964. Georgetown did so

when it completely excluded Mr. Austin on the basis of race, derogatory racial

stereotypes, and sex, because Mr. Austin is a Black man and illegally excluded from

essential campus services-procedures for "Any applicant for employment or

admission, current or former employee or student, or third part;/"that similarly

     17 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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situated Whites, or Non-Black males, are provided via a set of mandatory steps

(faculty handbook.geolrgetown.edu/ section4/a/) per Georgetown written
policy 'Troeedures for Processing Grievances" that must be done in accord with

Equal Protection under Civil Rights Act of 1964 (Title VI) coexistent with 42 USC

1981.

22.      Per Judge Henderson's analysis in Walker U. Contra Costa County, combined

with US Supreme Court's General Building Contractors Assn., Inc. U. Pennsylvania,

and Comcast Corp. U. Nat? Ass'n of AfricarL Am.-Owned Media, defendant

Georgetown's conduct is "blatantly" racist whereas similarly situated White, or

non-Black, student offerees are made offers by Georgetown, respecting their person,

and rights (economic and otherwise) the "private offerer [who blatantly violates Civil

rights when it] refuses to extend to [an African- American, in this case Mr Austinj,

because he is an [African-Americanj, the same opportunity to enter into contracts.     JJ




Comcast Corp. V. Nat'l Ass'n of African Am.-Owned Media, 140 S. Ct. 1009, 1016

(2020): Georgetown is a private offerer Mr. Austin is a private offeree, admitted

student (who expects to be treated on the same basis as White, non-Black, admitted

students: anything else offends the Constitution, 1981, Equal Protection, 13th, 14th,

15th Amendments, and Civil Rights of 1964. The only requirements for making a

Georgetown media contract, as an admitted student, is to a. Be an admitted student

on campus, & b. Have an organization desire to use your image, or likeness, to

market or economically exploit their product-service for their benefit. Unbeknownst

to Mr. Austin, Georgetown went out of its way to take and use his image and

likeness while he was an admitted student on campus to market or economically

exploit their product-service for their benefit, and thus fulfills all requirements "to

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make" a contract. However, despite meeting all requirements, and following up to

make a contract, get an explanation as to why they violated the law, and school

policy in the first place, Georgetown illegally refuses to make a contract with Mr.

Austin because of his race, or derogatory racial stereotypes (as Georgetown

explicitly admits to Mr. Austin in both word, and deed). Georgetown violated

existing contract, and simultaneously Mr. Austin Title VI Equal Protection rights

when it completely excluded Mr. Austin from essential campus IDEAA

services-procedures, illegally because Mr. Austin is a Black man.

               Georgetown violates Mr. Austin's Equal Protection
23.     Per the Supreme Court's 1. Brown U. Board of Education, 347 U.S. 483, 4.94

(1954), 2. Students for Fair Admissions, Inc. U. President & Fellows of Harvard

Coll., No. 20-1199, 7 (U.S. Jun. 2.9, 2023) 3. Gebser U. Logo Vista Independent School

District 4. Lawrence U. Texas 539 U.S. 558 (2003) Georgetown impermissibly used

Mr. Austin's race, or derogatory anti-Black racist stereotypes, simultaneously

violated Mr. Austin's 1981 rights to contract, in existing contract, and Mr. Austin's

Title VI Equal Protection rights when it completely excluded Mr. Austin from

essential campus IDEAA to treat an admitted student, and Black man, in a

derogatory manner to "deny, restrict, separate, segregate (in application of policy),   77




and exclude Mr. Austin from services-procedures, illegally because Mr. Austin is a

Black man.

24.     Per Students for Fair Admissions, Inc. U. President & Fellows of Harvard

Coll., No. 20-1199, 7 (U.S. Jun. 2.9, 2023) Georgetown's conduct which admits,

explicitly, to both a. treating Black men as inferior' or 'less worthy' (presuming

derogatory stereotype to deprive making a contract), or b. Treating Whites, or

       19 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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non-Black men, as 'superior' or more worthy (ensuring Whites had opportunity to

review, decline, counteroffer; or accept proposed Georgetown contract offer; let alone

not presuming derogatory stereotypes to deprive Whites their rights to contract) is

doubly offensive to the Constitution of the United States because "[Georgetown's

customer service of process] systems also fail to comply with the Equal Protection

CZause's [co-existent with 42 USC 1.981 's) twin commands that race may never be

used as a "negative" and that it may not operate as a [derogatory] stereotype....

[Georgetown's structures] are zero-sum, and a benefit provided to some [Whites as

'superior' or more worthy in a Higher Education environment designed to serue all

people] but not to others necessarily advantages the former [Whites] at the expense of

the latter [Blacks, particularly Black men.}9}3 Per the US Supreme Court's Heckler

U. Mathews, 465 U.S. 728, 739 (1984) Georgetown confers their own perceived-

presumed inferiority (or "stigma") of admitted Black (male) students (as both 1. the

contract offer process and 2. The IDEAA complaint process should be the same for

regardless of race) to create "Stigmatic injury-i.e., 'stigmatizing members of the

disfaoored group as innately inferior and therefore as less worthy "-certainly may

confer Article III standing in discrimination cases.   JJ




25.     Per Gebser U. Logo Vista Independent School District 524 U.S. 274, 2.90 (1998)

Georgetown's conduct provides for Equal Protection "damages remedy [ when] an

official who at a minimum has authority to address the alleged discrimination and

to institute corrective measures on the recipient's behalf has actual knowledge of

discrimination in the recipient's programs and fails adequately to respond.....the

response must amount to deliberate indifference to discrimination. The

administrative enforcement scheme presupposes that an official who is advised of a

       20 ; Rule 59 Motion in Accord with Judge Breyer's Order per Sanctions Motion
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      violation refuses to take action to bring the recipient into compliance. The

premise, in other words, is an official decision by the recipient not to remedy the

violation. That framework finds a rough parallel in the standard of deliberate

indifference. " Per General Building Contractors Assn., Inc. U. Pennsylvania, 458

U.S. 375, 389-391 (1982) Georgetown's violation of Mr. Austin's right to contract

coincides, and overlaps with their Equal Protection violations because "the

prohibition against discrimination in § 1.981 is co-extensive with the Equal

Protection CZause".

26.      Per the Ninth Circuit's Brown U. Arizona, No. 20-15568 (9th Cin Sep. 25,

2023) when a student is experiencing a violation of school policy and reports that

conduct to the appropriate University body, especially when the violation was by

someone or something under University control, then it's a violation of Equal

Protection to deny that student investigatory, or enforcement, services as a victim,

or survivor, of the violation whereas Plaintiff 'presented sufficient evidence to allow

a reasonable factfinoler to conclude that a responsible university official exercised

sufficient control oner the "context" in which [University policy and the law was

violated] to support liability.... Davis ex rel. LaShonda D. U. Monroe Cnty. Bd. of

Educ., 526 U.S. 62.9, 645 (1999). We further hold       presented sufficient evidence to

allow a reasonable fact finder to conclude that the University had "actual knowledge"

of facts that required an appropriate response, and that a university officials failure

to escalate reports of[Uniuersity policy and the law violative] actions was a 'Clearly

unreasonable" response demonstrating the UniuersityS "deliberate indifference. " Id.

at 642-43, 648-49,°..Gebser U. Logo Vista Indep. Sch. Dist., 524 U.S. 274, 2.90 (19.98).

                      Mr. Austin's other claims are substantive

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27.     Mr. Austin's other claims, prior to any discovery, or disclosure, include: 3.

Georgetown induced contract formation with Mr. Austin as a student through

actual fraud, misstatements on its commitment to follow the law, misstatements

regarding its contract, misstatements regarding its own policies, and continues its

deceitful pattern in its ongoing pattern of still omitting material information after

admitting its violations of its own policy, contract, and the law. 4. Georgetown

breached its duties of care toward an admitted Black male student and is negligent

in a. monitoring its leadership's illegal, Equal Protection, policy-contract violating

conduct and b. Managing, correcting, or controlling their illegal, Equal Protection,

policy and contract violating conduct 5. Georgetown exhibits extreme bad faith to

Mr. Austin's detriment with unconstitutional, malicious, intentional, willfully

harmful conduct it could have easily avoided, and by its own policies were

mandated to do the exact opposite of what Georgetown in fact did. Mr. Austin's

cases (including this one) are neither meritless, nor groundless, and in fact are

rooted in well settled, longstanding, Supreme Court, Ninth Circuit, and California

Supreme Court Jurisprudence (and standards for factual pleading).
        "The Court agrees that Riveredge's action was not "frivolous" as that term has been defined under Rule II. See
        Napier V. Thirty or More Unidentified Federal Agents, 855 F.2d 1080, 1090-91 (3d Cir. 1988) (to be frivolous there
        must be no legal basis for suit, and no argument "advocating a good faith extension or modification of current law"),
        Mareno V. Rowe, 910 F.2d 1043, 1047 (2d Cir. 1990) ("to constitute a frivolous legal position for purposes of Rule 11
        sanction, it must be clear under existing precedents that there is no chance of success and no reasonable argument
        to extend, modify or reverse the law as it stands")
             -    Riveredge Assoc. v. Metro. Life Ins. Co. 774 F. Supp. 897 (D.N.J. 1991)

        "We reversed the sanctions, stating that "[w]e believe a plausible, good faith argument can be made          to the
        contrary." Id. at 833, see also Davis v. Ameslan Enterprises, 765 F.2d 494, 498 (5th Cir. 1985) ("the district court's
        determination to impose sanctions may depend on `whether the pleading, motion, or other paper was based on a
        plausible view of the law."') (quoting comment to 1983 amendments"
                  Golden Eagle Distributing Corp. v. Burroughs 801 F.2d 1531 (9th Cir. 1986) Cited 304 times

Mr. Austin's claims from 7.15.21 to present are not barred by Res Judicata
28.     It is well settled law per the Supreme Court that ongoing conduct, which

cannot be foreseen (as Georgetown is engaged in), is not barred by Res Judicata.

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Relevant Background: On 4/05/2024, Q, Self Represented Plaintiff, Mr. George
Jarvis Austin, provided notice of Voluntary Withdrawal or Dismissal (Without

Prejudice) of this entire, unrelated case, 137 (Docket Text: ORDER DENYING

MOTION TO RELATE CASES by Judge Yvonne Gonzalez Rogers Denying [135]

Administrative Motion), in its entirety under FRCP Rule 41 (without prejudice as is

the presumption). The Notice terminated the case, its operative complaint, Mr.

Austin's First Amended Complaint (FAC;Dckt.         ), without need of court order

upon receipt. Plaintiff's notice is controlling under Rule 41 of FRCP without need

of Judicial Order per Rule 41 of FRCP(A)(l)(A)(i - 'notice'). Finding that it is

"beyond debate that a dismissal under Rule 41 is effective on filing, no court order is

required, the parties are left as though no action had been brought, the defendant

can't complain, and the district court lacks jurisdiction to do anything about it" See

e.g. Commercial Space Management Co. V. Boeing Co., 193 F.3d 1074 (9th Cir. 1999)

This is a new, unrelated, unheard case, Dckt. 137 with new defendants, never heard

causes of action. Mr. Austin voluntarily withdrew or voluntarily (dismissed)

because of documented Due Process, Equal Protection non-judicial act violations

(without prejudice) this entire, unrelated, case 4:24-cv-00260-CRB [DMR] under Rule

41 of FRCP without need of Judicial Order. Under Supreme Court's Cooter Gel,

provided these facts, Defendant fs motion shouZdn't even be considered.

Mr. Austin's cases are not repetitive refilings, but reflect independent Article III,
Supreme Court recognized. well settled. discrete adverse. new. legal harms
29. Mr. Austin did not replead the previously plead harms from 2019-2020 (i.e.

Civ. Code 3344, privacy), nor did he refile the same exact case which causes of

action terminated with the 7.14.21 judgment-disposition per lack of diversity

jurisdiction. Instead, Mr. Austin filed a new case, with new Defendant harms of
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ongoing discriminatory conduct never before plead, nor experienced, by Georgetown

University to an admitted Black male student after 7.15.21 to the present. Neither

Civil Code 3344, nor privacy, nor Diversity Jurisdiction are part of this action

(outside of context setting up for the current, and ongoing, causes of action after

disposition of the previous case). Mr. Austin has never been disciplined or in any

trouble with any institution of higher education, ever, has straight A's the last nine

semesters, is a good student, good person, and good citizen (attentive, conscientious

and straightforward). See Dckt. M, FAC Mr. Austin is the person whose economic,

property, and 42 USC 1981 rights to contract were violated in the following picture

(See attached), and the process which deprived Mr. Austin's contract rights.       Per

US Supreme Court's General Building Contractors Assn., Inc. U. Pennsylvania, and

Comcast Corp. U. Nat? Ass'n of AfricarL Am.-Owned Media, standards of

demonstrated racial animus under sec. 1981, Georgetown purposefully, and

willfully, deprived Mr. Austin's rights to contract and engaged in a "blatant

deprivation of civil rights such as where apriuate offerer [in this case Georgetown]

refuses to extend to [an African- American, in this case Mr Austinj, because he is an

[African-Americanj, the same opportunity to enter into contracts he extends to White

offerees [in this case non-Black, or White admitted students.   JJ




30.     Mr. Austin's complaint is in Good Faith, with Substantive Issues, Facts,

Direct evidence, per 2023 Supreme Court, and is experiencing facially

discriminatory ongoing conduct from 7.15.21 to present (Which has not had

opportunity to be heard) and is not vexatious per Supreme Court's Cootergel or any

other controlling law. Alternatively, this action is the right thing to do. Thus, Mr.

Austin should not be sanctioned, and the Court grants Mr. Austin's Rule 59 Motion

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to Amend, Alter or Reconsider Judge Breyer's order regarding Deflendant's

Sanctions Motion under the Supreme Court's Banister U. Davis, 140 S. Ct. 16.98,

1708 (2020) which "allows a litigant to file a "motion to alter or amend ajualgment. H

[in]     28 days from entry of the judgment" Per the Supreme Court's Cooter Gel! U.

Hartman Corp. 4.96 U.S. 384 (1990) Cited 4,115 times Mr. Austin should not be

sanctioned, at all, as he properly withdrew, or voluntarily dismissed the underlying

substantive, complaint and "when a plaintiff has voluntarily dismissed a complaint

pursuant to Rule 41(a)(l), a collateral proceeding to examine whether the complaint

is well grounded will stretch out the matter long beyond the time in which either the

plaintiff or the defendant would otherwise want to Zitigate the merits of the claim.

An interpretation that can only have the unfortunate consequences of encouraging

the filing of sanction motions and discouraging voluntary dismissals cannot be a

sensible interpretation of Rules that are designed "to secure the just, speedy, and inexpensive

determination of every action. " Fed. Rule Civ. Proc. 1 " the Court grants Mr. Austin's

Rule 59 Motion.




Judge Charles Breyer
Date




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                                UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT


GEORGE JARVIS AUSTIN, Plaintiff ​                     Corporate Disclosures as of February 2025; relevant
(Admitted Student ),​ ​ ​     ​                       entered Settlement per US Dept. of Education Owes
                                                      Georgetown nothing In Honor of the Civil Rights Act of
                                                      1964,Title VI, Excluding Roman Numeral pages (full filing
                                                      fee paid on site); Hyperlinked with Affidavits, Supplements, &
                                                      Direct Evidence.
v.

GEORGETOWN UNIVERSITY, et. al. Defendants.
(Federal Tax Identification Number: XX-XXXXXXX)
District Case No. 4:24-cv-00260-CRB (DMR)
Appeal Case No. 24-6943
​       ​      ​      ​      ​    ​



 George Jarvis Austin, Plaintiff (Self-represented)
 2107 Montauban Ct., Stockton, CA
 209.915.6304,
 gaustin07@berkeley.edu

Note: Mr. George Jarvis Austin is an admitted Georgetown student, filing complaint(s) about Georgetown’s
ongoing 1. Equal Protection 2. 42 USC 1981 3. Deceit, False Promises, Misrepresentations, Omissions and
Actual Fraud (with Malice) 4. Negligence and 5. Bad Faith violations of his rights (including fundamental
violations of privacy, contract, and publicity rights as well as those enumerated above) as witnessed by over
50+ separate persons. As a Pro Se Litigant, and individual person, Mr. Austin upholds, and reminds of, his as
well as Georgetown’s ongoing duty to privacy (and other enumerated duties) throughout the litigation, or
settlement, phases of this legal process with $10 - $15 million minimum Demand depending on structure,
context and timing).
Mr. Austin is a whistleblower; As part of providing ‘notice’ of documented formal complaints to Georgetown
ideaa@georgetown.edu, generalcounsel@georgetown.edu, presidentsoffice@georgetown.edu,
media@georgetown.edu, privacy@georgetown.edu, visualidentity@georgetown.edu, lawdeanofstudents
@georgetown.edu, (showing “deliberate indifference; discriminatory animus)” included 50+ outside expert
‘witnesses’ including ocr@ed.gov, privacyTA@ed.gov, studentaid@ed.gov, and
whistleblowercoordinator.oig@ed.gov, in real time. See Supplement-Affidavit
NOTE: Mr. Austin’s (Plaintiff’s, self-represented with limited resources) technology is not currently allowing the
showing of line numbering although he has repeatedly attempted to correct the technological issue (it is
unintentional, and shall be corrected as soon as able) Erickson v. Pardus, 551 U.S. 89, 94 (2007)) “a pro se
complaint, .. must be held to less stringent standards than formal pleadings drafted by lawyers.”)




                                                          1

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       Corporate Disclosure (although Not Required for Self Represented).
A.​     Mr. George Jarvis Austin discloses his relationship to Georgetown as an

injured Black male admitted student, person. Mr. Austin is a victim-survivor of

Georgetown’s ongoing per se illegal, facially discriminatory, racially exclusionary,

Equal Protect- -ion (Title VI) violating, and derogatory disparate treatment (based

on derogatory stereotypes). See Operative Complaint dckt.14 Although, George-

-town has a history of enslavement of Black men, and people, Mr. Austin was not,

and is not enslaved to anybody, nor any institution & definitely not Georgetown.

Although Georgetown’s behavior suggests that they believed they could expressly,

and explicitly, violate Mr. Austin’s 1981, Title VI, and Equal Protection rights as if

he was enslaved to them on account of Mr. Austin’s race, and perhaps sex too as a

Black man, (as compared to other non-Black, or White, admitted students) even

though this explicitly violates the US Constitution, Federal, State and District laws.

See Operative Complaint dckt.14. For Georgetown it appears old habits die hard,

or not at all, slaveryarchive .georgetown.edu/
        (...Sale of Maryland Jesuit's enslaved community to Louisiana in 1838. These archival materials relate to the sale of
        272 [Black; enslaved] men, women, and children by Rev. Thomas Mulledy in 1838.).
See Operative Complaint dckt.14. See also 42 U.S.C. § 1981
        (“(a) Statement of equal rights - All persons within the jurisdiction of the United States shall have the same right in
        every State and Territory to make and enforce contracts, to sue, be parties, give evidence, and to the full and equal
        benefit of all laws and proceedings for the security of persons and property as is enjoyed by [W]hite citizens”...."make
        and enforce contracts" includes the making, performance, modification, and termination of contracts, and the
        enjoyment of all benefits, privileges, terms, and conditions of the contractual relationship…..(c) Protection against
        impairment….The rights protected by this section are protected against impairment by nongovernmental
        discrimination and impairment under color of State law…)
As a reminder here are some other key facts, and disclosures, as of February 2025.

      1.​ Mr. Austin entered 2025 Settlement for Georgetown’s illegal conduct

1.​     The US Department of Education Independently Confirms & Verifies the

Substance & Seriousness of Georgetown’s violations as of February 2025. The US

Department of Education has declared Mr. Austin owes Georgetown University

nothing based upon their conduct as reported to the Department of Education on or

                              2 ; Corporate Disclosures as of February 2025.

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prior to 2022, offered Mr. Austin the opportunity to refuse, and Mr. Austin already

accepted, and entered into a Settlement contract. The United States Department of

Education was made aware of Georgetown’s initially known violations on or before

2022 and contacted Mr. Austin on, or before, January 2025. I, Mr. Austin, declare

under penalty of perjury that based on just those underlying violations as shared

with the Department of Education at that time, alone (let alone the ongoing

violations included here, in this action) the Department of Education has

determined Georgetown’s conduct is so egregious that anything owed them

by Mr. Austin, the student, is no longer owed as of January 2025 per their

official communication(s). The Department of Education not only affirms the

substance, seriousness, and illegality of Georgetown’s conduct but further shows

through the cancellation of any, and all, debts owed by Mr. Austin, the student, the

very serious, and egregious, level of violations they, Georgetown, engaged in.

      2.​ U.S. Department of Education finds Georgetown’s conduct egregious

2.​     The U.S. Department of Education alerted Mr. Austin that based on

Georgetown’s pre-2022 wrongs, illegal conduct, (including privacy, publicity, overall

context, etc.) as known, & shared, with US Department of Education, pre-2022,

found Georgetown’s conduct so egregious that all, and any, debts owed Georgetown

(by student George Jarvis Austin) are erased, completely. This conduct was not

simply an error here or there, but illustrates (as plead in this action) an overall

systemic failure by Georgetown on the front end (prior to violations), & backend,

self corrections (once violations were discovered, alerted of, complained about).




                     3 ; Corporate Disclosures as of February 2025.

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               4 ; Corporate Disclosures as of February 2025.

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               5 ; Corporate Disclosures as of February 2025.

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   3.​ Based on Georgetown’s conduct Mr. Austin owes nothing per
       US Department of Education
3. ​ It is worthwhile to restate that Georgetown’s reported, and documented,

conduct was so clearly illegal, based on the pre-2022 reported-known conduct (let

alone the ongoing violations included here, in this action) that the Department of

Education has determined that anything owed them by Mr. Austin, the

student, is no longer owed as of January 2025 per their official

communication(s). This is valued at over $100,000+ per laws within the US

Department of Education’s wheelhouse.

      4.​ This is significant as the findings were based on substantiation of
          Mr. Austin’s legal claims, factual description, and context (as made
          aware to US ED prior to 2022) and Demonstrates not only substance,
          but significance (over 100K+ in value per laws in their wheelhouse)
4.​     In these US Government findings, action, offer, and settlement agreement,

the Department of Education is not only affirming the substance, seriousness, and

illegality of Georgetown’s conduct but further shows through the cancellation of any,

and all, debts owed by Mr. Austin, the student, the very serious, and egregious,

level of violations they, Georgetown, engaged (and are engaging) in. This is not only

relevant to the pre-2022 conduct, as known then and reported to US Department of

Education, but also shows the level of illegality, egregiousness, and wrongfulness of

ongoing Georgetown conduct violating Mr. Austin’s Constitutional, Federal, and

State, rights in an ongoing manner (as plead in this action). Because the US

Department of Education took these actions, not in a vacuum, but with access to

tremendous amounts of Georgetown data-information, as well as Mr. Austin’s

information-data, in context of the pleadings, reports, etc. these US Government

findings, action, offer, and settlement agreement, the Department of Education is

not only an independent, informed, expert affirming the substance, seriousness, and
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illegality of Georgetown’s conduct but also showing they understand the value of the

violations (over $100,000+ just with regard to value per the laws directly in their

wheelhouse).

    5.​ Mr. Austin was not made aware of this settlement development prior
        to filing the case or it would have been included in the pleadings.
5.​     Mr. Austin was not aware of this settlement development until after already

having filed this case. Had he known he would have included this development into

the pleadings, and evidence, on the front end. However, Mr. Austin did alert Breyer,

presiding judge, of this development within R.59 motion after Ryu, previous judge,

recused herself.

   6.​ Mr. Austin is a high performing, accomplished, highly sought student
6a.​     Mr. Austin is a high achieving, highly recruited, accomplished, high potential,

admitted Georgetown student who happens to be a Black man. Mr. Austin is a

person of great character, pristine, clean and clear background, identified as top 5%

out of over 20,000 competitive students, admitted to 100% of all top tier

undergraduate schools (including UCLA and Berkeley he applied to), did well at

Berkeley, which he selected, and graduated. www.forbes.com/sites/madison

fernandez/2021/09/08/why- berkeley-is -number-one/ ?sh=2bbb1b7a47e0 ]). See e.g.

Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., No.

20-1199, 202 (U.S. Jun. 29, 2023) (“California amended its State Constitution to

prohibit race-conscious college admissions in 1996…University of California,

Berkeley, a top public university not just in California but also nationally…For

example, the University of California purportedly recently admitted its "most diverse

undergraduate class ever," despite California's ban on racial preferences. … UC

Admits Largest, Most Diverse Class Ever, But It Was Harder To Get Accepted, L. A.


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Times, July 20, 2021”) (FAC para.5). Mr. Austin has straight As, & A+’s the last

nine semesters (FAC para.5). Mr. Austin regularly scores in the top 1% of

standardized testing for multiple exams, above 99% of test takers, (including the

LSAT) (FAC). Mr. Austin is highly recruited for both professional and law schools.

6b.​     Mr. Austin was awarded highest scholarship honors in multiple top tier

institutions as incentives for enrollment, as well as free application offers to nearly

every T-14 institution, by those institutions, due solely to Mr. Austin’s proven,

documented, successful academic & professional track record, and accomplishments.

Georgetown was only one of many top tier options with whom Mr. Austin was made

offers to attend; Because of Mr. Austin’s already established built-in network in

DC, and surrounding locations, it became one of the more attractive East Coast

offers made to Mr. Austin, but still only one of many. Separate from earning

acceptance to a variety of top tier schools, Mr. Austin also simultaneously earned

highly coveted spots in a variety of professional development programs, and top 10

paid fellowships (based on his demonstrated leadership, work experience, and

academic excellence). For example, Mr. Austin Won (along with 17 others) a top 10

out of 820+, elite, uber- competitive Senate fellowship (1 of 64 Capital Fellowship

winners; CA Senate):
         “The now-25-year-old, along with fellow Stockton native George Austin, is receiving the opportunity to be at the
         forefront of state politics for 11 months starting in October after being chosen to be among 18 Senate Fellows as part
         of the state's Capital Fellows Program….. But being chosen for the program is no easy task…..The Capital Fellows
         program has twice been named one of the top 10 best internships alongside the likes of NASA, the Smithsonian
         Institution and Google Inc. Vault.com, a career-planning website that gave the Capital Fellows that top 10 placing
         out of 821 internship programs, bases its high-ranking selections on the all-around experience interns receive…."It's
         a rigorous program," Bunch said. "It's like a yearlong training for them, but they're not only doing an internship,
         they're also taking graduate courses."...There were more than 1,300 applications for the program each of the past
         two years. Only 64 people are chosen for the entire program.”
             -​   www.recordnet.com/story/news/2012/09/08/just-one-fellows/ 49419856007/




                              8 ; Corporate Disclosures as of February 2025.

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               9 ; Corporate Disclosures as of February 2025.

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6c.​     As articulated above, Mr. Austin Earned, and Won in a top 10 out of 820+

paid Fellowships per Vault and Forbes, in the CA Senate with the most competitive

entry (less than 4% acceptance rate nationwide, my year, for that program), as 1 of

18 selected winners (and 1 of 2 winners out of that area) www.recordnet.com/story/

news/2012/09/08/ just-one-fellows/49419856007/ Although, Mr. Austin was

unavailable for press interview at the time he was still publicly celebrated and

honored in the piece of over 400 elite competitors nation- wide, and Mr. Austin

declined automatic job offer as part of the elite program selection process as I had

already given my word to another commitment for which I already deferred for an

additional year. As stated above Mr. Austin was accepted into multiple top tier law

schools (including T-14), offered highest scholarship award honors from a variety of

schools including, previous VP, Kamala Harris’ alma mater (in San Francisco), and

more recently was chosen as most outstanding student, as well as top ten business

student ever (selected by professor with over 20 years experience). Yet, Mr. Austin,

(an admitted Black male student, following Georgetown’s publicly outlined policies,

even after Georgetown’s written admission to him that they violated their own

written authorization agreement policy, and the law) was outright intentionally,

facially, and repeatedly, discriminated against by Georgetown in violation of Equal

Protection, 42 USC 1981, 13th, 14th Amend. and (Title VI, on which Title IX was

based). See S-6

      7.​ Georgetown made initial admitted student contract offer
7.​      As mentioned, Georgetown is one of many elite schools that Mr. Austin

earned admission, was offered admissions contracts, as well as scholarships, into a

variety of schools (including the highest, or largest, available scholarships to


                      10 ; Corporate Disclosures as of February 2025.

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a variety of schools). Georgetown made an initial contract offer to Mr. Austin.

      8.​ Georgetown advertises it follows the law, seeks the higher good for
          its admitted students (and others), & abides by its own policies
8.​      Prior to, and during, the student admissions, and scholarship, Georgetown

contract offer process, Georgetown made several representations of fact to Mr.

Austin to induce contract formation. Georgetown advertised in its brochures, its

policies, and its websites (as well through its admissions representatives-recruiters)

that a. It meticulously follows the law b. It meticulously follows its own policies c. It

teaches, and models, great behavior and is an open environment to feedback,

learning, and growth. d. It follows, and seeks, the path to the higher good (as a

parochial school of Catholic, Jesuit, principles) for its admitted students, its

professionals, its surrounding environment, and community in light of being good

stewards, teachers, and practitioners of the law. As a practicing Christian, who

loves everyone, and seeks to live my values not just on the Sabbath, but everyday, in

all areas of my life, this was particularly important for me in their advertisements.

      9.​ Georgetown advertised to induce making contract with Mr. Austin
9a.​     Georgetown’s advertisements were specific, precise, and detailed to induce

contract making with admitted high potential incoming students: specifically in this

case, Mr. Austin. Georgetown’s offer, and entire multi-year contract making

process, itself was riddled with these advertisements. Mr. Austin began his student

contract making process with Georgetown, after they made the initial advertise-

-ments, and contract offer, and consummated with $400 consideration for

Georgetown’s student contract. Mr. Austin entered into contract with $400

consideration based on Georgetown’s promises, policies, and advertisements

(including policies-law- advertisement that Georgetown explicitly requires a

                      11 ; Corporate Disclosures as of February 2025.

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separate written contract for any commercial use of a picture of an admitted

Georgetown student). Mr. Austin did not choose Georgetown based simply on

ranking, historicity (est. 1789: 13 years after Founding of the US, at the hub), or

prestige. He looked for the best opportunity to grow, learn, develop, be taught as a

man, human being, a Christian, & Black person as he already had tremendous

opportunities for financial gain, & material ‘worldly’ success, without Georgetown.

         “One thing I have asked of the LORD, that I will seek after, that I may dwell in the house of the LORD all the days
         of my life, to see the beauty of the LORD, and to inquire, in His temple.”
             -​     Psalms 27:4, attributed to David son of Jesse
                    (the Shepherd, like a Goatherd, who later became King).

         “ The words of the Preacher, the son of David, king in Jerusalem.
         2 Vanity of vanities, saith the Preacher, vanity of vanities; all is vanity.
         3 What profit hath a man of all his labour which he taketh under the sun?
         4 One generation passeth away, and another generation cometh: but the earth abideth for ever…..
         8 All things are full of labour; man cannot utter it: the eye is not satisfied with seeing, nor the ear filled with
         hearing.
         9 The thing that hath been, it is that which shall be; and that which is done is that which shall be done: and there is
         no new thing under the sun…..
         11 There is no remembrance of former things; neither shall there be any remembrance of things that are to come
         with those that shall come after.
         12 I the Preacher was king over Israel in Jerusalem.
         13 And I gave my heart to seek and search out by wisdom concerning all things that are done under heaven: this
         sore travail hath God given to the sons of man to be exercised therewith.
         14 I have seen all the works that are done under the sun; and, behold, all is vanity and vexation of spirit.”
              -​   Psalms 27:4, attributed to Solomon, son of David, grandson of Jesse
                   (considered the wisest King who ruled through peace, not war & death).

9b.​     Mr. Austin seeks simply to Love the Lord with all his heart, mind, soul and

energy and Love his neighbors (as he Loves himself). He doesn’t worship money, or

the things money can buy for all flows from the Most High. He does not worship

things that flow from the lust of the flesh, the lust of the eye, or the pride of life. He

does not worship power, prestige, position, the false idol of White Supremacy, Racial

Bigotry, or Hate, nor anything man made, temporal, or non-eternal. For Mr. Austin

knows we all have only feet of clay, and thus he seeks the One who formed the clay.

Mr. Austin knows to keep his eye on the Final Hour, as human life and all the

trinkets of money, prestige, power, on this side of Eternity, is fleeting, as the

Psalmist hymns like ‘grass’ or a ‘flower of the field.’ Mr. Austin chose Georgetown to

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grow, learn, develop, be taught as a man, human being, a Christian, & Black

person; not to be unknowingly exploited, discriminated against, and deceived.

9c.​     However, despite Georgetown’s explicit promises, they broke them, and the

laws their policies-promises were based upon. Moreover, the underlying promise,

and associated feeling of an opportunity to grow, learn, enjoy the life of the mind,

with academic freedom, in private, (prior to practice) in a marketed controlled

environment that would not only accurately teach the law, but model good behavior

embodying those laws was completely broken. Georgetown violated this promise,

and many other laws, policies, and advertised promises, not even to help Mr.

Austin, but to violate, or to harm, Mr. Austin (an admitted student) to his detri-

-ment, and disrespect. Georgetown's ongoing Abuse of power against Mr. Austin,

and the typical communication style, or non-communication, that accompanies

typical abusers of power, highlight or better ‘Spotlight’ Georgetown’s illegal habit

pattern. But for Georgetown’s advertisements, policies, & promises Mr. Austin

would not have entered into a student contract with Georgetown.
   10.​One particular set of contract promises, policies, and set of laws
       promulgated by GU is that any photography or recording of a GU
       student used for commercial purposes must be separately contracted
       for with students foreknowledge, consent, and written contract.
10a.​ Georgetown’s written contract mandate for all commercial or business use of

Media policy is one set of contract promises, express policies-law, that Georgetown

advertises, and admits, publicly, they owe duties to all admitted students regardless

of race. Georgetown specifies that it owes the duty notify Mr. Austin prior to

filming or photographing him (for marketing or commercial purpose publicaffairs.

georgetown.edu/communications/policies/policy-for-filming-at-georgetown-university

/ ) as part of Georgetown’s standard of care to an admitted student (as reflected in


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policies, statutes (which Georgetown’s policies cross reference), common law, agency

regulations and..common practice) See S-10 With this explicit detailed policy, and

publicly advertised promise, Georgetown admits, publicly, that they owed Mr.

Austin the duty to obtain his written authorization prior to taking, or using, his

photograph for Georgetown Business or commercial purposes (as part of their owed

standard of care).See S-11

10b.​ Georgetown admits, and knows, publicly, that a written authorization form to

agree to business use of a photo is a contract, or contractual agreement (between the

person whose picture is being taken and the person or organization who is taking the

picture for commercial purposes). Georgetown requires prior approval of this

contract by Georgetown’s General Counsel, requires signed written authorization,

(contract), prior to business use or it violates their privacy, publicity, and 1981 right

to contract (when facially discriminatory; i.e. one policy for Black male students,

and one for similarly situated non-Black male students). See S-12 Georgetown

admits, publicly, that this specific duty owed is part of Georgetown’s standard of

care to an admitted student; Georgetown must obtain prior written consent from

the person being photographed for Georgetown business or commercial purpose.

These set of promises, and policies, are reflected in 1. Georgetown’s privacy policy as

part of the student contract, and 2. Georgetown’s Media policy.

10c.​ Georgetown admits, publicly, that information regarding the breach or

violation of the aforementioned duties is material to the person who was filmed or

recorded; Georgetown admits this through its emphasis, explanation, and

admissions of the current law’s legal requirements that inform, guide, and direct,

their publicly stated policy (as well as Georgetown’s own argument in what is

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considered the Court of second highest prestige under the Supreme Court of the

United States; S-14.. Further, Georgetown admits, publicly, that the ‘commercial

purpose’ of the filming adds extra legal barriers, and creates additional material

information needs for meeting of the minds, and written consent, with the person

being filmed for business purposes (which would need to be included in the written

authorization, and notice, prior to the filming or recording).

10d.​ Georgetown admits that it commenced or consummated its admitted student

contractual relationship with Mr. George Jarvis Austin, as an admitted student,

with $400 payment from Mr. Austin and both parties’, to the contract, agreement to

the terms and conditions of Georgetown’s standard contract with admitted students;

S-16. ​ Also, Georgetown admits, publicly, that as part of student contract, their

mandatory policies (privacy, media, IDEAA, etc.) and procedures must be followed

by Georgetown or they in fact break the law, and incur legal liability (according to

their own public declarations-admissions of fact). Further, Georgetown admits,

publicly, that a material part of their advertising to induce contract formation with

incoming students is their commitment to follow the law, their own policies, and

their own consummated student contracts. See S-18 Georgetown admits, publicly,

through their own publications and protections of privacy, publicity, and other rights

that these rights are in fact not only valuable, but essential, in the modern

interconnected world we live in (and outline the precise steps needed regardless of

race of person, or student, on their own websites, and informational resources).See

S-19 Moreover, Georgetown knew it had a duty to inform Mr. Austin of the precise

usage of his photo prior to using for business purposes which includes where they

will be sent, how many, and how else may be utilized (I.e. websites, interactive

                     15 ; Corporate Disclosures as of February 2025.

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forums etc.) so informed written consent, and mutual assent for contract, can be

made. Despite all of these promises, Georgetown broke them, purposefully, and

continually fails to correct or take action as itself mandates in their ongoing wrongs.

   11.​This mandatory contract is a separate written contract from the
       initial school and student contract for an admitted student
11a.​ Georgetown publicly specifies that methodology, and requirements, of their

written authorization contract as a mandatory prerequisite to commercial or

business usage of an admitted student's image (or likeness, etc.) See Operative

Complaint dckt.14. Georgetown itself admits, publicly, that not only must written

authorization, as a contractual agreement, be signed by the student prior to use, but

that the form itself ‘must’ include certain information, (including acknowledgement

of ‘consideration’ per contract law;) to be valid, and enforceable (and even includes

an example photographic/ videographic release form for students in their continuing

education programs; Georgetown’s neighbor George Washington University publicly

provides a comparative example for its own students). See S-22; Georgetown itself

admits, publicly, (in its .. filming required steps ..), that it holds itself to the same

standards for students, faculty and staff.




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      “too often they have stimulated their prejudices by referring to the [so called Negro; Black people] as unworthy of
      consideration…..”
          -​   Carter Godwin Woodson, 1933, The Mis-Education of the Negro.


   12.​Georgetown takes time, publicly advocates, & expresses in writing
       how important, and valuable, these policies & laws are, in practice,
       not just theory (Georgetown outlines precise steps that must be
       taken, everytime, with every student).
               “Founded in 1789, Georgetown is the Nation's oldest Catholic and Jesuit University.…..Georgetown
               complains that … requiring it to report …. forces the University to violate the Federal Educational
               Rights and Privacy Act (i.e. reasonable expectation of privacy) of 1974 (FERPA), 20 U.S.C. § 1232g,
               by mandating the release of allegedly protected information regarding students who live off campus.
               ….FERPA protects students ' privacy interests by withholding federal financial assistance to educational
               institutions that …release .. educational records" …..
               Georgetown first raised its FERPA-based objections to the reporting obligations”
                         - GEORGETOWN COLLEGE v. D.C. BRD., ZONING ADJ, 837 A.2d 58, 79 n.21 (D.C. 2003)

               “As with any other “education record,” a photo or video of a student is an education record, subject to
               specific exclusions, when the photo or video is: (1) directly related to a student; and (2) maintained by an
               educational agency or institution or by a party acting for the agency or institution (i.e. explaining
               commonly understood reasonable expectation of privacy). …. If a school maintains a close-up photo
               of two or three students playing basketball with a general view of student spectators in the background,
               the photo is directly related to the basketball players because they are the focus of the photo”
                    -​    studentprivacy.ed.gov/faq/faqs-photos-and-videos-under-ferpa

               “NOT "permitting the release of education records . . . of students without the[ir] written consent (i.e.
               reasonable expectation of privacy)”
                   -​  Crockett v. Dist. of Columbia, Civil Action No. 16-1357 (RDM), at *8 (D.D.C. Apr. 10, 2020)

               https://publicaffairs.georgetown.edu/communications/policies/policy-for-filming-at-georgetown-university/
               (“You may not film a person in an identifiable manner unless you first have obtained that person’s express
               consent. If the person is a Georgetown student, you must use a written consent form that has been approved
               in advance by the Office of the General Counsel.”)

               https://library.georgetown.edu/copyright/images-publications (“If you have a photograph with people in it,
               there may be privacy or publicity rights (https://www.publicdomainsherpa.com/rights-of-
               publicity-and-privacy.html) that need to be addressed…. ‘The right to privacy; The gist of the privacy
               right is that you get to control information about you. At its heart is what Louis Brandeis (with coauthor
               Samuel Warren) summed up, way back in 1890 before he was a Supreme Court Justice, as "the right to be
               left alone." (I’m paraphrasing there.) The right to privacy is invaded by:
                     ●​ unreasonable intrusion upon the seclusion of another (for example, photographing someone
                          through the window of their house, unbeknownst to them); or
                     ●​ appropriation of another’s name or likeness; or
                     ●​ unreasonable publicity given to another’s private life; or
                     ●​ publicity that unreasonably places another in a false light before the public.
               The right of publicity; A person’s right of publicity is the right to protect his or her name or likeness
               from being commercially exploited without consent and, potentially, compensation. In one sense the right
               is treated like a property right (the right to profit from the use of one’s own image or identity). In another
               sense it’s treated like a privacy right (protection from unjustified intrusion and exploitation).
               To avoid violating someone’s right of publicity you must be careful about using their:
                     ●​ image (photos, videos, film);
                     ●​ likeness (drawings, paintings, prints, etc.);
                     ●​ name (this includes nicknames and former names);
                     ●​ voice; or
                     ●​ signature.
               Make sure you have permission before using a person’s image or likeness…..”
                    -​   Georgetown University Library

12a.​ Including some of the examples above, Georgetown themselves precisely

outline, express, and advocate for, the importance, and (written) requirements for

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these rights, laws, and policies. The broad, but specific, categories of privacy

violations that Georgetown themselves help to articulate as part of a reasonable

expectation of privacy for students illustrate at least two ways that Georgetown

specifically violated Mr. Austin’s privacy, and publicity rights (as well as Equal

Protection , 42 USC 1981, Duties to not violate Deceit, Negligence and Bad Faith

rights); See S-49 Georgetown knows both DC’s and California’s jurisdictions affirm

that Georgetown’s conduct using an up close photo without his consent, nor

knowledge, nor written agreement, was violative of Mr. Austin’s privacy,

media-commercial use, publicity, 1981 rights. The Supreme Court repeatedly

reaffirmed this position; See S-50. Not only was Georgetown aware, but admits,

and it is commonly understood that their conduct violated his reasonable

expectation of privacy, especially as an admitted student in the forum state of

California. See S-51

12b.​ Nationally, it is clear,(codified in various forms), that Georgetown’s conduct

violates privacy, publicity, 1981 rights for admitted students; See S-52 Georgetown

already publicly admits it; Yet, another way to ascertain common understandings of

a reasonable expectation of privacy is a comparative approach perusing similar

privacy protected information, in similar contextual frameworks, to discern the

metes & bounds of our zones of protected information; See S-53 As Georgetown

publicly admits privacy violations, when combined with commercial use, heighten

liability, even when exceptions for similar non-commercial purposes may be

acceptable; See S-54 Georgetown not only violated privacy, publicity, 1981 rights of

Mr. Austin, but also purposefully availed (again without Mr. Austin’s knowledge,

nor consent) under Mavrix Photo v. Brand Techs when it a. specifically targeted Mr.

                       18 ; Corporate Disclosures as of February 2025.

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Austin’s forum state of California (utilizing his up close photo without his consent,

nor knowledge b. Did “something more” including multiple mailed physical copies,

likely thousands, of advertisements to forum state, and presented physical copies

including said privacy, 1981(contract) violating photo of Mr. Austin, and separately

maintained interactive website for advertising, commercial, purpose of a multi-

billion dollar organization; See S-55. Georgetown knew what it was doing to

purposefully violate Mr. Austin, and his rights as a Black person, human being, and

admitted student in nearly every way they possibly could (shows repeated animus).
   13.​These rights are so important that the 2023 Supreme Court unanim-
       -ously overturned the 9th Circuit in favor of the plaintiff whose com-
       -mercial use rights, analogous to rights of publicity, were violated.
13a.​ These rights are so important the 2023 Supreme Court unanimously

overturned the Ninth Circuit in favor of a plaintiff whose commercial image-

likeness rights, analogous to rights of publicity, were being violated: On June 8,

2023, Justice Kagan delivered the unanimous opinion for the Supreme Court of the

United States who unanimously sided with Jack Daniel’s and overturned the Ninth

Circuit in a trademark infringement and dilution case stemming from VIP Products’

“Bad Spaniels,” a novelty dog toy that intentionally parodied Jack Daniel’s iconic

‘Tennessee whiskey’ bottle and label elements. See Jack Daniel's Props. v. VIP

Prods., 143 S. Ct. 1578, 216 L. Ed. 2d 161 (2023) The decision clarifies that when a

parody of another’s trademark is used as a trademark, the use does not qualify as

“noncommercial.” Georgetown has already publicly admitted the inherent harms of

their conduct in violation of their media, privacy (publicity) and written

authorization policy, and the Supreme Court highlights a ‘smooth’ analogy to a

person’s right of publicity, as a trademark is “any word, name, symbol, or device, or


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any combination thereof” used to “identify and dis -tinguish” one’s goods-service

(shows harm in purely legal context); See S-48. Georgetown also specifies and

acknowledges that it is commercial business usage, and even includes a price-cost

on the brochure for the brochure itself (outside of the product-service being sold).

13b.​ Also, similar to the right of publicity, trademarks perform a key function of

identifying the source of a product, thus enabling businesses (or person, in context

of publicity rights) to build goodwill and consumer recognition with high quality

products and are an essential tool in any businesses’ intellectual property arsenal.

Analogous to violations of right of publicity, a Trademark infringement is the

unauthorized use of a trademark. As The Court, per Justice Kavanaugh,

articulated in TransUnion LLC v. Ramirez “a plaintiff searching for a “common‐law

analogue for their asserted injury” need not identify “an exact duplicate.”

TransUnion, 141 S. Ct. at 2204. But the plaintiff ’s alleged injury must still have a

“close relationship” to a traditionally recognized harm.” Mr. Austin's right of

publicity (and privacy) is a close analogue, in this case statutory (and common law),

a similar harm, to Jack Daniels ‘Tennessee Whiskey.”

   14.​Georgetown takes pains not only to outline the policy itself, per its
       own website, and materials, but traces the legal requirements to
       Federal, State, and District of Columbia laws, and precedent.
             https://publicaffairs.georgetown.edu/communications/policies/policy-for-filming-at-georgetown-university/
             (“You may not film a person in an identifiable manner unless you first have obtained that person’s express
             consent. If the person is a Georgetown student, you must use a written consent form that has been approved
             in advance by the Office of the General Counsel.”)

             https://library.georgetown.edu/copyright/images-publications (“If you have a photograph with people in it,
             there may be privacy or publicity rights(https://
             www.publicdomainsherpa.com/rights-of-publicity-and-privacy.html) that need to be addressed…. ‘The
             right to privacy; The gist of the privacy right is that you get to control information about you. At its
             heart is what Louis Brandeis (with coauthor Samuel Warren) summed up, way back in 1890 before he was
             a Supreme Court Justice, as "the right to be left alone." (I’m paraphrasing there.) The right to privacy is
             invaded by:
                  ●​ unreasonable intrusion upon the seclusion of another (for example, photographing someone
                        through the window of their house, unbeknownst to them); or
                  ●​ appropriation of another’s name or likeness; or
                  ●​ unreasonable publicity given to another’s private life; or


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                     ●​ publicity that unreasonably places another in a false light before the public.
               The right of publicity; A person’s right of publicity is the right to protect his or her name or likeness
               from being commercially exploited without consent and, potentially, compensation. In one sense the right
               is treated like a property right (the right to profit from the use of one’s own image or identity). In another
               sense it’s treated like a privacy right (protection from unjustified intrusion and exploitation).
               To avoid violating someone’s right of publicity you must be careful about using their:
                     ●​ image (photos, videos, film);
                     ●​ likeness (drawings, paintings, prints, etc.);
                     ●​ name (this includes nicknames and former names);
                     ●​ voice; or
                     ●​ signature.
               Make sure you have permission before using a person’s image or likeness…..”
                    -​   Georgetown University Library

14.​     Per Georgetown, (i.e. FAC para.111.), written authorization requires Mr.

Austin’s prior a. notice of his picture being taken, b. notice of purpose, c. notice of

business use, d. presentation of written contractual agreement to consent to

business use, e. with General Counsel approval of form f. signature consenting prior

to use (and this is regardless of the race of the person’s whose picture is being

taken). Per Georgetown, written authorization requires a written contract between

the student and those utilizing the IP-Publicity Rights-Photo (including Georgetown

themselves) for photos taken prior to commercial use. Policy for Filming at

Georgetown University | The Office of Public Affairs | Georgetown University

(...University …. marketing and promotional materials. Relevant model/image

releases must be signed by all identifiable subjects….You may not film a person in an

identifiable manner unless you first have obtained that person’s express consent. If

the person is a Georgetown student, you must use a written consent form that has

been approved in advance by the Office of the General Counsel.)

   15.​Georgetown, not only did not get Mr. Austin’s consent, Georgetown
       didn’t even have the decency to tell him of their violations, nor to
       self correct; Someone outside of Georgetown had to alert me, then
       GU admitted violations, but still failed to correct ongoing violations.
15a. ​ Georgetown did not have the decency to tell Mr. Austin of their violations,

and would not have told him had it not been for a UC Berkeley student who let mr.

Austin know: Prior to 2019, A fellow student of University of California Berkeley

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discovered, and alerted Mr. Austin that his image and likeness was being used for

commercial purposes by Georgetown, in California as 1 of its top recruiting

markets. It was more recently revealed it was likely with thousands of physical

brochures, and an interactive website, both with his close up, readily identifiable,

photo (to help Georgetown generate Billions of dollars in annual revenue. The fellow

student alerted his photo was being used to promote, market, or sell Georgetown

without his knowledge, nor consent (Commercial Use) to violate his privacy,

publicity and other rights. Mr. Austin is a human being, a citizen, and an admitted

student at Georgetown University, and other elite institutions of law, with active

and ongoing rights to 1. Equal Protection, 14th Amend, Title VI, 2. 42 USC 1981,

13th Amend. 3. not be deceived or defrauded (out of privacy, publicity., property,

1981, or others rights), 4 & 5. not have duties breached or violated maliciously

through bad faith or negligently as a person or human being. See S-8

15b.​ Georgetown never informed, nor obtained written, or any, authorization from

Mr. Austin. Outside of a litigation context, Mr. Austin thereafter followed up with

Georgetown to which they initially denied use of his image or likeness was true.

Mr. Austin sought verification of violations and had no way of knowing if true or

authentic (as several organizations he initially reached out to verify would not

confirm, nor deny). However, they later admitted their violations by sending him

the same physical copies, to California, already discovered by a fellow UC Berkeley

student, with a letter by Georgetown leadership admitting their violations in 2019.

From the date of that letter till now, quickly approaching 5 years, Mr. Austin has

diligently followed up with Georgetown leadership, with over 300+ witnesses, and

100+ formal complaints made to Georgetown’s appropriate divisions, (IDEAA,

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President Office, etc.) outside of the litigation context, to proactively address and

solve the issues at hand (including getting the specific numbers of physical

commercial brochures sent, where, and to whom). Specifically, Mr. Austin emailed

and faxed IDEAA complaints, with other leadership cc’d,. Mr. Austin formally

complained. Georgetown leadership violated school policies, standards of care,

statutes, customs, and laws. Mr. Austin had no idea, nor anyway to predict, they

would continually conduct themselves in this illegal manner up to the present, 2025

(and would have preferred to solve outside of a litigation context) Georgetown has

not responded, or acknowledged complaint(s) but made several admissions of fact.

Georgetown admits they at least twice used Mr. Austin’s photo for business

purposes without obtaining written consent, nor ‘Consideration,’ nor notice

provision in violation of student contract, the law, and publicly stated policies. Also,

Georgetown admits they in fact never disclosed, notified, nor obtained written

consent from Mr. Austin, ever; Georgetown knows Mr. Austin Identifies as

Black-African American, takes pride,& joy, in his heritage, and respects himself, as

well as his rights to contract. See S-24 ; But, Georgetown showed disrespect in that

they did not tell Mr. Austin of their violations, until after, & did not self correct.
   16.​The mandatory written contract requires Georgetown to abide
       by 42 USC 1981 standards for non-discriminatory contract making
16a.​ Georgetown publicly admits written authorization requires Mr. Austin’s prior

a.notice of his picture being taken, b. notice of purpose, c. notice of business use, d.

presentation of written contractual agreement to consent to business use, e. &

Georgetown General Counsel approval of form and f. his signature consenting to it

prior to its use. Georgetown admits it had none of the above (as first

acknowledgement of its use was in the 2019 letter after the fact). Per 42 U.S.C. §

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1981 (EFFECTIVE DATE OF 1991 AMENDMENT Pub. L. 102-166, §402, 105 Stat.

1099), the entire contract formation, and making, process (i.e. "make and enforce

contracts:" “making, performance, modification, and termination of contracts, and

the enjoyment of all benefits, privileges, terms, and conditions of the contractual

relationship”) is secured by 42 USC 1981, and protected against discriminatory

Georgetown conduct harming Mr. Austin on the front end of the spectrum in the

“making.” See 42 U.S.C. § 1981. Per US Supreme Court’s General Building

Contractors Assn., Inc. v. Pennsylvania, and Comcast Corp. v. Nat’l Ass’n of African

Am.-Owned Media, 140 S. Ct. 1009, 1016 (2020), standards of demonstrated racial

animus under sec. 1981, Georgetown purposefully, and willfully, deprived Mr.

Austin’s rights to contract and engaged in a “blatant deprivation of civil rights such

as where a private offeror [in this case Georgetown] refuses to extend to [an African-

American, in this case Mr. Austin], because he is an [African-American], the same

opportunity to enter into contracts he extends to White offerees [in this case White

admitted students].” Because Georgetown deviated from the standard, explicitly

stated, steps for ‘making’ a mandatory written contract with all admitted students

whose image or likeness is used for commercial or business purposes, and deviated

in the negative on account of Mr. Austin’s race, they showed Mr. Austin racial

animus by their conduct.

16b.​ In fact, Georgetown knows, and admits, publicly, that they are liable under

42 USC 1981 because as an organization they continue to refuse to contract in

facially discriminatory manner, when they are obligated to contract under the

circumstances (i.e. when exploiting a Black male admitted student’s picture for

business purposes as Georgetown did without Mr. Austin’s written authorization) See

                     24 ; Corporate Disclosures as of February 2025.

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S-25. Georgetown publicly admits that enslavement of Black people in this country,

which Georgetown personally partook in, was in part exploitation of Black people

without even considering Black people’s rights or needs; This is a similar pattern to

how Georgetown behaved in exploiting Mr. Austin’s right to contract (i.e. violated

written authorization agreement requirements in reference to his person, privacy,

publicity, etc.) with absolutely no consideration of his rights (as Georgetown

explicitly outlines, defines, and explains), his needs, his understand or meeting of

the minds, and definitely not his written authorization and contract; 42 USC 1981

had to explicitly state Black men, and people, have the same right to contract as a

White man (or “White citizens” to be precise) because racism, & discrimination built

in the assumption of inferiority and presumed it could take from Black people

without ‘consideration,’ nor ‘mutual assent,’ but instead by force.

See S-26 See also 42 U.S.C. § 1981
      (“(a) Statement of equal rights - All persons within the jurisdiction of the United States shall have the same right in
      every State and Territory to make and enforce contracts, to sue, be parties, give evidence, and to the full and equal
      benefit of all laws and proceedings for the security of persons and property as is enjoyed by [W]hite citizens”...."make
      and enforce contracts" includes the making, performance, modification, and termination of contracts, and the
      enjoyment of all benefits, privileges, terms, and conditions of the contractual relationship…..(c) Protection against
      impairment….The rights protected by this section are protected against impairment by nongovernmental
      discrimination and impairment under color of State law…)


   17.​Georgetown’s standard for White, or non-Black, admitted students

17a.​ As stated above, and in the Operative Complaint, A typical Georgetown

media (film) policy, and business use process, for similarly situated non-Black male

admitted students would entail 1. Providing notice of the photo(s) being taken prior

to business use 2. Providing notice of potential uses of photo prior to use (as outlined

in agreement) 3. Presenting subject of photo(s) with contract for purpose of

obtaining informed consent 4. Presenting subject of photo(s) contract with

‘consideration’ defined-included as required per contract law 5. Obtaining written


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authorization prior to business use.; S-56; See Operative Complaint dckt.14.

17b.​ Georgetown is well aware of its admitted student’s role in helping shape the

future of our Nation, and the World, in the Public Sector, and elsewhere, as one of a

very few schools with at least (one) 1, and perhaps (two) 2, US President(s)

(POTUS) listed as alumni, or previous students, and the second highest feeder to

members of the United States Legislature, behind Harvard, as well as Private

Sector, NGOs, etc. The rigorous, scrutinizing, and elite admissions process fills its

student body with high potential leaders who in fact, not just theory, fundamentally

impact World, Domestic, State, and Local affairs in all sectors of our Economy.

Principally because of this key developmental-exploratory period in a person’s,

admitted students’, life and every admitted student’s high potential for positive

impact, it is essential to protect not only their privacy, and publicity rights, but

Equal Protection and 13th Amend., or 1981 rights to contract as students do not

“shed their constitutional rights .. at the schoolhouse gate” per Tinker. ; See S-57;

Tinker v. Des Moines Independent Community School District, 393 U.S. 503 (1969);
   18.​Per 42 USC 1981 Georgetown may not deviate from its standard on
       account of, because of, due to, race, and definitely not in the negative
18a.​ The 2023 US Supreme made clear, and explicit, that no institution may

subject one student of one race to a different, policy, process, or set of exclusions

than another of a different race. Per Students for Fair Admissions, Inc. v. President

& Fellows of Harvard Coll., No. 20-1199, 7 (U.S. Jun. 29, 2023) Georgetown’s

conduct which admits, explicitly, to both a. treating Black men as ‘inferior’ or ‘less

worthy’ (presuming derogatory stereotype to deprive making a contract, at all, when

required, let alone in the same manner as ‘white [admitted student] citizens’ ), or b.

Treating Whites, or non-Black men, as ‘superior’ or more worthy (ensuring Whites

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had opportunity to review, decline, counteroffer, or accept proposed Georgetown

contract offer, let alone not presuming derogatory stereotypes to deprive Whites their

rights to contract) is doubly offensive to the US Constitution because:
      “[Georgetown’s complaint & contract making] systems also fail to comply with the Equal Protection Clause's
      [co-existent with 42 USC 1981’s) twin commands that race may never be used as a "negative" and that it may not
      operate as a [derogatory] stereotype…. [Georgetown’s structures] are zero-sum, and a benefit provided to some [Whites
      as ‘superior’ or more worthy in a Higher Education environment designed to serve all people] but not to others
      necessarily advantages the former [Whites] at the expense of the latter [Blacks, particularly Black men].”)”
Per the US Supreme Court’s Heckler v. Mathews, 465 U.S. 728, 739 (1984)

Georgetown confers their own perceived- presumed inferiority (or “stigma”) of

admitted Black (male) students (as both 1. the contract offer process and 2. The

IDEAA complaint process should be the same for regardless of race) to create
      “Stigmatic injury—i.e., "stigmatizing members of the disfavored group as innately inferior and therefore as less
      worthy"—certainly may confer Article III standing in discrimination cases.”


18b.​ Mr. Austin is the Black person, admitted student, and offeree whose

economic, IP-publicity, property, & 42 USC 1981 rights to contract were violated by

Georgetown, private offeror, in the attached picture [image, likeness,etc.] and the

process which deprived Mr. Austin’s contract rights. Mr. Austin is a high

performing, accomplished, highly recruited, and high potential admitted

Georgetown student who has 1981 right to contract, and Title VI Equal Protection

rights just like everyone else, and fully expects to be treated on the same basis as

‘Whites’ or “White citizens”, but was not (dckt. 76). See attached Georgetown’s

initial written offer to attend, as well as its own promulgated mandatory policies,

and instructions demonstrates it knew better, but willfully, intentionally, intended

to deprive Mr. Austin’s mandated written media contract, and failed to correct once

Mr. Austin made formal complaints, and excluded Mr. Austin from essential campus

resources available to other non-Black, or White, admitted students of other races,

violating his Equal Protection rights (showing deliberate indifference; dckt. 80). See


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attached. Per the Supreme Court, and Georgetown itself, these are fundamental

and valuable rights which are being violated against Mr. Austin's interest, and

rights (dckt. 81). See attached.

18c.​ Mr. Austin learned to perceive discriminatory animus, and embody “Equal

Opportunity” non-discriminatory service attitude, through experience. There are

several ways to ascertain racial discriminatory animus. Some of the ways

applicable here include a. observation of different policies applied for different racial

groups b. Admissions by the racial abusers or discriminator that they in fact

discriminated with disparate treatment or application of inferior, or superior

policies, to certain groups because of, due to, or on account of race (i.e. admits to

treating Blacks as ‘inferior’ or ‘less worthy’, or Whites as ‘superior’ or more worthy)

c. Admissions of fact by the racial abusers or their use of Racial slurs or Derogatory

Racial stereotypes (both offensive to the Constitution) d. Admitted use of per se

illegal segregationist, racial caste like, tactics that block or refuse to serve (in

violation of 1981, and Equal Protection under Civil Rights Act 1964, Title VI, in an

education context) certain persons based on race, or derogatory racial stereotypes

and several other ways. Mr. Austin learned the value of treating everyone equally

well, non-discriminatory service from personal 4 year experience (in his first W-2,

stock awarding, job) with their use of ‘blind’ or ‘volunteer’ testers (like DOJ or HUD

uses for housing discrimination or ‘mystery’ or ‘secret’ shoppers that various retail

industries use to evaluate the quality of service including non-discriminatory

mandates); He also learned how to proactively respond to racist conduct once

perceived (dckt. 79). See attached.

18d.​ Per US Supreme Court’s General Building Contractors Assn., Inc. v.

                      28 ; Corporate Disclosures as of February 2025.

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Pennsylvania, and Comcast Corp. v. Nat’l Ass’n of African Am.-Owned Media, 140 S.

Ct. 1009, 1016 (2020), standards of demonstrated racial animus under sec. 1981,

Georgetown purposefully, and willfully, deprived Mr. Austin’s rights to contract and

engaged in a “blatant deprivation of civil rights such as where a private offeror [in

this case Georgetown] refuses to extend to [an African- American, in this case Mr.

Austin], because he is an [African-American], the same opportunity to enter into

contracts he extends to White offerees [in this case White admitted students].”

Georgetown violates 42 USC 1981 by a. literally depriving Mr. Austin’s rights to

contract before and after exploitation of his image or likeness for business purposes

in refusing to even offer a contract, as mandated (written authorization agreement)

in the same way similarly situated non-Black male admitted students are offered,

in violation of their own publicly stated filming policy, b. Subjecting Mr. Austin to

separate, facially discriminatory, unequal student contract policy conduct for Black

male admitted students to their detriment.

18e.​ Georgetown’s blatant violations of 1981 by failing to offer mandatory

contract, per Georgetown themselves, in the same way as for “Whites”

impermissibly used race to deprive Mr. Austin’s 42 USC 1981 rights because he is

Black. Further, Georgetown impermissibly used race to deprive Mr. Austin’s section

1981 contract rights making clear Georgetown employs one set of essential policies

for Black male admitted students, to their detriment, and another for non-Black

male, or White, admitted students to their unfair advantage; See S-107 ; Also,

Georgetown’s different 1981, privacy, publicity, media and complaint policies

for Black men, and facially discriminatory policies based on impermissible use of

race, or derogatory racial stereotypes, for Black male admitted students vs.similarly

                     29 ; Corporate Disclosures as of February 2025.

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situated non-Black male admitted students highlights this very straightforward,

and promising, section 1981 claim.See para. 8-81; 12-..15,56; S-108

18f.​   Georgetown’s violation of sec.1981 right “to make” contracts (written auth-

-orization agreement; required) is such a blatant violation that the more limited

1981 language would encapsulate this scenario as Georgetown’s conduct deprived

Mr. Austin’s contract rights even prior to 1991 Congressional expansive language

clarification expressed in Patterson v. McLean Cred.Union; See S-109 Georgetown

admits, publicly, that when an organization refuses to contract in facially

discriminatory manner, (i.e. obligated to contract) they violate 1981 even prior to

Congress’ more expansive language beyond just “make and enforce” terminology.

(i.e. when exploiting a student’s picture for business purposes as Georgetown did

without Mr. Austin’s written authorization); See S-110 Georgetown publicly admits,

that written authorization requires Mr. Austin’s prior a. notice of his picture being

taken, b. notice of purpose, c. notice of business use, d. presentation of written

contractual agreement to consent to business use, e. with General Counsel approval

of form f. signature consenting prior to use. George- -town admits it had none of the

above. Georgetown’s first acknowledgement of business use was after Georgetown’s

exploitation without consent (after lying to Mr. Austin).See S-111 No offer, no

acceptance, no consideration, nor signature (per required written authorization),

then no contract and thus Georgetown’s absolutely clear, and ‘blatant’ violation(s);

18g.​ Georgetown went out of its way to violate every related Georgetown publicly

listed policy-law (i.e. mandatory written authorization agreement) while exploiting

Mr. Austin’s image, for business purposes to intentionally-literally deprive Mr.

Austin’s 1981 right to contract because he is a Black man and admitted student,

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while providing unfair advantages with limited resources to similarly situated

non-Black male, or White, students. See para. 8-81; 20-25; See S-112; Georgetown

violates 1981, in one of the most “blatant deprivations of civil rights,” by refusing to

offer Mr. Austin a contract because he is a Black male student, on the same basis as

non-Black male, or White, similarly situated offerrees (while Georgetown admits-

exploiting Mr. Austin’s image for pecuniary gain without his knowledge, nor consent

as Georgetown themselves, and the law publicly mandates); See S-113 Because both

the law, and Georgetown's own explicitly stated policy requires notice to Mr. Austin,

disclosure to Mr. Austin of possible usage for mutual assent, offer or presentation of

contract (written authorization), and contract signature, prior to Georgetown’s

business usage of Mr. Austin’s likeness or photo they literally deprived his right to

contract (in the most ‘blatant’ or obvious way possible) by not doing the required

process, or steps (nor obtaining written consent-contract agreement). See Operative

Complaint (FAC;Dckt. 14) Further, because those steps are the steps a non-Black,

or White, similarly situated student would be offered, and Georgetown chose to

employ a separate and unequal process, or policy, for Mr. Austin to his detriment,

Georgetown discriminated against him. See Operative Complaint (FAC;Dckt. 14)

Moreover, because they continue to employ this facially discriminatory policy to

date, despite having numerous opportunities to self correct Georgetown made clear

their intent to discriminate, and ”but for” Mr. Austin’s race he would have been

offered a contract the same way non-Black, or White, similarly

situated offerees would be offered. See Operative Complaint (FAC;Dckt. 14)




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   19.​Georgetown’s 42 USC 1981 contract violations are 1. in prospective
       media publicity rights contract by not making offers to similarly
       situated would- be offeree, Mr. Austin, because he is Black & 2.
       disparate treatment in the existing consummated student contract.
19a.​ Georgetown violates 42 USC 1981 by treating Mr. Austin in an inferior

manner in violation of a. its consummated student contractual mandates, b. its own

privacy, IDEAA, and c. other policies, as compared to similarly situated non-Black

male students. The Originalist prohibition on Anti-Black intentional discrimination

in sec.1981, and 13th Amend.., is coextensive with Equal Protection per 2023

Supreme Court, and sheds light on Georgetown’s precise use of anti-Black

derogatory treatment based explicitly on race, or racial stereotypes to both a.

illegally give similarly situated non-Black male admitted students unfair advantage

in resolving their complaints throughout their educational process and b.

intentionally disadvantage Mr. Austin, a Black or African-American male admitted

student, preemptively depriving Mr. Austin of, opportunity, right to make and

enforce, etc., a contract; See S-115 Georgetown chose to exploit Mr. Austin’s image

and rights for commercial or business purpose without consideration of his

personhood, nor rights (including contract) under sec. 1981 because he is a Black

man (echoing the pattern of the enslavement period toward Black people). See

Operative Complaint (FAC;Dckt. 14); See S-116

19b.​ Georgetown’s written admitted choice, in 2019, to violate Mr. Austin’s rights

to contract, privacy, and publicity, in a racially intentionally discriminatory manner,

in violation of its mandatory written authorization agreement policy already

marked Mr. Austin with a badge of inferiority (with an ‘evil eye and unequal hand”

to his detriment despite having a state sanctioned obligation to teach, model, and be

good stewards of the law, not to illegal exploit students, on account of race, for

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commercial gain without their knowledge).; The badge of inferiority violating Mr.

Austin's right to contract is part of the “badges and incidents of slavery” with

Georgetown taking the role as attempted enslaver, or presumed enslaver, because

Black persons' contract, and other rights were routinely racially abused, or ignored

altogether during the enslave -ment period (to connote presumed “inferiority”) in

the same manner, and pattern Georgetown shows. See (FAC;Dckt. 14) See S-117

Georgetown’s discriminatory animus is not just shown in failing to ‘make’ a contract

when required to do so with written authorization agreement (before and after

already exploiting Mr. Austin’s image for commercial gain, or business purposes), but

in the discriminatory or disparate treatment after consummating the student

contract by depriving essential benefits of the agreement, and subjecting to

different, facially discriminatory policy as compared to similarly situated non-Black,

or White, students. See Operative Complaint (FAC;Dckt. 14); See S-118

19c.​   Georgetown’s conduct toward Mr. Austin violates multiple sections of the

broad definition of 42 USC 1981 with its disparate privacy, publicity, contract,

IDEAA (anti-discrimination), policies. See S-119 Georgetown’s deprivation of

rights to contract toward Mr. Austin, as a student, is highlighted in Georgetown’s

refusal to follow its own policies (in the full language of ‘make and enforce contracts'

including the making, performance, modification, and termination of contracts, and

the enjoyment of all benefits, privileges, terms, and conditions of the contractual

relationship.”) Thus, the Court note, and cite, as evidence of evidence the fact that

Defendant repeatedly failed, and fails, to follow its own privacy, media, contract,

publicity, IDEAA, etc. policies as direct evidence of discriminatory intent can be

inferred from an organization's failure to follow its own policy.; See S-120; See

                     33 ; Corporate Disclosures as of February 2025.

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Operative Complaint (FAC;Dckt. 14) One of the more obvious failures to follow

their own policy, showing discriminatory animus or intent, is Georgetown’s abject

failure to abide by any of their mandatory steps in IDEAA conflict resolution

policy (I-V). Georgetown admits, publicly, that a student, or “Any applicant for

employment or admission, current or former employee or student, or third party

(hereinafter referred to as “Complainant”)” can make a complaint via email or in

person, and is encouraged to do so; Further, Georgetown admits, publicly, that once

complaint is made via email, as Mr. Austin did, a set of mandatory steps must be

done by IDEAA to avoid violating its own policies or the law that informs and

undergirds IDEAA; S-121; See Operative Complaint (FAC;Dckt. 14)

19d.​ Georgetown admits, publicly, that facially discriminatory conduct, by

administrators, faculty or staff to the detriment of a student, particularly a Black

male student in this case, is especially concerning and according to their policy is of

the highest priority, yet they themselves discriminated by not even taking a first

step to acknowledge, let alone investigate and correct an administrators written

admission of serious, illegal, school policy, and legal violations, which harmed, and

continues to harm, an admitted Black male student showing discriminatory animus

towards him.; See Operative Complaint (FAC;Dckt. 14); S-122 Georgetown admits,

per Mitch Bailin’s, and Georgetown’s President’s Office, Vice President’s Office,

General Counsel’s Office, and other leadership’s lack of response nor answers,

despite over 100+ formal written complaints in front of over 300+ separate

witnesses (including other Georgetown leadership who could also chime in), that

they never provided this fraudulently omitted material information, never took

required corrective action, and never took even the first step in investigation (nor

                     34 ; Corporate Disclosures as of February 2025.

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apology along with other remedies). Further, Georgetown admits by virtue of its

conduct malice, in front of 300+ witnesses, as its failure to correct, nor provide the

materially omitted information, was willfully done to harm Mr. Austin with

foreknowledge, prior to its commercial use, of how important that information is in

regards to privacy, publicity, and contract rights (as well as policies requiring

disclosure of these material facts to Mr. Austin,having violated his rights). See

Operative Complaint (FAC;Dckt. 14); See S-123 Georgetown publicly admits that it

takes written authorization forms seriously for both medical and student privacy

protected information, and that should define an admitted Georgetown student’s

reasonable expectation of privacy. See Operative Complaint (FAC;Dckt. 14)

Georgetown demonstrates, and admits in writing and via conduct, that under no

circumstances should medical information or a photo be released or commercially

used (photo) without the student’s written authorization agreement (contract);

Georgetown advocates this position so strongly (despite California’s CMIA, or

HIPAA requiring only patient request) that they refused to release Mr. Austin’s own

medical records to himself without signed written authorization (but ironically

commercially used his photo without his a. knowledge, b. consent, nor c. written

authorization in violation of policy mandate, and the law ). See S-124

19e.​ The 1991 clarified expansive language of sec.1981 covers a. Georgetown’s

failure to make a contract per mandatory written authorization agreement-contract

b. Georgetown’s disparate treatment within contractual relationships depriving Mr.

Austin of the “performance, benefits, privileges, terms, and conditions” of the

admitted student “contractual relationship” to his detriment. See Operative

Complaint (FAC;Dckt. 14); S-125 Mr. Austin is a Black or African-American man

                     35 ; Corporate Disclosures as of February 2025.

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(protected category), whose economic contract IP (intellectual property; likeness;

publicity) rights were non-consensually commercially exploited by Georgetown.

Georgetown preemptively violated 1981 rights (created mandate for Georgetown to

attempt contract; denied contract rights). Mr. Austin repeatedly complained to get

facially discriminatory (“but for”; “because of”) violations corrected-investigated per

consummated student contract’s privacy, publicity, media, contract, and IDEAA

mandatory policies, but was denied over 100+ instances (repeated denials of

contract rights; inferior treatment); Constitutes a 1981 prima facie case, & more.

See S-126.

19f.​   Georgetown’s display of discriminatory animus toward Mr. Austin is

transparent enough to even pierce the veil of a public official’s qualified immunity

under the Ninth Circuit’s Yoshikawa v. Seguirant; Georgetown a. made the initial

technical and substantive violations (sec.1981) to Mr. Austin’s detriment b. admits

the violations in writing c. continued the discriminatory pattern of conduct by not

taking required non-prompted corrective measures to make right with Mr. Austin

(after taking something they did not own nor were entitled to) d. refused

appropriate investigative, or corrective action after Mr. Austin made over 100+

formal complaints and e. has no explanation, nor justification, (to date) for why they

behaved in that manner and felt entitled to take economic rights that did not belong

to them (outside of discriminatory animus). Georgetown’ discriminatory conduct

trumps Yoshikawa v. Seguirant as they first made the errors, and then continued

discriminating whereas in Yoshikawa defendant’s asserted reason was plaintiffs

technical violation which still didn’t justify their discriminatory application of law

or policy (Georgetown did the technical and substantive violations with the lower

                     36 ; Corporate Disclosures as of February 2025.

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threshold of liability for a private actor receiving federal funds, making an even

more obvious finding of discriminatory intent-animus). See S-127
   20.​Georgetown stole, converted, or took valuable property-economic
       rights that belong to Mr. Austin that they are not entitled to without
       his express written authorization agreement as with ‘Whites’ (which
       they did not obtain), and thus violated his sec. 1981 rights.
20a.​ Georgetown knows, and publicly admits, the rights they stole, converted, or

took without authorization do not belong to them, nor are they entitled to those

rights. See Operative Complaint (FAC;Dckt. 14); S-128 Georgetown admits, the

rights they stole.. took without authorization are valuable-important, even for

persons without an easily definable-referenced, pre-set commercial value. See

Operative Complaint (FAC;Dckt. 14); S-129 ; Georgetown admits, publicly, (in its

description of the required pre, and post, photo or filming required steps for outside

photographers), that it holds itself to the same standards for students, faculty and

staff; Georgetown also admits, publicly, that not only must the written authoriz-

-ation, as a contractual agreement, be signed by the student prior to use, but that

the form itself ‘must’ include certain information to be valid, and enforceable (and

even includes an example photographic/ videographic release form for students in

their continuing education programs; Georgetown’s neighbor George Washington

University publicly provides a comparative example for its own students ).; See

Operative Complaint (FAC;Dckt. 14); See S-130

20b.​ Georgetown also knows its students are hand selected, go through an elite

screening process, and very high potential, with at least two past US Presidents,

2nd highest feeder to US Legislature and world leaders in a variety of spheres; Of

course, privacy is extremely important in the USA's physical locale with the highest

concentration of espionage (D.C.) especially at a vulnerable, impressionable and

                     37 ; Corporate Disclosures as of February 2025.

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developing point in a person's life. See Operative Complaint (FAC;Dckt. 14) ; See

S-131 Georgetown took what wasn’t theirs, impermissibly used race, & disparately

treated a Black male admitted student; they openly intended to mark him with a

badge of inferiority ‘stigma’ echoing in Brown v. Board. See Operative Complaint

(FAC;Dckt. 14); S-131 Georgetown’s impermissible use of race, & derogatory racial

stereotypes, to mark Mr. Austin with a badge of inferiority through disparate

treatment has a long, ugly, history in Education (i.e. Brown v. Board) See Operative

Complaint (FAC;Dckt. 14); See S-132; Georgetown’s 1981 violations attempt to

mark Mr. Austin with a “badge of inferiority”(overt disparate treatment; stigma). See

Operative Complaint (FAC;Dckt. 14) ; See S-133 Georgetown went out of their way

(repeatedly breaking normal policy, protocol & process) to demonstrate they

internally ‘possessed’ no intention (despite outward proclamation, written policy, the

law and Constitution) on treating him equally to similarly situated non-Black male

students, but instead bent on promulgating facially discriminatory, separate and

unequal policies toward Mr. Austin in violation of Brown v. Board.; See Operative

Complaint (FAC;Dckt. 14) S-134

20c.​ Outside of being racist, and facially discriminatory, more generally,

Georgetown’s is even more insidious as its conduct mirrors that of an ‘enslaver’

attempting to reduce a Free Black man to the status of the enslaved by way of

imposing the “badges and incidents of enslavement” irregardless of his rights,

needs, concerns, questions, complaints or objections to Mr. Austin’s detriment. See

Operative Complaint (FAC;Dckt. 14) Because Georgetown knew, on the front end,

that these media-publicity, contract, and other, rights did not belong to them, nor

were they entitled to them, and according to their own publicly admitted explicit

                    38 ; Corporate Disclosures as of February 2025.

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written text-policy-promises are required to obtain written authorization from Mr.

Austin, their conduct toward Mr. Austin is extremely telling of their own racist

presumption(s). Resembling the mindset of an “enslaver,” Georgetown felt entitled

to just take without informing, asking, nor receiving permission or authorization in

any form whatsoever (let alone the mandatory written contract). ; See S-135

20d.​ Georgetown admits, publicly, that it has a history of depriving Black persons

rights, even in the most brutal expression of enslavement. For Georgetown it

appears old habits die hard, or not at all, slaveryarchive .georgetown.edu/
      (...Sale of Maryland Jesuit's enslaved community to Louisiana in 1838. These archival materials relate to the sale of
      272 [Black; enslaved] men, women, and children by Rev. Thomas Mulledy in 1838.).
See Operative Complaint dckt.14. See also 42 U.S.C. § 1981
      (“(a) Statement of equal rights - All persons within the jurisdiction of the United States shall have the same right in
      every State and Territory to make and enforce contracts, to sue, be parties, give evidence, and to the full and equal
      benefit of all laws and proceedings for the security of persons and property as is enjoyed by [W]hite citizens”...."make
      and enforce contracts" includes the making, performance, modification, and termination of contracts, and the
      enjoyment of all benefits, privileges, terms, and conditions of the contractual relationship…..(c) Protection against
      impairment….The rights protected by this section are protected against impairment by nongovernmental
      discrimination and impairment under color of State law…)
Georgetown publicly admits that it literally deprived Mr. Austin’s right to make a

contract because authorization agreements are typically mandatory contracts of

adhesion when Georgetown uses admitted students, or other persons, image for

business purposes. Their choice to purposefully violate their own mandate, and

preemptively deprive the making of that contract is both 1. Telling and 2. Violates

42 USC 1981 (as 1981 protects would-be contract makers in the contract making

process as well as those violated in the broad language of rights, enjoyment of

benefit, or enforcement process). See S-137 Georgetown publicly admits that

enslavement of Black people in this country, which Georgetown personally partook

in, was in part exploitation of Black people without even considering Black people’s

rights or needs, (and including rights of recognized personhood, citizenship, “to

make and enforce contracts, to sue, be parties, give evidence, and to the full and

equal benefit of all laws and proceedings for the security of persons and property as

                           39 ; Corporate Disclosures as of February 2025.

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is enjoyed by White citizens,” etc.) and ironically is a similar pattern to which

Georgetown behaved in exploiting Mr. Austin’s right to contract (i.e. written

authorization agreement in reference to his person, privacy, publicity, etc.); this is

why 1981 had to explicitly state Black men, and people, have the “same right to

contract as a White man” because racism, and discrimination built in assumptions

of inferiority & presumed it could take from Black people with- -out ‘consideration,’

or ‘mutual assent,’ but instead by force; See S-138
   21.​Georgetown not only deviated because Mr. Austin is a Black, or
       African American, male admitted student, but failed every express
       standard that they themselves go out of their way to require.
21a.​   When Defendant Georgetown made White, or Non-Black male, students

contract offers, they provided Whites: 1. - with respect to their persons, as human

beings, (and provided a heads-up, or forewarning, that Georgetown desired to take a

photo of them and use it for commercial, marketing, purposes), whereas they instead

disrespected Mr. Austin’s personhood, human-ness, and purposefully hid, omitted,

and defrauded out of economic contract rights, or even knowledge that his image,

and likeness, was being used for commercial-marketing purposes because he is

Black 2. - knowledge of what the photo was used for (and where it may be sent for

marketing purposes) for Whites, but hid knowledge, and fact photo was being used

at all (after already stealing rights from him) for Mr. Austin because he is Black 3. -

Pre-approval of use of the photo by the non-Black male, or White students whereas

they didn’t even think to ask Mr. Austin in disrespect of his overall person, and

rights to not give pre-approval because he is Black 4. - An opportunity to accept or

decline the offer itself for Whites, whereas they stole the opportunity to make his

own choice, decline or accept, after already stealing economic-IP-rights of publicity


                     40 ; Corporate Disclosures as of February 2025.

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from Mr. Austin because he is Black 5. - An opportunity to review the written

contract offer before making the decision 6. - An opportunity to agree to the terms of

the contract offer 7. - An opportunity to provide a counteroffer if terms were not

acceptable and 8. - An opportunity to have a meeting of the minds 9. - Enjoy

consideration and performance of the contract’s obligation as well as other benefits,

privileges, rights provided in a contractual relationship.

21b.​ Georgetown willfully chose to deprive Mr. Austin’s rights in this manner

because he is a Black male admitted student compared to similarly situated White,

or non-Black students. Per Georgetown, (i.e. FAC para.111.), written authorization

requires Mr. Austin’s prior a. notice of his picture being taken, b. notice of purpose,

c. notice of business use, d. presentation of written contractual agreement to

consent to business use, e. with General Counsel approval of form f. signature

consenting prior to use. Per Georgetown, written authorization requires a written

contract between the student and those utilizing the IP-Publicity Rights-Photo

(including Georgetown themselves) for photos taken prior to commercial use.

Georgetown admits it failed all of its duties in this regard, and violated Mr. Austin’s

right to contract explicitly, but never a. Apologizes b. Seeks to remedy or c. even

explains why they violated his rights. Georgetown’s first acknowledgement of

business use was after Georgetown’s exploitation without consent (after lying to Mr.

Austin in the first place denying that they stole some of his rights without asking,

or attempting to engage in making a contact).     Georgetown admits there was No

offer, acceptance, consideration, or signature (per required written authorization),

and thus no contract was made with Mr. Austin (because he is Black), in the same

way as similarly situated Whites, with Georgetown’s ‘blatant’ violations of Mr.

                     41 ; Corporate Disclosures as of February 2025.

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Austin’s rights under 42 USC 1981 per Comcast Corp. v. Nat’l Ass’n of African

Am.-Owned Media, 140 S. Ct. 1009, 1016 (2020)
    22.​Georgetown treated, and continues, to treat Mr. Austin in an inferior
        manner (disparate treatment) as compared to admitted Whites, or
        non-Blacks, because he is a Black male admitted student.
22a.​ Georgetown violates Mr. Austin’s 1981 rights because he is Black as

compared to Whites. Mr. Austin cites to world renown Thelton E. Henderson, for

the 1981 legal standard. Because legendary Judge Henderson has a particularly

unique insight to 1981’s operation, and personal understanding of how anti-Black

racial animus operates regardless of status or position in society (as he experienced

both subtle, and not so subtle forms of anti-Black discriminatory animus even after

his ascension and success) his analysis is particularly valuable under these facts.

Mr. Austin was blessed to be invited to Judge Henderson’s home, in Berkeley, as 1 of

2 keynote speakers to raise school funds for students in need (Mr. Austin had no

personal gain in the efforts, and was happy to share and help others): Judge

Henderson was impressed after my speech, and thereafter invited Mr. Austin back

to his home for a bit of Tea, Mentorship, and Wisdom. Legendary Judge Thelton

Henderson, who Mr. Austin had the pleasure of meeting personally after Mr. Austin

gave a keynote speech at his home in Berkeley, has extra credibility of analysis

(provided his depth of personal experience with racism as a Black man, despite his

accomplishments), his knowledge of how the Klu Klux Klan (and other proponents

of White Supremacy) operate. California Newsreel - SOUL OF JUSTICE:
THELTON HENDERSON'S AMERICAN JOURNEY
(“ He was on the scene as James Meredith braved venomous mobs to integrate Ol’ Miss, when Medgar Evers was assassinated
and when four little girls were killed in the Birmingham church bombing. In his role at the Justice Department, Henderson
embodied the tension described by Andrew Young as being an “arm of the law in a sometimes lawless society.”)

22b.​ As an interesting aside, presiding Judge Judge Breyer’s and Magistrate

Judge Ryu’s (who recused herself) colleague Judge Haywood Gilliam clerked for the

                              42 ; Corporate Disclosures as of February 2025.

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Legendary Judge Thelton Henderson, and represented the NAACP in the matter of

San Francisco NAACP v. San Francisco Unified School Dist., 59 F. Supp. 2d 1021,

1023 (N.D. Cal. 1999) presided over by Judge Orrick II, Judge Orrick III’s father

Gilliam Responses 9-17-14.pdf; Judge Gilliam’s responses to Senate Judiciary’s

Questions for the record “6…to faithfully and impartially apply the law in every

case, without regard to the type of matter or the identity of the parties … 7. …

treating every person who comes into the courtroom, whether they are litigants,

counsel, witnesses, jurors or court staff, with evenhandedness, respect, and courtesy.

The judge also must ensure that all parties in a case receive the opportunity to have

their arguments heard and fairly considered…The citizens of our country entrust

federal judges to dispense ‘equal’ justice under the law, and to decide cases by

applying controlling precedent to the facts of the cases before them, without regard to

any other considerations (including race)...” also reflects the principle, and creed, of

‘Equal Opportunity’ which is not only central to the doctrine of equality as embodied

42 USC 1981, but which defendant Georgetown fundamentally, & egregiously,

violated (producing Mr. Austin’s complaints) and violates in an ongoing manner.

www.judiciary.senate.gov/imo/media/doc/ Gilliam%20Responses %209-17-14.pdf

22c.​ As Legendary Judge Henderson explains in Walker v. Contra Costa County: a

“refusal to enter into … contract [on the same basis as Whites] is actionable under §

1981. In making this determination, a lower court should give a fair and natural

reading to the statutory phrase ` the same right[s] . . .[in “making, performance,

modification, and termination of contracts, and the enjoyment of all benefits,

privileges, terms, and conditions of the contractual relationship”], and should not

strain in an undue manner the language of § 1981…..” Walker v. Contra Costa

                     43 ; Corporate Disclosures as of February 2025.

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County, No. C03-3723 TEH, 4 (N.D. Cal. Sep. 6, 2005). Further down in Walker v.

Contra Costa County Judge Henderson expounds on the elements, and standards of

proof, to survive Summary Judgment for a 1981 claim (at later stages in the

litigation process):
        “E. Disparate Treatment Claims Arising Out of [Defendant’s refusal to make a contract] To survive summary
        judgment on a disparate treatment claim, a plaintiff must first state a prima facie case. McDonnell Douglas Corp. v.
        Green, 411 U.S. 792, 807 (1973). A plaintiff must show: (1) that he belongs to a protected group, (2) that he was
        qualified [to make the contract, if there are requirements], (3) that he suffered an adverse .. action [i.e. refusal to
        make a contract], and (4) the [opportunity to make contract] remained open or another [similarly situated person] was
        treated more favorably. Sischo-Nownejad v. Merced Community College Dist., 934 F.2d 1104, 1109-1110 (9th Cir.
        1991). Once the plaintiff establishes a prima facie case, the burden shifts to the defendant to articulate "a legitimate
        non-discriminatory reason" for the challenged action. Id. at 1109. If the [organization who discriminated] does so, the
        burden shifts back to the plaintiff to show that the articulated reason is pretextual. Id. At the summary judgment
        stage, the plaintiff need only present "minimal" proof that "does not even need to rise to the level of a preponderance of
        the evidence." Wallis v. J.R. Simplot Co., 26 F.3d 885, 889 (9th Cir. 1994). Defendants stipulate for the purposes of this
        motion that Plaintiff has the evidence to make a prima facie case with respect to [failure to make a contract].”
22d.​   Mr. Austin 1. Is an African American or Black man who is high achieving,

highly recruited, accomplished, high potential, and an admitted Georgetown

student (protected group[s]) 2. was & is qualified to make the contract (of sound

mind, admitted student, Georgetown took photo and sought to economically exploit

photo, and Georgetown already demonstrated it understood how to properly engage

in written contract when Mr. Austin deferred for a year to participate in Capital

Fellows, Senate Fellows Program [with a written contract similarly required] and

$400 consideration exchanged to solidify that contract) 3. Suffered adverse actions

(Georgetown stole, took, or defrauded out of IP-Rights of publicity-Privacy without

telling Mr. Austin, and when he confronted them on their violation still continued to

refuse to make a contract on the same basis as Whites because of Mr. Austin’s race

or derogatory racial stereotypes presuming “inferiority” or “less worthy” by complet-

ely disrespecting Mr. Austin’s Constitutional rights to contract) 4. Opportunity to

contract remains open, and Mr. Austin has continued to follow up on the issue.

Further, per the fourth or fifth element, Whites, or non-Black admitted students,

under this school policy (and Constitutional requirement) were treated


                             44 ; Corporate Disclosures as of February 2025.

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demonstrably better, and Mr. Austin was treated demonstrably in an inferior

manner (see para. 11-19; see attached; dckt. 75)

22e. In addition to violating Mr. Austin’s right to make media contract, as

mandated per Georgetown’s own policies, Georgetown simultaneously violated Mr.

Austin’s rights in existing contract per “performance, modification, … and the

enjoyment of all benefits, privileges, terms, and conditions of the contractual

relationship” as well as Equal Protection per Title VI of the Civil Rights Act of 1964.

Georgetown did so when it completely excluded Mr. Austin on the basis of race,

derogatory racial stereotypes, and sex, because Mr. Austin is a Black man and

illegally excluded from essential campus services-procedures for “Any applicant for

employment or admission, current or former employee or student, or third party”

that similarly situated Whites, or Non-Black males, are provided via a set of

mandatory steps (faculty handbook.georgetown.edu/ section4/a/) per

Georgetown written policy “Procedures for Processing Grievances” that must be

done in accord with Equal Protection under Civil Rights Act of 1964 (Title VI)

coexistent with 42 USC 1981.

22f.​   Per Judge Henderson’s analysis in Walker v. Contra Costa County, combined

with US Supreme Court’s General Building Contractors Assn., Inc. v. Pennsylvania,

and Comcast Corp. v. Nat’l Ass’n of African Am.-Owned Media, defendant

Georgetown’s conduct is “blatantly” racist whereas similarly situated White, or

non-Black, student offerees are made offers by Georgetown, respecting their person,

and rights (economic and otherwise) the “private offeror [who blatantly violates Civil

rights when it] refuses to extend to [an African- American, in this case Mr. Austin],

because he is an [African-American], the same opportunity to enter into contracts.”

                     45 ; Corporate Disclosures as of February 2025.

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Comcast Corp. v. Nat’l Ass’n of African Am.-Owned Media, 140 S. Ct. 1009, 1016

(2020): Georgetown is a private offeror Mr. Austin is a private offeree, admitted

student (who expects to be treated on the same basis as White, non-Black, admitted

students: anything else offends the Constitution, 1981, Equal Protection, 13th, 14th,

15th Amendments, and Civil Rights of 1964). The only requirements for making a

Georgetown media contract, as an admitted student, is to a. Be an admitted student

on campus, & b. Have an organization desire to use your image, or likeness, to

market or economically exploit their product-service for their benefit. Unbeknownst

to Mr. Austin, Georgetown went out of its way to take and use his image and

likeness while he was an admitted student on campus to market or economically

exploit their product-service for their benefit, and thus fulfills all requirements “to

make” a contract. However, despite meeting all requirements, and following up to

make a contract, get an explanation as to why they violated the law, and school

policy in the first place, Georgetown illegally refuses to make a contract with Mr.

Austin because of his race, or derogatory racial stereotypes (as Georgetown

explicitly admits to Mr. Austin in both word, and deed). Georgetown violated

existing contract, and simultaneously Mr. Austin’s Title VI Equal Protection rights

when it completely excluded Mr. Austin from essential campus IDEAA services-

procedures, illegally because Mr. Austin is a Black man.

   23.​Georgetown has internal IDEAA complaint structure whose express
       tasks is to acknowledge, respond to, and correct complaints from
       student, faculty, and even non-affiliated community members
23a.​   Georgetown admits, publicly, that a student, or “Any applicant for

employment or admission, current or former employee or student, or third party

(hereinafter referred to as “Complainant”)” can make a complaint via email or in


                     46 ; Corporate Disclosures as of February 2025.

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person, and is encouraged to do so. See S-28; facultyhandbook.georgetown.edu/

section4/a/ Georgetown admits, publicly, that once complaint is made via email, as

Mr. Austin did once Georgetown admitted it violated Mr. Austin’s rights to contract

under 1981, a set of mandatory steps must be done by IDEAA to avoid violating its

own Georgetown policies or the law that informs-undergirds IDEAA

facultyhandbook. georgetown.edu/section4/a/. Per US Supreme Court’s

General Building Contractors Assn., Inc. v. Pennsylvania, and Comcast Corp. v.

Nat’l Ass’n of African Am.-Owned Media, 140 S. Ct. 1009, 1016 (2020), standards of

demonstrated racial animus under sec. 1981, Georgetown purposefully, and

willfully, deprived Mr. Austin’s rights to contract and engaged in a “blatant

deprivation of civil rights such as where a private offeror [in this case Georgetown]

refuses to extend to [an African- American, in this case Mr. Austin], because he is an

[African-American], the same opportunity to enter into contracts he extends to White

offerees [in this case White admitted students].”

23b.​ Georgetown admits, publicly, that once complaint is made via email, as Mr.

Austin did, a set of mandatory steps must be done by IDEAA to avoid violating its

own policies or the law that informs and undergirds IDEAA; See S-29 Georgetown

admits, publicly, that discriminatory conduct by leadership, faculty or staff to

student’s detriment, particularly a Black male student, is especially concerning;

According to their policy is of the highest priority; See policymanual.hr.

georgetown.edu/1000-university-policies/ 1004- policy-statement-on-harassment/

Yet, Georgetown themselves discriminated by not even taking a first step to

acknowledge, nor investigate or correct an administrators written admission of

serious school policy, & legal violations to the immediate detriment of an admitted

                     47 ; Corporate Disclosures as of February 2025.

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Black male student, Mr. Austin, whereas they would have, and do, utilize their

standard very detailed operating procedure, and methodology, for Whites, or

non-Blacks, showing discriminatory animus towards him. ; See S-30

23c.​ Georgetown admits that they never provided this fraudulently omitted

material information (which itself is a violation of the law, school policy, and written

contract mandates) per Mitch Bailin’s, and Georgetown’s President’s Office, Vice

President’s Office, General Counsel’s Office, and other leadership’s, lack of response

nor answers, despite over 100+ formal written complaints in front of over 300+

separate witnesses (including other Georgetown leadership who could chime in, and

help solve the issue immediately). Further, Georgetown admits by virtue of its

conduct malice, in front of 300+ witnesses, as its failure to correct, nor provide the

materially omitted information, was willfully done to harm Mr. Austin with

foreknowledge, prior to its commercial use, of how important that information is in

regards to privacy, publicity, and contract rights (as well as its own policies

requiring disclosure of these material facts to Mr. Austin, especially after already

violating his rights). Georgetown admits, publicly, subjecting a Black male student

(Mr. Austin) to a different filming (for business purposes) policy than similarly

situated non-Black male admitted students, faculty, staff, (by purposefully not

following standard contract procedure as with Whites) is treating him in an inferior

manner & shows they intended to facially discriminate against him. See S-33

23d.​ Georgetown admits, publicly, subjecting a Black male student (Mr. Austin) to

a different IDEAA complainant policy than similarly situated non-Black male adm-

-itted students, faculty, staff, or even third parties, is treating him in an inferior

manner; Refusing to even acknowledge his complaint, nor investigate, escalate, or

                     48 ; Corporate Disclosures as of February 2025.

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correct, as guaranteed, shows intent to facially discriminate against him; See S-34

Georgetown admits, publicly, in subjecting a Black male student (Mr. Austin) to..a

different privacy policy than similarly situated non-Black male admitted students,

faculty, staff, and policy it publicly advocated for in GEORGETOWN COLLEGE v.

D.C. BRD., ZONING ADJ, when being ‘forced’ to disclose, not voluntarily or

willfully violate (as they did to Mr. Austin), is treating him in an inferior (facially

discriminatory) manner. See S-35; Georgetown publicly admits that it takes written

authorization forms very seriously for both medical and student privacy protected

information, and that should define an admitted Georgetown student’s reasonable

expectation of privacy.See S-36. Georgetown admits in writing and conduct, that

under no circumstances should medical information or a photo be released or

commercially used (photo) without the student’s written authorization agreement

(contract); Georgetown advocates this position so strongly (despite California’s

CMIA, or US Statute’s HIPAA all that’s required is oral, or written patient request)

that they refused to release Mr. Austin’s own medical records to himself without

signed written authorization (but ironically commercially used his photo without his

a. knowledge, b. consent, nor c. written authorization in violation of their mandatory

policy). See S-37

23e.​ To illustrate the irony, and misplaced priorities, when Mr. Austin has

repeatedly requested in writing, and orally (via phone), his Georgetown medical

records, as an admitted student, they have refused to provide his own required

information (per California’s CMIA, or US Statute’s HIPAA all that’s required is

oral or written request), and mandated multiple steps of unrequired verification to

get his own medical information. Yet, in opposition to the legal, contractual, and

                     49 ; Corporate Disclosures as of February 2025.

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policy standards Georgetown itself has enshrined, and argued in most prestigious

Court outside of the Supreme Court, Georgetown chose to just use of his close up

Photo for commercial advertising purposes, without any of the mandatory

prerequisites including the required written authorization from Mr. Austin (I.e.

signed form, written consent, notice, etc.). Georgetowwn completely ignored those

legal necessities and violated his privacy, and publicity, rights throughout CA forum

state (and subsequently his Equal Protection, Due Process, 42 USC 1981, duties

against deceit, negligence and bad faith, rights also). Georgetown completely

inverted their responsibility and refused to do what they are obligated to do or

provide. Georgetown went out of their way to exploit, and violate, Mr. Austin’s

privacy and publicity rights that they have an admitted, publicly proclaimed, and

publicly advocated, legal obligation to protect; S-37 Georgetown admits, through

its conduct in front of 300+ witnesses, that it a. intended to violate Mr. Austin’s right

to privacy, publicity, Equal Protection, and 1981 right to contract b. intended to

fraudulently omit material information, and mis-state its commitment to the law to

induce contract with Mr. Austin c. intended to do so maliciously, knowingly, and

egregiously, as they never apologized, investigated, nor corrected, even while

admitting their violations in writing and to date have never presented a written

authorization for Mr. Austin to sign as mandated in accord with Federal, State

laws. See S-38

   24.​Georgetown’s IDEAA complaint resolution standards, and process,
       for White, or non-Black, admitted studentsGeorgetown not only
       demonstrates, through conduct, that it deviates because Mr. Austin
       is a Black, or African American, male admitted student, but failed
       every express IDEAA complaint resolution standards, and process
       that they themselves go out of their way to require, advertise, and
       precisely define as the standard operation.

                     50 ; Corporate Disclosures as of February 2025.

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24a.​ In Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll.,

No. 20-1199, 7 (U.S. Jun. 29, 2023) it was alleged that student applicants of

different races were treated differently, derogatorily differently, because of race in

the application process. Similarly, Mr. Austin, after earning admission, was then

unknowingly exploited in violation of Georgetown school policy, Constitutional and

Federal law, treated derogatorily differently by Georgetown, based on derogatory

racial stereotypes, in the mandatory written contract making process for

commercial, or business use. Georgetown then treated Mr. Austin derogatorily

differently, repeatedly, based on derogatory racial stereotypes to exclude from the

very campus mechanism, and organization, designed to correct, and remedy these

types of violations without need for litigation, or outside legal action. Georgetown’s

conduct in essence enforced either racial oppression per 42 USC 1981, and 13th,

14th Amendment, or forced an admitted student to sue the institution they are

supposed to be learning from (an even more extreme exploitation of power, and

impermissible use of race).

24b.​ When Defendant Georgetown receives a complaint via email made by “Any

applicant for employment or admission, current or former employee or student, or

third party” similarly situated Whites, or Non-Black males, they provided Whites a

set of mandatory steps (facultyhandbook.georgetown.edu/ section4/a/) per George-

-town written policy “Procedures for Processing Grievances” that must be done

in accord with Equal Protection under Civil Rights Act of 1964 (Title VI) coexistent

with 42 USC 1981 including: 1. - IDEAA staff shall send acknowledgement of

complaint receipt for Whites, even if the acknowledgment is to say Georgetown’s

IDEAA needs more information to proceed through the Complaint process, whereas

                     51 ; Corporate Disclosures as of February 2025.

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they did not even acknowledge Mr. Austin’s complaints, AT ALL, because he is

Black 2. - IDEAA staff shall schedule intake meetings for Whites, or non-Black

males, but not only did not schedule an intake meeting for Mr. Austin, but failed to

even acknowledge the first step of complaint because Mr. Austin is Black

(demonstrating extreme animus as if Mr. Austin is not a person, and less than “Any

applicant for employment or admission, current or former employee or student, or

third party” or human being) 3. - IDEAA staff provides a general understanding of

the relevant policy and this grievance procedure as a normal part of intake for

Whites whereas they refuse to answer any questions about relevant policy or

procedure, and fail to provide any relevant information to Mr. Austin because he is

Black 4. - IDEAA staff provides, At the request of the Complainant, an opportunity

to proceed either with an Informal Resolution or an Investigation of the responded

for Whites, whereas they failed to provide Mr. Austin with either opportunity, and

failed at the very beginning to acknowledge his humanity (by refusing to even

acknowledge his complaint to begin the process) because he is Black.

24c.​ Further, per facultyhandbook.georgetown .edu/section4/a/ Whites are

provided: 5. - The opportunity at any time, even if informal resolution was initially

chosen, to request in writing to alternatively proceed to Investigation for Whites,

whereas this opportunity was deprived and not provided for Mr. Austin, as well as

all the previous steps in the process, because he is a Black Complainant 6. - The

opportunity to initiate a formal Complaint by providing a written signed statement

(via email) for Whites whereas they deprived this opportunity for Mr. Austin (and

all other steps because he is Black) 7. - The opportunity to provide any supporting

documentation, or evidence, to substantiate a formal Complaint (via email) for

                    52 ; Corporate Disclosures as of February 2025.

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Whites whereas they deprived this opportunity for Mr. Austin (and all other steps

because he is Black) 8. - The opportunity to receive a written response from the

Respondent in 20 days or less after filing complaint, if they have one, as to why they

conducted themselves in that manner, violating the law or policy, for Whites,

whereas they deprived that opportunity for Mr. Austin (and completely excluded

him from this Equal Protection required procedure, and policy) because he is Black

9. - The opportunity provide rebuttal to Respondent’s statement, if needed, within

10 days, after receiving Respondent’s response to the initial complaint for Whites,

whereas they deprived that opportunity for Mr. Austin (completely excludes him

from this Equal Protection required procedure, and policy) because he is Black.

24d.​ Moreover, per facultyhandbook.georgetown .edu/section4/a/ Whites are

provided : 10. - The opportunity, or right, to present additional evidence, identify

witnesses, and cross examine opposing witnesses in per the Complaint for Whites

whereas they deprived that opportunity for Mr. Austin (and completely excluded

him from this Equal Protection required procedure, and policy) because he is Black

11. - The opportunity, and right, to receive IDEAA’s investigation, interviewing of

witnesses, complainant and respondent(s), of complaint, within a prompt and

reasonable time frame, for Whites, whereas they deprived that opportunity for Mr.

Austin (and completely excluded him from this Equal Protection required

procedure, and policy) because he is Black 12. - The opportunity, and right, to have

complaint substance and evidence evaluated and ascertained by IDEAA’s experts

for violations (and remedies), where IDEAA shall maintain documentation to

support the findings in its report, including, as applicable, written findings of fact,

transcripts, and audio recordings whereas defendant Georgetown deprived that

                     53 ; Corporate Disclosures as of February 2025.

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opportunity for Mr. Austin (and completely excluded him from this Equal Protection

required procedure, and policy) because he is Black 13. - The opportunity, and right,

to receive written notice from IDEAA as to their findings within thirty days of the

conclusion of the investigation for Whites, whereas defendant Georgetown

deprived that opportunity for Mr. Austin (and completely excluded him from this

Equal Protection required procedure, and policy) because he is Black.

24e.​ Lastly, per facultyhandbook.georgetown .edu/section4/a/ Whites are

provided: 14. - The opportunity, and right, to receive written notice from IDEAA of

not only the findings of the investigation, but instructions on next steps whether

those are appeal (if more information is needed) or corrective action if the

Investigation found violations of law and policy in accord with the complaint for

Whites, whereas defendant Georgetown deprived that opportunity for Mr. Austin

(and completely excluded him from this Equal Protection required procedure, and

policy) because he is Black 15. - The opportunity, and right, for IDEAA to forward

its report findings to the Respondent’s Executive Vice President or Senior Vice

President, or his or her designee, or other University officials (or their superiors if

they are the violators) consistent with the above provisions addressing

confidentiality to direct that prompt remedial action be taken to correct the

situation for Whites , whereas defendant Georgetown deprived that opportunity for

Mr. Austin (and completely excluded him from this Equal Protection required

procedure, and policy) because he is Black 16. - The opportunity, and right, for

corrective actions to be imposed on Respondents, where IDEAA shall monitor their

implementation (and additional legal action outside of campus is still able to be

pursued especially when the limits of internal corrective measures do not remedy

                     54 ; Corporate Disclosures as of February 2025.

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the violations by Respondents), whereas defendant Georgetown deprived that

opportunity for Mr. Austin (and completely excluded him from this Equal Protection

required procedure, and policy) because he is Black.

24f.​   Mr. Austin had no complaints against him, he simply inquired, and

complained as to why Georgetown 1. Violated school policy 2. Violated his

Constitutional rights to contract and 3. Why he was illegally excluded from

essential campus procedures for “Any applicant for employment or admission,

current or former employee or student, or third party” that Georgetown provides for

similarly situated Whites, or Non-Black males (including providing Whites a set of

mandatory steps (faculty handbook.georgetown.edu/ section4/a/) per

Georgetown written policy “Procedures for Processing Grievances” that must be

done in accord with Equal Protection under Civil Rights Act of 1964 (Title VI)

coexistent with 42 USC 1981). Georgetown impermissibly used Mr. Austin’s race

(and perhaps gender, too) to his repeated detriment, as an admitted student, and

Black man to treat derogatorily differently, “deny, restrict, separate, segregate (in

application of policy),” and exclude Mr. Austin. See eCFR :: 34 CFR Part 100 --

Nondiscrimination Under Programs Receiving Federal Assistance Through the

Department of Education Effectuation of Title VI of the Civil Rights Act of 1964

Georgetown willfully violates its explicitly stated duties to “provide a mechanism for

… a prompt, fair, and impartial investigation and resolution of grievances” or ANY

first step to an investigation (let alone correction-resolution),at all per Georgetown’s

explicit standards.

24g.​ Georgetown’s discriminatory conduct is highlighted in its publicly stated

policy that every “faculty, staff, students, third parties and applicants for employ-

                      55 ; Corporate Disclosures as of February 2025.

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-ment and admission” are entitled to receive a “prompt, fair, and impartial

investigation and resolution of grievances of discrimination, harassment, and

related retaliation,” but intentionally excluded Mr. Austin, preemptively because he

is a Black man admitted student (who they already admitting exploiting in violation

of Georgetown’s policy, and the law). Georgetown’s discriminatory conduct is further

highlighted as “the University strongly encourages Complainants” (i.e., any

individuals alleged to have experienced unlawful discrimination, harassment,

and/or related retaliation) to report the incident & seek redress through IDEAA’s

Grievance Procedures, but excluded Mr. Austin who reported at least 100+ times

(after University admitted unequal treatment to Mr. Austin’s detriment violating his

1981,privacy, publicity rights and have not received even one follow up email to

begin process (let alone resolution). S-94 It is of note that Mr. Austin started off

very patiently, and just sought information, and clarification, before even

contemplating escalating to formal internal complaints. Mr. Austin would have

preferred to resolve informally, but Georgetown’s conduct, and abuse of power style

of communication literally forced Mr. Austin to sue to attempt any type of

resolution, solution or remedy as Georgetown failed every express duty that they

themselves say they owe admitted students.

24h.​ Georgetown’s express exclusion of Mr. Austin because he is a Black male

admitted student as compared to similarly situated non-Black male students from

essential IDEAA program or activity (with clear publicly outlined steps) designed to

investigate and correct violations of Georgetown policy is the essence of Equal

Protection violations (after Georgetown’s written admission of fundamental

Georgetown policy violating Mr. Austin’s rights in another essential Georgetown

                     56 ; Corporate Disclosures as of February 2025.

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controlled area program or activity; for business purposes); See S-95. Beyond

Georgetown’s exclusion, ‘deliberate indifference’ to that discrimination also

highlights their animus (as they internally already knew they violated Mr. Austin’s

1981 rights, discriminatorily, but continued to exclude from ‘program(s) to correct

Georgetown’s previous violations). See S-96        Calling a Black man a n*gg*r is

perhaps the most obvious racial slur, or derogatory stereotype (imbedded in the

definition of the word www.merriam -webster.com/dictionary/n*gg*r), but is clearly

not the only one, and the same message can be communicated verbally, or with

non-verbal Conduct. Treating someone as an “n-word” without actually saying the

word, especially via disparate treatment to exclude and to “mark with a badge of

inferiority,” while literally taking actions as if one is an ‘enslaver’ is just as illegal

and damaging to that person as Georgetown did here (presumed “unworthy of

consideration”), unapologetically, repeatedly, ongoingly violate their policies, & the

law. See S-97

24i.​   Georgetown’s Equal Protection violations were evident in Georgetown’s

repeated refusal to investigate, at all (after they admitted 1981, privacy, publicly,

and media policy violations in writing,) as Mr. Austin reported, inquired, & formally

complained (to the President's office, and other Georgetown leadership). Mr. Austin

sought to find out what was going on in the first place, and have subsequent

investigation and correction to the victim or survivor of the discrimin- -atory

conduct by the university (i.e. the one being wronged; Mr. George Jarvis Austin),

but Georgetown’s continued displaying discriminatory intent…in refusing to

investigate [discriminatory, illegal, violative] acts against a victim.”; See S-98 Mr.

Austin was completely excluded-blackballed, when it was Georgetown’s duty to

                      57 ; Corporate Disclosures as of February 2025.

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include per the Supreme Court, in comparison to similarly situated Whites creating

“stigma’ .. as outlined originally in Brown v. Board of Education I & II, and more

recently in Students for Fair Admissions, Inc. v. President & Fellows of Harvard

Coll., No. 20-1199, 7 (U.S. Jun. 29, 2023); Georgetown refused to take the first

mandated step-action, for an admitted Black male student, that they would take

even for a non student 3rd party complainant per their own policy (displaying even

more disparate treatment; discriminatory animus), let alone similarly situated

non-Black, or White, similarly situated students. See Operative Complaint

(FAC;Dckt. 14) ; See S-99 It is well established that facially discriminatory rule

application, as Georgetown is doing, even on facially neutral laws-policy offends the

Constitution. Any statute-policy which classifies people ‘may’ be irrational (or

facially discriminatory) as applied in particular cases. Unequal application of

law-policy, only to Mr. Austin’s detriment, disrespecting his personhood, or rights

because he is a Black man, student, & person equates to Equal Protection violations

(i.e. when simultaneous unfair benefits to similarly situated others while depriving

him); S-100; See Operative Complaint (FAC;Dckt. 14)

24j.​   Georgetown’s choices to create stigma with unequal treatment, attempt to

mark Mr. Austin with a badge of inferiority by repeatedly, over and over again

treating Mr. Austin in an inferior manner highlights Georgetown’s commitment to

violating Mr. Austin’s right to Equal Protection. See S-101 ; See Operative

Complaint (FAC;Dckt. 14) Mr. Austin provided Georgetown over 100+ opportunities

for self correction, with over 300+ witnesses; They refused to provide even a veneer

of following the law & violate Mr. Austin’s Equal Protection by exclusionary conduct

(I.e. IDEAA steps I-V). See para. 8-81; 28-29 (“Requirements for Filing

                     58 ; Corporate Disclosures as of February 2025.

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Grievances” ideaa@george town.edu; “Procedures for Processing Grievances” IDEAA

steps I-V beginning with intake - none which were complied with by Georgetown);

S-102 ; See Operative Complaint (FAC;Dckt. 14)

   25.​Per 42 USC 1981 Georgetown may not deviate from its standard on
       account of, because of, due to, race, and definitely not in the negative
25a.​ Georgetown deviates from its standard operating, or contract making

procedures, for Whites, or non-Blacks in the negative, and to the detriment of Mr.

Austin because he is Black. Georgetown’s initial violations of law and policy, to

deprive Mr. Austin’s rights, combined with subsequent discrete, repeated, overt,

and extreme deprivation along with Georgetown’s impermissible use of race, or

derogatory racial stereotype, made clear Georgetown intended to mark [Mr. Austin]

with a badge of inferiority. See Operative Complaint (FAC;Dckt. 14) To avoid the

stigma of disparate treatment (via separate and unequal treatment and application

of policies) as Brown v. Board articulates Georgetown’s application of law and school

policy toward him should not presume ‘inferiority’ for Black male admitted

students, as compared to similarly situated non-Black male, or White, admitted

students (but it was, and continues to be). See S-103 ; See Operative Complaint

(FAC;Dckt. 14)

25b.​ Georgetown chose to make clear their intent to facially discriminate based on

race, or derogatory racial stereotypes. See Operative Complaint (FAC;Dckt. 14).

Georgetown didn’t acknowledge Mr. Austin’s complaints (as mandated), let alone

take any required steps on his formal complaints (i.e. excluding him) as compared to

similarly situated non-Black male, or White, admitted students. See Operative

Complaint (FAC;Dckt. 14) : S-104 ; Georgetown’s impermissible use of race, or

derogatory racial stereo- -type(s) of Black males to convey assumptions of inferiority,

                    59 ; Corporate Disclosures as of February 2025.

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preemptively excludes a Black male admitted student from essential Georgetown

‘program(s)-activity’ based on express classification identified through Georgetown’s

conduct toward Mr. Austin (and violates Equal Protection as Georgetown engaged

in official adverse decision making by derogatory racial stereotypes). See Operative

Complaint (FAC;Dckt. 14) ; S-105 The combination of initial violations in total

disregard of Mr. Austin’s rights as a Black male admitted student, admitting

violations only after getting caught, refusal to apologize for violating 1981

rights-Georgetown’s (written authorization agreement policy), with anti-Black male

exclusionary policy-practices, demonstrate Georgetown’s repeated choices to “mark

with a badge of inferiority” because of Mr. Austin race, or derogatory racial

stereotypes. See Operative Complaint (FAC;Dckt. 14) If Mr. Austin had any doubt

before hand, Georgetown made clear after that they absolutely intended to

discriminate because of Mr. Austin’s race; See Operative

Complaint (FAC;Dckt. 14) ; S-106;
   26.​Per Equal Protection clause, Title VI of the Civil Rights Act of 1964,
       and standards as re-articulated in 2023 Supreme Court’s Students
       for Fair Admissions, Inc. v. President & Fellows of Harvard Coll.
       Georgetown must not deviate from their standard on account of,
       because of, due to, race, or derogatory racial stereotypes, and
       definitely not in the negative.
26a. ​ Georgetown violates Mr. Austin’s Equal Protection: Per the Supreme Court’s

1. Brown v. Board of Education, 347 U.S. 483, 494 (1954), 2. Students for Fair

Admissions, Inc. v. President & Fellows of Harvard Coll., No. 20-1199, 7 (U.S. Jun.

29, 2023) 3. Gebser v. Lago Vista Independent School District 4. Lawrence v. Texas

539 U.S. 558 (2003) Georgetown impermissibly used Mr. Austin’s race, or

derogatory anti-Black racist stereotypes. Georgetown simultaneously violated Mr.

Austin’s 1981 rights to contract, in existing contract, and Mr. Austin’s Title VI

                     60 ; Corporate Disclosures as of February 2025.

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Equal Protection rights when it completely excluded Mr. Austin from essential

campus IDEAA to treat an admitted student, and Black man, in a derogatory

manner to “deny, restrict, separate, segregate (in application of policy),” and exclude

Mr. Austin from services-procedures, illegally because Mr. Austin is a Black man.

Per Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., No.

20-1199, 7 (U.S. Jun. 29, 2023) Georgetown’s conduct is doubly offensive to the

Constitution of the United States because Georgetown admits, explicitly, to both a.

treating Black men as ‘inferior’ or ‘less worthy’ (presuming derogatory stereotype to

deprive making a contract), or b. Treating Whites, or non-Black men, as ‘superior’ or

more worthy (ensuring Whites had opportunity to review, decline, counteroffer, or

accept proposed Georgetown contract offer, let alone not presuming derogatory

stereotypes to deprive Whites their rights to contract):
“[Georgetown’s complaint & contract making] systems also fail to comply with the Equal Protection Clause's [co-existent with 42
USC 1981’s) twin commands that race may never be used as a "negative" and that it may not operate as a [derogatory]
stereotype…. [Georgetown’s structures] are zero-sum, and a benefit provided to some [Whites as ‘superior’ or more worthy in a
Higher Education environment designed to serve all people] but not to others necessarily advantages the former [Whites] at the
expense of the latter [Blacks, particularly Black men].”)”
     -​   Students for Fair Admis., Inc. v. President & Fellows of Harvard Coll., No. 20-1199, 7 (U.S. Jun. 29, 2023)

26b. ​ Per the US Supreme Court’s Heckler v. Mathews, 465 U.S. 728, 739 (1984)

Georgetown confers their own perceived- presumed inferiority (or “stigma”) of

admitted Black (male) students (as both 1. the contract offer process and 2. The

IDEAA complaint process should be the same for regardless of race) to create

         “Stigmatic injury—i.e., "stigmatizing members of the disfavored group as innately inferior and therefore as less
         worthy"—certainly may confer Article III standing in discrimination cases.”
Georgetown repeated deliberate indifference and failure to correct adds additional

context. Per Gebser v. Lago Vista Independent School District 524 U.S. 274, 290

(1998) Georgetown’s conduct provides for Equal Protection “damages remedy”:
         “[ when] an official who at a minimum has authority to address the alleged discrimination and to institute corrective
         measures on the recipient's behalf has actual knowledge of discrimination in the recipient's programs and fails
         adequately to respond…..the response must amount to deliberate indifference to discrimination. The administrative
         enforcement scheme presupposes that an official who is advised of a …. violation refuses to take action to bring the
         recipient into compliance. The premise, in other words, is an official decision by the recipient not to remedy the
         violation. That framework finds a rough parallel in the standard of deliberate indifference.” Per General Building


                              61 ; Corporate Disclosures as of February 2025.

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      Contractors Assn., Inc. v. Pennsylvania, 458 U.S. 375, 389-391 (1982) Georgetown’s violation of Mr. Austin’s right to
      contract coincides, and overlaps with their Equal Protection violations because “the prohibition against
      discrimination in § 1981 is co-extensive with the Equal Protection Clause”.
26c.​ Per the Ninth Circuit’s Brown v. Arizona, No. 20-15568 (9th Cir. Sep. 25,

2023) when a student is experiencing a violation of school policy and reports that

conduct to the appropriate University body, especially when the violation was by

someone or something under University control (as is Georgetown’s IDEAA campus

resource), then it's a violation of Equal Protection to deny that student

investigatory, or enforcement, services as a victim, or survivor, of the violation

whereas the Plaintiff in Brown v. Arizona:
      “presented sufficient evidence to allow a reasonable factfinder to conclude that a responsible university official
      exercised sufficient control over the “context” in which [University policy and the law was violated] to support
      liability…. Davis ex rel. LaShonda D. v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 645 (1999). We further hold …
      presented sufficient evidence to allow a reasonable factfinder to conclude that the University had “actual knowledge”
      of facts that required an appropriate response, and that a university official’s failure to escalate reports of [University
      policy and the law violative] actions was a “clearly unreasonable” response demonstrating the University’s “deliberate
      indifference.” Id. at 642–43, 648–49;..Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 290 (1998).

Georgetown treats Mr. Austin in an inferior manner with “impermissible use of

race” or derogatory racial stereotypes in at least three separate essential policy

processes, with one process for Black male admitted students whereas to their

detriment whereas no Georgetown duties/policies/laws publicly stated are followed,

and another for non-Black male admitted students who benefit from unjust

advantage provided by Georgetown’s one-sided system: 1. privacy policy process 2.

contract formation process specifically with photo (I.e. written consent required), 3.

Contract enforcement (etc. right privileges etc.) of contract already entered into

with consideration provided (I.e. Ashley Jennings email); See S-66

26d.​ Georgetown understood, and understands, clearly (while it was doing so) that

it is illegal to take-exploit an up close photo without prior written authorization

agreement, and consent, of an admitted student, under current law, and is in

violation of the very precise policies, promises, Georgetown themselves advertises

See S-75 ​      Georgetown made this argument in Federal Court (in D.C. Circuit;

                           62 ; Corporate Disclosures as of February 2025.

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status and prestige among American federal courts generally considered second only

to the U.S. Supreme Court): See S-76; Use of Mr. Austin’s close up photo to

publicize, market, for pecuniary gain heightens illegality-liability (privacy; publicity,

1981 rights). Yet, Georgetown did so willfully (despite their own Federal Court

arguments against being forced to disclose); They admit violation(s), but still

proceed, to date, in a pattern of 1. Equal Protection, 2. 1981 3. Deceit 4. Negligence

and 5. Bad Faith to Mr. Austin’s detriment (without repentance, nor correction to

Mr. Austin’s ongoing legal injuries proximately caused by Georgetown)
   27.​Georgetown treated, and continues, to treat Mr. Austin in an inferior
       manner (disparate treatment) as compared to admitted Whites, or
       non-Blacks, because he is a Black male admitted student violating
       Equal Protection, and Title VI of the Civil Rights Act of 1964.
27a.​ This case is not about admissions, although Mr. Austin, as a Black man, and

person, is aware (as is the Country) of the 2023 rulings with Harvard, and UNC

(California, previously, had a similar change in 1996, with the passage of

Proposition 209). Although the 237 page opinion Students for Fair Admissions, Inc.

v. President & Fellows of Harvard Coll. argues heavily in favor (both majority and

dissent) for Georgetown’s legal liability to Mr. Austin; Liability emerges outside of

the admissions context as Georgetown has impermissibly used race, or derogatory

racial stereotypes, repeatedly against Mr. Austin to his detriment to exclude and

deprive him. Instead, this case is about respecting the human being, admitted

student, and their respective Equal protection, and 42 USC 1981, rights along with

their rights not be negligently-maliciously failed duties owed.. nor deceived or

defrauded (i.e. fundamental privacy, and publicity rights; which are very similar to

trademarks foundational concepts as applied to human beings). Georgetown decided

to repeatedly, and ongoing treat him as an inferior, because he is a Black male,

                     63 ; Corporate Disclosures as of February 2025.

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regardless of him being an admitted student, once Mr. Austin entered in contract

with Georgetown (see affidavits embedded above including precise moment when

consideration was given and offer accepted). Georgetown keeps attempting to mark

him with a badge of inferiority (repeatedly and ongoing) to completely disregard and

disrespect his personhood and fundamental rights. Georgetown, and the US Dept.

of Ed. admits, and knows, Georgetown is covered by Title VI, Equal Protection, as a

recipient of Federal funds. See S-7

27b.​ Georgetown admits, as Courts have repeatedly held, that an organization's

failure to follow its own policies can support a discriminatory pretext, as George-

-town knowingly, willfully, and maliciously did, without apology, investigation,

correction, nor disclosed material information to cause ongoing harm. Georgetown

admits its own impermissible use of race, or derogatory racial stereotypes to harm,

Mr. Austin a Black male admitted student, through their words, and conduct, as the

June 29, 2023, 237 page Supreme Court opinion in Students for Fair Admissions,

Inc. v. President & Fellows of Harvard Coll. repeatedly highlights as illegal (in

violation of students.. Equal Protection); Georgetown repeatedly chooses to presume

an admitted Black male student, Black men, and Black people as “inferior,” and

“unworthy of consideration” habitually refusing basic, required publicly admitted

steps for essential policy, practices, programs/activities that non-Black male

admitted students are granted providing unfair advantage to them, and stigma,

over 100+ discrete adverse acts creating immediate, and ongoing, detriment to Mr.

Austin (as none of publicly listed IDEAA steps I-V were even attempted, nor were..

complaints acknowledged conveying, reinforcing, derogatory racist stereotypes,

presumptive inferiority); Dckt S-40;

                    64 ; Corporate Disclosures as of February 2025.

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27c.​ Georgetown admits impermissible use of race or racial stereotypes, through

explicit conduct over 100+ times, and explicit classification (conditions participation

in student activities/programs) on race, while excluding a Black male admitted

student, or students, from programs, etc in an organization receiving federal funds.

Georgetown admits decision making by derogatory racial stereotypes is absolutely

prohibited especially when used to exclude an admitted Black student from

essential programs and activities receiving federal funds to operate. Georgetown

admits, publicly, that it has a history of specifically depriving Black persons rights,

even in the most brutal expression of enslavement. S-43 Georgetown publicly

admits that it literally deprived Mr. Austin’s right to make a contract; Because

Georgetown authorization agreements are mandatory contracts of adhesion when

Georgetown uses an admitted students’, or other person’s, image for business

purposes per their own policy (and the law), their choice to purposefully violate

their own mandate, and preemptively deprive the making of that contract violates

42 USC 1981 by refusing to offer a Black man, admitted student, the same contract

it is a. legally mandated to do for all students and b. it would offer a White, or

non-Black male, offeree (as 1981 protects would-be contract makers in the contract

making process as well as those violated in the broad language of rights, enjoyment

of benefit, or enforcement process); See S-44

27d.​ Georgetown admits, publicly, excluding Mr. Austin because he is a Black

male admitted student from essential Georgetown activities/programs violates the

essence, Originalist purpose, and Legislative intent of Title VI ; See S-45

Georgetown admits, with over 300+ witnesses, it had actual notice of policy

violative, discriminatory, conduct, refused to take action, and failed to correct; on-

                     65 ; Corporate Disclosures as of February 2025.

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-going violations (i.e. extreme deliberate indifference.);See S-46 Mr. Austin

documented all of Georgetown’s previous admissions with over 300+ witnesses,

providing direct evidence: See S-47 As soon as a Georgetown Leadership admitted

in writing to using my photo to market the school without asking permission,

notifying, nor getting written consent, Mr. Austin immediately began a series of

questions, formal complaints, to figure out why they chose to “impermissibly use

race” (and perhaps gender) to treat, a Black man, and admitted student with less

respect, less rights, and in an inferior manner than other similarly situated

admitted White, or non-Black, students with use of material misrepresentations,

omissions and deceit (with malice) to deprive (in direct violation of their explicitly

stated contract, and policy terms). See S-58

27e.​ Over four years later, Mr. Austin made over 100+ formal complaints of

intentional discrimination per Georgetown’s exhibited inferior treatment (combined

with other enumerated causes of action) to IDEAA (the investigative, and

enforcement body tasked with correcting these issues for admitted students, staff,

and members of the public: third parties), since Georgetown’s initial admission of

violative use of my image. Georgetown has not yet taken even a mandatory

perfunctory, or performative, first step towards any investigation, let alone any

substantive investigation, correction or enforcement, whatsoever (despite the fact

that is precisely what Georgetown’s agreement-contract mandates once complaint is

made by students, staff, or third party community members). See S-59. After

admissions of their violated policy, Georgetown Leadership showed repeated

deliberate indifference, and malice, over 100+ times, when they failed to correct

their displayed discriminatory animus, as well as their material omissions,

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misstatements and ongoing pattern of fraud to deprive Mr. Austin of rights,

opportunity, and spent Capital. Despite their admitted duties to correct, George-

town over 100+ times in over 4 years displayed disparate treatment compared to

similarly situated non-Black male admitted students by employing one IDEAA

policy for Black male admitted students to their immediate detriment, and one for

non-Black male admitted students to non-Black male unfair advantage. The first

publicly defined mandatory step for Georgetown’s IDEAA policy (regardless of

perceived merit, race or gender) is defined as acknowledgement and receipt (as

applied for non-Black male admitted students).

27f.​   However, in practice, Georgetown’s conduct admits they not only continually

refuse the first step, but all of the following mandated steps, with regard to Black

male admitted students, and subject Black male Complainants to an inherently

inferior IDEAA policy to their detriment, as applied. Georgetown’s different privacy,

and complaint. policy for Black men, and in this case facially discriminatory privacy,

and complaint, policy based on impermissible use of race, or derogatory racial

stereotypes, for Black male admitted students vs. similarly situated non-Black male

admitted students highlights this very straightforward, and promising, section 1981

claim. See S-61 Georgetown knows and admits use of derogatory stereotypes

constitutes discrimination and is an impermissible use of race; See S-62 ;

Georgetown admits, that use of derogatory racial stereotyping evidenced by words,

or conduct (including exclusion or disparate treatment) is illegal, and against its

own policy; Yet, Georgetown admits, and evidences this illegal conduct to “mark

with a badge of inferiority” intentionally, and deliberately; See S-63 Any of the

Leadership of Georgetown could have, and according to their policy should have

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spoken up, or themselves investigated; Ongoing disparate treatment of Mr. Austin

was documented on display, in front of them, but they instead chose deliberate

indifference furthering their discriminatory animus, conduct, and malice;

Georgetown’s IDEAA policy is designed to mandate Georgetown stakeholders

(especially Administrative Leadership) to “Lift Every Voice” against anti-Black

discriminatory conduct as James Weldon Johnson (from Duval County, Jacksonville

Florida), the first self identified Black man (Negro) barred attorney in the State of

Florida after the Civil War, & Reconstruction, brilliantly wrote; See S-65 ;

Georgetown impermissibly used race, or racial stereotypes to a. exclude (from

essential Georgetown controlled programs or activities), b. create stigma, and c.

stamp or mark with a badge of inferiority in as a recipient of federal funds despite

over 100+ opportunities for it to self correct after

Georgetown’s own admission(s) of guilt or liability.

   28.​Mr. Austin’s other claims are substantive.
28.​   Mr. Austin’s other claims (beyond 1. 1981 and 2. Equal Protection), prior to

any discovery, or disclosure, include: 3. - Georgetown fraudulently induced contract

formation with Mr. Austin as a student through actual fraud, misstatements on its

commitment to follow the law, misstatements regarding its contract, misstatements

regarding its own policies, and continues its deceitful pattern in its ongoing pattern

of still omitting material information after admitting its violations of its own policy,

contract, and the law. 4. - Georgetown breached its duties of care toward an

admitted Black male student and is negligent in a. monitoring its leadership’s

illegal, Equal Protection, policy-contract violating conduct and b. Managing,

correcting, or controlling their illegal, Equal Protection, policy and contract

                      68 ; Corporate Disclosures as of February 2025.

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violating conduct 5. - Georgetown exhibits extreme bad faith to Mr. Austin’s

detriment with unconstitutional, malicious, intentional, willfully harmful conduct it

could have easily avoided, and by its own policies were mandated to do the exact

opposite of what Georgetown in fact did.

      “The Court agrees that Riveredge's action was not "frivolous" as that term has been defined under Rule 11. See
      Napier v. Thirty or More Unidentified Federal Agents, 855 F.2d 1080, 1090-91 (3d Cir. 1988) (to be frivolous there
      must be no legal basis for suit, and no argument "advocating a good faith extension or modification of current law");
      Mareno v. Rowe, 910 F.2d 1043, 1047 (2d Cir. 1990) ("to constitute a frivolous legal position for purposes of Rule 11
      sanction, it must be clear under existing precedents that there is no chance of success and no reasonable argument
      to extend, modify or reverse the law as it stands")
           -​   Riveredge Assoc. v. Metro. Life Ins. Co. 774 F. Supp. 897 (D.N.J. 1991)

      “We reversed the sanctions, stating that "[w]e believe a plausible, good faith argument can be made … to the
      contrary." Id. at 833; see also Davis v. Veslan Enterprises, 765 F.2d 494, 498 (5th Cir. 1985) ("the district court's
      determination to impose sanctions may depend on `whether the pleading, motion, or other paper was based on a
      plausible view of the law.'") (quoting comment to 1983 amendments”
           -​   Golden Eagle Distributing Corp. v. Burroughs 801 F.2d 1531 (9th Cir. 1986) Cited 304 times

Mr. Austin’s cases are neither meritless, nor groundless, and in fact are rooted in

well settled, longstanding, Supreme Court, Ninth Circuit, and California Supreme

Court Jurisprudence (and standards for factual pleading). Mr. Austin’s case against

Georgetown is the opposite of frivolity, and is literally anchored and built on the

essential substantive points from well settled Supreme Court jurisprudence

working backwards from 2023. If one believes in the rule of law, applies precedent

to these plead facts, and direct evidence, there is not only no way for frivolity to

enter the conversation, but Mr. Austin wins the entire case.

   29.​Mr. Austin’s claims from 7.15.21-now are not barred by Res Judicata
29a.​ It is well settled law per the Supreme Court that ongoing conduct, which

cannot be foreseen (as Georgetown is engaged in), is not barred by Res Judicata.

Mr. Austin documents that his legal injuries as plead in the complaint are a. new

causes of action, b. impossible to foresee, and c. never before plead, or experienced,

nor litigated, (with additional parties, harms beginning after disposition of a

separate, unrelated, case which is now closed, and was disposed of). Per the


                           69 ; Corporate Disclosures as of February 2025.

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Supreme Court’s Lawlorv. Nat'l Screen Serv, The Ninth Circuit’s Eichman v.

Fotomat Corp., & Clark v. Yosemite Community College Dist., Res Judicata is

inapplicable to ongoing Defendant Georgetown conduct as previous case “cannot be

given the effect of extinguishing claims which did not even then exist and which

could not possibly have been sued upon…” … “The doctrine of res judicata extends

only to the facts and conditions as they existed at the time the judgment was

rendered…. “When other facts or conditions intervene, forming a new basis for a

claim, the issues are no longer the same and res judicata does not apply...” See e.g.

Lawlor v. Nat'l Screen Serv., 349 U.S. 322, 328 (1955) ; ;Eichman v. Fotomat Corp.,

759 F.2d 1434, 1438-39 (9th Cir. 1985) Clark v. Yosemite Community College Dist,

785 F.2d 781, 789 (9th Cir. 1986)
      (“While the 1943 judgment precludes recovery on claims arising prior to its entry, it cannot be given the effect of
      extinguishing claims which did not even then exist and which could not possibly have been sued upon in the
      previous case. In the interim, moreover, there was a substantial change in the scope of the defendants' alleged
      monopoly; five other producers had granted exclusive licenses to National Screen, with the result that the
      defendants' control over the market for standard accessories had increased to nearly 100%. Under these
      circumstances, whether the defendants' conduct be regarded as a series of individual torts or as one continuing tort,
      the 1943 judgment does not constitute a bar to the instant suit.”)
;Eichman v. Fotomat Corp., 759 F.2d 1434, 1438-39 (9th Cir. 1985)

29b.​ In fact, the Ninth Circuit’s Eichman v. Fotomat Corp. makes clear citing the

Supreme Court’s Lawlor v. National Screen Service Corp., that a previous action

does not bar future actions for conduct that had not yet happened at the time of the

previous action. As applied to Eichman the Court ruled “The judgment in

Eichman I does not immunize Fotomat from liability for all future conduct….

[applying the rule] .. a prior judgment " `cannot be given the effect of extinguishing

claims which did not even then exist and which could not possibly have been sued

upon in the previous case…. [and thus] … the judgment cannot bar suit brought on

post-September 7, 1977 conduct..” Eichman v. Fotomat Corp., 759 F.2d 1434,

1438-39 (9th Cir. 1985)

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       (“The judgment in Eichman I does not immunize Fotomat from liability for all future conduct. Eichman II, 147
       Cal.App.3d at 1177, 197 Cal.Rptr. at 616. See also Lawlor v. National Screen Service Corp., 349 U.S. 322, 329, 75
       S.Ct. 865, 869, 99 L.Ed. 1122 (1955). California courts follow the approach taken by the Supreme Court in Lawlor v.
       National Screen Service Corp., 349 U.S. 322, 75 S.Ct. 865, 99 L.Ed. 1122 (1955), that a prior judgment " `cannot be
       given the effect of extinguishing claims which did not even then exist and which could not possibly have been sued
       upon in the previous case.' " Eichman II, 147 Cal.App.3d at 1177, 197 Cal.Rptr. at 615 (quoting Lawlor, 349 U.S. at
       328, 75 S.Ct. at 868). Thus, because Eichman I was settled on September 7, 1977 and judgment was entered as of
       that date, the causes of action disposed of in Eichman I were for pre-September 7, 1977 conduct and the judgment
       cannot bar suit brought on post-September 7, 1977 conduct. See Los Angeles Branch NAACP v. Los Angeles Unified
       School District, 750 F.2d 731-39 (9th Cir. 1985).... Eichman I, therefore, does not preclude the pendent state claims
       in Eichman III insofar as the latter alleges wrongful conduct occurring after the settlement date of the former.”)

29c.​ The Ninth Circuit’s Clark v. Yosemite Community College Dist further

clarifies that “The doctrine of res judicata extends only to the facts and conditions as

they existed at the time the judgment was rendered…. “When other facts or

conditions intervene, forming a new basis for a claim, the issues are no longer the

same and res judicata does not apply...” Clark v. Yosemite Community

College Dist, 785 F.2d 781, 789 (9th Cir. 1986)
       (“The doctrine of res judicata extends only to the facts and conditions as they existed at the time the judgment was
       rendered, and to the legal rights and relations of the parties as fixed by the facts determined in the judgment. Colvig
       v. RKO General, Inc., 232 Cal.App.2d 56, 42 Cal.Rptr. 473, 485 (1965). When other facts or conditions intervene,
       forming a new basis for a claim, the issues are no longer the same and res judicata does not apply….”)

Per United States v. Felix “Conspiracy is a distinct offense from the completed object

of the conspiracy"); cf. id., at 793 ("[I]t does not violate the Double Jeopardy Clause . .

. to prosecute [a continuing criminal enterprise] offense after a prior conviction for

one of the predicate offenses.” This exception to Res Judicata, in the civil context, is

analogous to Double Jeopardy exceptions in criminal law context whereas the

Double Jeopardy Clause, which protects against being punished twice for the same

offense, does not apply when a defendant commits multiple "discrete [adverse

ongoing] acts" that violate the same statute (i.e. continuing conduct). Per the

Supreme Court’s United States v. Felix this is true even if they are part of the same

criminal episode, as long as these acts are sufficiently separated by time or space,

making them distinct from each other, or if intervening conduct occurs like

conspiracy, versus individual actors…).See e.g. United States v. Felix, 503 U.S. 378,

390 (1992):

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      (“In language applicable here, we pointedly stated that "the same overt acts charged in a conspiracy count may also
      be charged and proved as substantive offenses, for the agreement to do the act is distinct from the act itself." Ibid.;
      see also Pinkerton v. United States, 328 U.S. 640, 643 (1946) ("[T]he commission of the substantive offense and a
      conspiracy to commit it are separate and distinct offenses, . . . [a]nd the plea of double jeopardy is no defense to a
      conviction for both offenses"). We have continued to recognize this principle over the years. See Iannelli v. United
      States, 420 U.S. 770, 777-779 (1975); Garrett v. United States, 471 U.S. 773, 778 (1985) ("[C]onspiracy is a distinct
      offense from the completed object of the conspiracy"); cf. id., at 793 ("[I]t does not violate the Double Jeopardy Clause
      . . . to prosecute [a continuing criminal enterprise] offense after a prior conviction for one of the predicate
      offenses").”)


   30.​Mr. Austin’s cases are not repetitive refilings, but reflect
       independent Article III, Supreme Court recognized, well settled,
       discrete, new, legal harms
30a.​ Mr. Austin did not replead the previously plead harms from 2019-2020 (i.e.

Civ. Code 3344, privacy), nor did he refile the same exact case which causes of

action terminated with the 7.14.21 judgment-disposition per lack of diversity

jurisdiction. Instead, Mr. Austin filed a new case, with new Defendant harms of

ongoing discriminatory conduct never before plead, nor experienced, by Georgetown

University to an admitted Black male student after 7.15.21 to the present. Neither

Civil Code 3344, nor privacy, nor Diversity Jurisdiction are part of this action

(outside of context setting up for the current, and ongoing, causes of action after

disposition of the previous case). Mr. Austin has never been disciplined or in any

trouble with any institution of higher education, ever, has straight A’s the last nine

semesters, is a good student, good person, and good citizen (attentive, conscientious

and straightforward). See Dckt. 14; FAC

30b.​ Mr. Austin is the person whose economic, property, and 42 USC 1981 rights

to contract were violated in the following picture (page 4), and the process which

deprived Mr. Austin’s contract rights. Per US Supreme Court’s General Building

Contractors Assn., Inc. v. Pennsylvania, and Comcast Corp. v. Nat’l Ass’n of African

Am.-Owned Media, standards of demonstrated racial animus under sec. 1981,

Georgetown purposefully, and willfully, deprived Mr. Austin’s rights to contract and



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engaged in a “blatant deprivation of civil rights” :
       “such as where a private offeror [in this case Georgetown] refuses to extend to [an African- American, in this case Mr.
       Austin], because he is an [African-American], the same opportunity to enter into contracts he extends to White offerees
       [in this case non-Black, or White admitted students].”



Mr. Austin’s complaint is in Good Faith, with Substantive Issues, Facts, Direct

evidence per the 2023 Supreme Court.

       “But when a plaintiff has voluntarily dismissed a complaint pursuant to Rule 41(a)(1), a collateral proceeding to
       examine whether the complaint is well grounded will stretch out the matter long beyond the time in which either
       the plaintiff or the defendant would otherwise want to litigate the merits of the claim.

       An interpretation that can only have the unfortunate consequences of encouraging the filing of sanction motions and
       discouraging voluntary dismissals cannot be a sensible interpretation of Rules that are designed "to secure the just,
       speedy, and inexpensive determination of every action." Fed. Rule Civ. Proc. 1”
                       -​  Cooter Gell v. Hartmarx Corp. 496 U.S. 384 (1990) Cited 4,115 times
                                                            -​
Georgetown’s facially discriminatory ongoing conduct from 7.15.21 to present

(Which has not had opportunity to be heard), is not vexatious per Supreme Court’s

Cooter Gell v. Hartmarx Corp. 496 U.S. 384 (1990) or any other controlling law

(Alternatively, it is the right thing to do).


   31.​Mr. Austin’s declined consent to Magistrate Ryu.

31.​   Some of the early issues, once this case was filed, began when Mr. Austin said

‘no’ and did not provide consent to Magistrate Ryu. He did intend to say yes to ADR

possibility (as he remains open to non-litigious resolution of these issues and

previously dealt directly with Magistrate Ryu for ADR in an IRS refund owed Mr.

Austin case negotiation). However, Mr. Austin did not trust this increasingly

politicized case, after Defendant YGR’s previous conduct to disrupt fair hearing and

completely ignore Mr. Austin’s pleading, and cover sheet, in the Magistrate system.

Strangely, even when Mr. Austin made clear that he said “no” and did not provide

consent; it became a strange sticking point creating its own set of separate issues.

Ryu, previous presiding Judge recused, only after Mr. Austin already having

motioned for re-assignment, or recusal, and after Mr. Austin had already

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voluntarily withdrawn the case. Strangely, after not recusing, or facilitating a new

presiding judge so the case could actually be heard, at all, Ryu, previous judge

recused after the case was already withdrawn, but she did not dispose of the the

meritless sanctions motion, and instead recused for another judge to have a

separate judgment on just that issue. Thus, the case was sent, or re-assigned to

Breyer, presiding judge, after Ryu recusal solely for Sanctions motion


   32.​Mr. Austin withdrew or voluntarily dismissed per FRCP 41

32a.​ On 4/05/2024, 52, Self Represented Plaintiff, Mr. George Jarvis Austin,

provided notice of Voluntary Withdrawal or Dismissal (Without Prejudice) of this

entire, unrelated case, 137 (Docket Text: ORDER DENYING MOTION TO RELATE

CASES by Judge Yvonne Gonzalez Rogers Denying [135] Administrative Motion), in

its entirety under FRCP Rule 41 (without prejudice as is the presumption). The

Notice terminated the case, its operative complaint, Mr. Austin’s First Amended

Complaint (FAC;Dckt. 14), without need of court order upon receipt. Plaintiff ’s

notice is controlling under Rule 41 of FRCP without need of Judicial Order per Rule

41 of FRCP(A)(1)(A)(i - ‘notice’). Finding that it is "beyond debate that a dismissal

under Rule 41 is effective on filing, no court order is required, the parties are left as

though no action had been brought, the defendant can't complain, and the district

court lacks jurisdiction to do anything about it" See e.g. Commercial Space

Management Co. v. Boeing Co., 193 F.3d 1074 (9th Cir. 1999) This is a new,

unrelated, unheard case, Dckt. 137 with new defendants, never heard causes of

action. Mr. Austin voluntarily withdrew or voluntarily (dismissed) because of

documented Due Process, Equal Protection non-judicial act violations (without


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prejudice) this entire, unrelated, case 4:24-cv-00260-CRB [DMR] under Rule 41 of

FRCP without need of Judicial Order. Under Supreme Court’s Cooter Gel, provided

these facts, Defendant’s motion shouldn’t have even be considered in the first place.

32b.​ Although Mr. Austin was straightforward from the beginning based on the

limited information, and communications, available with him (as he was attempting

to communicate with an abuser of power), Georgetown was not and had ulterior

motive from the start. It is important to note that Mr. Austin did not actually want

to sue Georgetown, and simply wanted to understand why did they behave in the

manner they did, break the laws they did (once discovered), and then make the

appropriate corrections according to the law, policies, and promises promulgated by

Georgetown. But, that would be too much like right. Georgetown was committed to

wrong, and racialized, wrong in their dealings with Mr. Austin. Here, despite all on

Mr. Austin’s efforts up to this point to find some way to resolve proactively,

Defendant Georgetown decided to utilize procedural trickery “interposition and

nullification” type strategies to short circuit Due Process, Equal Protection and the

guarantees of the 13,14, and 15 Amend., & 1981, 1985 (These case are not related:

& No means No - Mr. Austin did not give consent to Magistrate)

32c.​ Mr. Austin alerted the Court when filing that cases were not related (by

leaving blank as civil form expressly instructs) because of completely different

causes of action, and different temporal legal injuries. In response Defendant

sneakily used “interposition and nullification” deceptive tactics, while knowing

these cases are completely separate cases, and causes of action, yet made deceitful

motion, on original cases docket, explicitly lying that the causes of action are

identical (when they are not substantively, temporarily, or continuously via ongoing

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conduct). Defendant Gonzales Rogers either didn’t read the complaint, at even a

cursory level, or chose to join in the deceit either way violating Mr. Austin’s Due

Process. Defendant Georgetown made a motion on technical, not substantive,

grounds so Mr. Austin proactively, in abundance of caution, shortened the operative

complaint knowing Defendant’s Gonzales Rogers preference, and bias against longer

complaints (to a length well within Ninth Circuits documented allowable lengths).

When Defendant Gonzales Rogers struck the amended complaint, in violation of the

FRCP and controlling precedent guiding principles, Defendant YGR’s bias, and Due

Process violations became more overt. Mr. Austin withdrew. 32d.​            Mr. Austin

updated the complaint, again, filed the new unheard causes of action and added

Defendant Gonzales Rogers to prevent the same due process, equal protection, and

other non-judicial act violations as described. Because Mr. Austin observed the

previous complaint taken from Magistrate Judge, Mr. Austin decided to not consent

to Magistrate Jurisdiction as the issues appear a bit too politicized inspiring

reactionary behaviors by stakeholders. The second time Defendant made the

underhanded motion, on the original docket, Mr. Austin went out of his way to

make clear that this is a separate, distinct, unrelated case and Defendant Gonzales

Rogers concurred. See dckt. 137 (Docket Text: ORDER DENYING MOTION TO

RELATE CASES by Judge Yvonne Gonzalez Rogers Denying [135] Administrative

Motion). However, as soon as ruled as non-related cases, the Defendant Georgetown

went into propaganda mode and actually began ignoring the ruling, spinning the

information in dishonest ways, still tried every way possible to undercut a fair

hearing on the merits (including the Sanctions motion).




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32e.​ Mr. Austin added Defendant Gonzalez Rogers as a defendant based on her

conduct, and willingness to join an active conspiracy violating Mr. Austin’s

Constitutional rights as she previously has demonstrated extreme incompetence,

ultimate repeated disrespect, & anti-Black male discriminatory animus, toward Mr.

Austin. Ms. Gonzalez Rogers demonstrates an ongoing propensity to interfere with

Mr. Austin’s legal exercise of his rights (including rights to Equal Protection under

the law, Privacy, 42 USC 1981, Due Process, and other Constitutional Rights). Ms.

Gonzalez Rogers has gone out of her way to, making overt administrative acts, show

a disrespect of the Federal Rules of Civil Procedure, or extreme incompetence of

them, with discriminatory animus toward Mr. Austin (i.e. not understanding service

of process by the ECF system, nor Amending Complaints). Mr. Austin added YGR

as a Defendant not for liability in the damages portion of the Demand, but simply

as the Supreme Court, Ninth Circuit, and California Supreme Court explicitly

provides for injunctive relief to prevent her ongoing negative, administrative, &

discriminatory interference with Mr. Austin’s exercise of his Constitutional Rights

to Due Process, Equal Protection, & other fundamental rights, creating both

conspiratorial criminal, & civil injunctive, liability for Ms. YGR. See e.g. 18 USC

§241, 242. See Dckt 15-16

   33.​FAC Complies with FRCP RULE 8, 15; Original Jurisdiction

33. ​   Mr. Austin’s complaint more than complies with Rule 8, and 15. It is well

established, a complaint’s length does not violate Rule 8 when intelligible,

organized, and provides fair notice of claims. There are no page number limits. Mr.

Austin’s 64-page Amended Complaint, 17 pages less than Hearns in the abundance

of caution meets Rule 8 pleading standards under Ninth Circuit’s Hearns. See e.g.

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Hearns v. San Bernardino, 530 F.3d 1124, 1127 (9th Cir. 2008) (“81-page complaint

alleging discrimination by an African American police officer … meets Rule 8

standards). “Original,” Federal Question, Jurisdiction exists per 28 U.S.C. 1331; See

S-82

    34.​Complaint is Substantive, Heavy in Good Faith: opposite of frivolity
             “But when a plaintiff has voluntarily dismissed a complaint pursuant to Rule 41(a)(1), a collateral
             proceeding to examine whether the complaint is well grounded will stretch out the matter long beyond the
             time in which either the plaintiff or the defendant would otherwise want to litigate the merits of the claim.

             An interpretation that can only have the unfortunate consequences of encouraging the filing of sanction
             motions and discouraging voluntary dismissals cannot be a sensible interpretation of Rules that are
             designed "to secure the just, speedy, and inexpensive determination of every action." Fed. Rule Civ. Proc. 1”
                        -​   Cooter Gell v. Hartmarx Corp. 496 U.S. 384 (1990) Cited 4,115 times
                                           -​
34a.​ Under Supreme Court’s Cooter Gel (even the consideration of) Defendant

Georgetown’s deceptive motion for any sanction, under these set of facts (as

explained above), “when plaintiff has voluntarily dismissed a complaint” should

have been considered a waste of judicial, and plaintiff, resources, and antagonistic

to FRCP Rule 1, (and the guiding principles of the entire Rules of Civil Procedure

which are designed) "to secure the just, speedy, and inexpensive determination of

every action." It is Defendant Georgetown, (not Plaintiff), going out of their way to

evade a trial on the merits of still unheard issues, using “ interposition and

nullification” tactics employed by White Supremacist anti-Black segregationists

opposed to 1954 Brown v. Board of Education. There should be No Sanctions, and

no consideration of Sanctions on the plaintiff, whatsoever.

34b.​ Mr. Austin’s cases have Merit, & are firmly rooted in well settled US, and

California Supreme Court, Ninth Circuit, jurisprudence & factual pleading

standards.​ One of Mr. Austin’s ongoing cases, 3:23-cv-00067-AGT, based on

well-settled Supreme Court, Ninth Circuit, and California Supreme Court law, is

currently, and already, completed the discovery stage of its own, valuable, and

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important, multi-million dollar legal proceeding with an overabundance of

Defendant disclosed, and admitted, (as well as public) direct evidence proving every

cause of action Mr. Austin plead. That case has already twice defeated motions to

dismiss, and has defendant producing over 3,000+ pages of discovery admitting, and

directly proving, each element of every cause of action. Mr. Austin’s cases are

neither meritless, nor groundless, and in fact are rooted in well settled,

longstanding, Supreme Court, Ninth Circuit, and California Supreme Court

Jurisprudence (and standards for factual pleading).

      “The Court agrees that Riveredge's action was not "frivolous" as that term has been defined under Rule 11. See
      Napier v. Thirty or More Unidentified Federal Agents, 855 F.2d 1080, 1090-91 (3d Cir. 1988) (to be frivolous there
      must be no legal basis for suit, and no argument "advocating a good faith extension or modification of current law");
      Mareno v. Rowe, 910 F.2d 1043, 1047 (2d Cir. 1990) ("to constitute a frivolous legal position for purposes of Rule 11
      sanction, it must be clear under existing precedents that there is no chance of success and no reasonable argument
      to extend, modify or reverse the law as it stands")
           -​   Riveredge Assoc. v. Metro. Life Ins. Co. 774 F. Supp. 897 (D.N.J. 1991)

      “We reversed the sanctions, stating that "[w]e believe a plausible, good faith argument can be made … to the
      contrary." Id. at 833; see also Davis v. Veslan Enterprises, 765 F.2d 494, 498 (5th Cir. 1985) ("the district court's
      determination to impose sanctions may depend on `whether the pleading, motion, or other paper was based on a
      plausible view of the law.'") (quoting comment to 1983 amendments”
           -​   Golden Eagle Distributing Corp. v. Burroughs 801 F.2d 1531 (9th Cir. 1986) Cited 304 times

34c.​ When illegal conduct occurs 1. temporally after disposition of previous case,

or 2. In an ongoing manner in violation of the law, Res judicata does not apply (even

to identical causes of action like in Brown I, and Brown II ; whereas obtaining

non-facially discriminatory education systems, in the South, as standard operating

procedure required additional litigation from which the first Black, non-White,

Supreme Court Justice, Thurgood Marshall was instrumental). See e.g. www.

uscourts.gov/educational-resources/educational-activities/justice-thurgood-marshall-

profile-brown-v-board
      “Marshall took over the NAACP Legal Defense and Education Fund and argued Sweat v. Painter (1950) and
      McLaurin v. Oklahoma Board of Regents of Higher Education (1950). Having won these cases, and thus, establishing
      precedents for chipping away Jim Crow laws in higher education, Marshall succeeded in having the Supreme Court
      declare segregated public schools unconstitutional in Brown v. Board of Education (1954).

      After Brown, Marshall argued many more court cases in support of civil rights. His zeal for ensuring the rights of all
      citizens regardless of race caught the attention of President John F. Kennedy, who appointed him to the U.S. Court
      of Appeals. In 1965, Lyndon Johnson appointed him to the post of Solicitor General (this person argues cases on
      behalf of the U.S. government before the Supreme Court; it is the third highest office in the Justice Department).
      Finally, in 1967, President Johnson appointed him to the U.S. Supreme Court. Until his retirement from the Court
      in 1991, Marshall continued to strive to protect the rights of all citizens. Thurgood Marshall died in 1993, leaving

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      behind a legacy that earned him the nickname "Mr. Civil Rights." Before his funeral, his flag-draped casket was laid
      in state in the Great Hall of the Supreme Court. He was only the second justice to be given this honor.”

34d.​ Oliver Brown v. Board of Education II (often called Brown II) was a Supreme

Court case decided in 1955. The year before, 1954, the Supreme Court had decided

Brown v. Board of Education (Brown I), which made racial segregation in schools

illegal. However, many all-white schools in the United States had not followed this

ruling and still had not integrated their schools (choosing to buck the law, enforcing

an inferiority complex in Black children based on derogatory racial stereotypes). See

e.g. Brown v. Board of Education, 347 U.S. 483, 494 (1954)
      (“To separate them from others of similar age and qualifications solely because of their race generates a feeling of
      inferiority as to their status in the community that may affect their hearts and minds in a way unlikely ever to be
      undone. .. "Segregation of white and colored children in public schools has a detrimental effect upon the colored
      children. The impact is greater when it has the sanction of the law; for the policy of separating the races is usually
      interpreted as denoting the inferiority of the negro group. A sense of inferiority.. all persons, whether colored or
      white, shall stand equal before the laws of the States, and, in regard to the colored race, for whose protection the
      amendment was primarily designed, that no discrimination shall be made against them by law because of their
      color? The words of the amendment, it is true, are prohibitory, but they contain a necessary implication of a positive
      immunity, or right, most valuable to the colored race, — the right to exemption from unfriendly legislation against
      them distinctively as colored, — exemption from legal discriminations, implying inferiority in civil society, lessening
      the security of their enjoyment of the rights which others enjoy, and discriminations which are steps towards
      reducing them to the condition of a subject race." ..Virginia v. Rives, 100 U.S (1880); Ex parte Virginia.. (1880).”)
34e.​ In Brown II, because of the ongoing discriminatory conduct, despite the

previous disposition of the case, it was not barred by Res Judicata, as a separate,

unrelated case, and instead the Court ordered them to integrate their schools "with

all deliberate speed." The Court espoused principles in Brown I & II were later

codified in Title VI of the Civil Rights of Act of 1964 tying any recipient of Federal

Funds (directly or indirectly) to this anti-discriminatory mandate (including

Georgetown just like Harvard or UNC). See also e.g. Students for Fair Admissions,

Inc. v. President & Fellows of Harvard Coll., No. 20-1199, 109 (U.S. Jun. 29, 2023):
      (“ [Forbids] from intentionally treating one person worse than another similarly situated person because of his
      race,[or derogatory racial stereotypes]”..."In cautioning against 'impermissible racial stereotypes,' this Court has
      rejected the assumption that 'members of the same racial group-regardless of their age, education, economic status,
      or the community in which they live-think [or presumptively act] alike '" (quoting Shaw v. Reno, 509 U.S. 630, 647
      (1993))...“the Court's Equal Protection Clause (“coextensive” with sec. 1981) jurisprudence forbids such [derogatory]
      stereotyping”....“furthers "stereotypes that treat individuals as the product of their race, evaluating their thoughts
      and efforts-their very worth as citizens-according to a criterion barred to the Government by history and the
      Constitution." Id., at 912 …. Such stereotyping can only "cause[] continued hurt and injury," Edmonson, 500 U.S., at
      631, contrary as it is to the "core purpose" of the Equal Protection Clause, Palmore, 466 U.S., at 432.”...“tremendous
      harm inflicted [by use of derogatory racial stereotyping]…. See Cooper v. Aaron, 358 U.S. 1, 16 (1958) (following
      Brown, "law and order are not here to be preserved by depriving the [so-called Negro; Black or African American
      people] of their constitutional rights"). of their constitutional rights"). As the Court's opinions in these cases make
      clear, … racial stereotypes harm and demean individuals.”)


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34f.​   Mr. Austin’s cases not only have Merit, but are not barred by res judicata, nor

double jeopardy (for 18 USC 241, 242 Defendant violations under investigation), as

they are 1. temporally after disposition of previous case, and 2. based on ongoing

violations. The highlighted principle is that the first illegal discriminatory act,

after disposing of that case, Brown I (no matter in whose party favor) does not

eliminate the Article III recognized harm of continued discriminatory conduct (even

under the precisely same cause of action). Mr. Austin’s cases are completely distinct

and separate (Diversity Jurisdiction causes of action terminating on 7.14.21 vs.

Original Jurisdiction causes of action which began 7.15.21 and continue to the

present). Mr. Austin did not bring the same cause of action. The first case, pre-

July 14 2021 hinged primarily on applicability of California law in Federal Court

through diversity jurisdiction of Civil code 3344, which Defendant characterized as

a long arm statute, as Georgetown exploited Mr. Austin’s image, in California,

without Mr. Austin’s knowledge, nor consent. The Court ruled there was not

enough ‘minimum contacts’ for diversity jurisdiction and thus the entire case was

dismissed on 7.14.21. The court did not exercise jurisdiction and did not rule on the

substance of the California state privacy nor publicly violations as it ruled it had no

authority to because it lacked diversity jurisdiction. However, that has no impact

on the causes of action stemming from Defendant’s conduct after disposition of that

first diversity jurisdiction based case.

34g.​ Like Defendant’s Board of Education II, Defendant Georgetown’s

“interposition and nullification,” of now well settled law, against anti-Black

derogatory stereotypes depriving education access, inclusion, or respect of rights

(like right to contract under 1981) is telling as to what is in Georgetown’s heart of

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hearts, and motives. As soon as filed Defendant Georgetown, like Defendant Board

of Education in Brown II not only flaunts bucking the law (as they themselves

voluntarily publicly explain it), but attempt to utilize underhanded, nefarious, bad

faith, and knowingly false-deceitful tactics to obstruct a fair hearing of the issues on

the merits, and surely show no interests in alternative dispute resolution.

Georgetown makes clear their intent: in fact they don’t hide it. They are facially

discriminatory, just like the Board of Education in Brown II (based on derogatory

racial stereotypes), and moreover like reactionary, anti-Black pre-desegregation,

Jim Crow upholding, southern state legislatures who took immediate action of

“interposition and nullification" to impose sanctions on those who operated

according to Supreme Court law against US racial apartheid. See e.g. bluetiger

commons.lincolnu.edu/lgaines_sec6/10/#:~:text=State%20legislatures%20in

%20Alabama%2C%20Georgia,anyone%20who%20implemented%20desegregation%2

C%20and:
      “State legislatures in Alabama, Georgia, Mississippi, South Carolina, and Virginia adopted resolutions of
      "interposition and nullification" that declared the Court's decision to be "null, void, and no effect." Various southern
      legislatures passed laws that imposed sanctions on anyone who implemented desegregation enacted school
      closing plans that authorized the suspension of public education, and the disbursement of public funds to parents to
      send their children to private schools.”
34h.​ Georgetown knows what the law says they have to do, they even explicitly list

what the law says the have to do (including disclosure of materially omitted facts

after they’ve already violated someone's rights), but when it comes to Black males,

they feel entitled to say the “hell with the law (no matter what we write, what our

publicly documented policies are based on the law), and the hell with Black men,” in

facially (on its face) violative manner just like Brown II. Mr. Austin’s cases are not

repetitive refilings, but reflect independent Article III, Supreme Court recognized,

well settled, discrete adverse, new, legal harms. Mr. Austin did not replead the

previously plead harms from 2019-2020 (i.e. Civ. Code 3344, privacy), nor did he

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refile the same exact case which causes of action terminated with the 7.14.21

judgment-disposition per lack of diversity jurisdiction. Instead, Mr. Austin filed a

new case, with new Defendant harms of ongoing discriminatory conduct never

before plead, nor experienced, by Georgetown University to an admitted Black male

student after 7.15.21 to the present. Neither Civil Code 3344, nor privacy, nor

Diversity Jurisdiction are part of this action (outside of context setting up for the

current, and ongoing, causes of action after disposition of the previous case). Mr.

Austin has never been disciplined or in any trouble with any institution of higher

education, ever, has straight A’s the last nine semesters, is a good student, good

person, and good citizen (attentive, conscientious and straightforward). Dckt. 14;

         35.​ Magistrate Judge Ryu is privy to two of Mr. Austin’s cases
        demonstrating Merit, and defeating Defendant’s motion to dismiss.
35a. ​ Magistrate Judge Ryu was previously privy to two of Mr. Austin’s cases which

went beyond the motion to dismiss, demonstrating factual grounding above

heightened pleading standard post Iqbal and Twombly, and repeatedly

demonstrated Merit, for trial proceedings (both cases in privity defeating Defendant

motions to dismiss, going through initial case management, trial scheduling,

preparation, and discovery, etc.). It is important to note this was done with Mr.

Austin seeking, but being denied, help from the Pro Se Center on both procedural

and substantive issues, while working full time, remaining a Straight A student,

keeping his credit score up (i.e. timely paying bills, and effective money

management), while being severely injured, and tending to the myriad of other

outside responsibilities. Mr. Austin still pushed through to follow the law, and

stand up for the rule of law, as a limited resourced self represented Black man. Mr.

Austin did so while facing discrimination by White very well resourced, and
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connected (with undue influence) ‘Goliath’ (bullying) law breakers (who already

have a huge unfair advantage) like in Brown I, and Brown II.

35b. ​ Mr. Austin is decisive, and utilizes judicial resources as they were intended to

be used, in the interest of justice, fairness, and for the rule of law (not bullying

White, anti-Black, “Goliaths” imposing their will on those with less material

resources). One case, of the two, Magistrate Judge Ryu was privy to was against the

IRS for failing to provide owed overpayment of taxes while Mr. Austin worked full

time at Tesla Motors, Inc. Embodying the Cooter Gell, FRCP Rule 1, principle "to

secure the just, speedy, and inexpensive determination of every action," Mr. Austin

ended up withdrawing, or voluntarily dismissing, and not refiling, as the costs of

trial itself, to Mr. Austin (while mindful of judicial resources), would outweigh any

benefit of winning the less than $10,000 amount owed for non-paid tax refund by

the IRS. When speaking with Magistrate Judge Ryu during the ADR proceeding he

followed all instructions, including an email with the specific ‘minimum’ amount he

would accept for settlement to dmrsettlement@cand.uscourts.gov (as a

demonstration of Mr. Austin’s good faith, and intent to "to secure the just, speedy,

and inexpensive determination of every action.")

      ---------- Forwarded message ---------
      From: George Austin <gaustin07@berkeley.edu>
      Date: Thu, Mar 9, 2023 at 9:30 PM
      Subject: Settlement Offer Per Dckt#121 (and Settlement Conference Call)
      To: Yost, Landon M. (TAX) <landon.m.yost@usdoj.gov>, western.taxcivil_usdoj.gov <western.taxcivil@usdoj.gov>
      Cc: <DMRsettlement@cand.uscourts>
      Good Evening, Judge Ryu and Mr. Yost
      Per the settlement conference call I am following up with a settlement Demand or Offer that I would consider. I (Mr. George Jarvis
      Austin) would consider a settlement offer in the range of $.................. ….. to avoid further unnecessary delays, and litigation costs.
      The original costs, refund amount owed Mr. Austin, is ………, I'd be willing to consider an offer in the range of ………………. to
      encourage prompt resolution of this matter going on three years in September-October (when payment should have been made in
      2020).
      Are you amenable to this offer, Mr. Yost ?
      Thank you,

      George Jarvis Austin
      Self Represented, Pro Se


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      ---------- Forwarded message ---------
      From: George Austin <gaustin07@berkeley.edu>
      Date: Thu, Apr 6, 2023 at 1:16 AM
      Subject: Pre-Settlement Follow Up
      To: <dmrsettlement@cand.uscourts.gov>
      Good Evening, Hon. Ryu
      Attached is my pre-settlement follow up.
      Thank you,
      George Jarvis Austin
      Self Represented, Pro Se
      ---------- Forwarded message ---------
      From: DMR Settlement <DMRsettlement@cand.uscourts.gov>
      Date: Tue, Apr 11, 2023 at 4:03 PM
      Subject: RE: Pre-Settlement Follow Up
      To: George Austin <gaustin07@berkeley.edu>
      Hi Mr. Austin –
      I reviewed the “Pre-Settlement Follow Up” note that you emailed to me on 4/6/23. I am not sure what it means. Are you planning on
      dismissing your case? Your settlement papers were due yesterday for our 4/18/23 settlement conference but I didn’t receive them.

      Thank you,
      Judge Ryu




                                                        Donna M. Ryu

                                                        Chief Magistrate Judge
                                                        United States District Court
                                                        Northern District of California
                                                        https://cand.uscourts.gov/dmr
                                                        Pronouns: She/her


      ---------- Forwarded message ---------
      From: George Austin <gaustin07@berkeley.edu>
      Date: Wed, Apr 12, 2023 at 3:41 PM
      Subject: Re: Pre-Settlement Follow Up
      To: DMR Settlement <dmrsettlement@cand.uscourts.gov>
      Good afternoon, Happy April 12th, Judge Ryu
      Indeed, I just put a motion to ‘withdraw’ the case as the costs, at this point, far outweigh any potential (nominal) benefit on this case.
      Thank you for the question prompt regarding costs as that helped me prioritize this appropriately.
      Thank you,

      George Jarvis Austin
      Self Represented, Pro Se
35c.​ Mr. Austin was owed the entire overpayment amount plead (tax refund), but

in good faith sent a lower amount, based on the Court’s, and Magistrate Judge Ryu’s

instructions of how good faith negotiations can typically help settlement matters to

be expedited. However, the offer from the IRS’s end, although significant, was still

an insult based on the amount of due diligence, documented direct evidence, follow




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up, energy, and attempts to solve before ever even considering a lawsuit (for an

already IRS approved tax refund).

36d.​ Although, the IRS offered a settlement amount it was too low with

Magistrate Judge Ryu, as the judge convening the ADR settlement conversation

after defeating the IRS’s motion to dismiss demonstrating merit, to be considered in

good faith, and thus Mr. Austin withdrew (and has not refiled the case). Of note,

the amount of earned income wages was not in question. The promulgated concern

was the business related expenses for an ongoing side business which Mr. Austin

had very detailed receipts, invoices, documentation, and direct evidence, but was

insulted (that after all the time, effort, diligence, and energy on the front end to

proactively communicate, and provide any needed information with the IRS - phone,

email, mail, etc. they would still try and pro-long healthy resolution just to drag it

out). The did so knowing winning at trial would still be less than 10K (for the owed

tax refund the extent of allowed IRS liability in that context). Austin v. Tesla

Motors, Inc. 3:23-cv-00067-AGT is ongoing, with demonstrated merit, with Tesla

Court ordered to produce materially omitted information of 3,000 pages of

disclosures, only after Mr. Austin’s granted motion to for Tesla to produce

information they owed, and continued to owe each time Mr. Austin requested, post

separation (despite the legal requirement to do so in 30 days or less after request

from an employer or joint employer, even 3 years after separation) substantiating

every one of Mr. Austin’s plead causes of action defeating publicly traded,

multi-billion dollar “Goliath” Defendant Tesla Motor Inc.’s motion to dismiss

3:23-cv-00067-AGT.




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36e.​ The 3,000+ pages defendant Tesla Motors, Inc. produced to Mr. Austin of

initial discovery per General Order 71 (Employment Disclosure Protocols), highlight

& substantiate All of the precisely factually plead, publicly documented, racially

anti-Black hostile work environment (By California Supreme Court Writ, California

Attorney General, Diaz v. Tesla Motors Jury Award, a separate 500 page sworn

affidavit of over 100+ Black Tesla Workers attesting to past, and ongoing,

horrendous racially discriminatory conduct, and countless articles), which Mr.

Austin also personally experienced because he is a Black man, as well as other

facially discriminatory conduct, California and Federal Labor Code record-keeping,

and production, violations, as well as other legal violations. Because of the different

scenario Tesla Motors, Inc. case was wise to move forward, after doing a cost benefit

analysis: both instances display correct use of judicial, and plaintiff resources.

Many people, knowing they are right, and are admittedly owed money by the IRS or

other entity, would just go for it without mindfulness of the material, and

non-material costs and strain on judicial resources; But, Mr. Austin did (even while

knowing he would win, as he was already offered settlement, and knowing he was

right). Mr. Austin utilizes judicial resources as they were intended and according to

guiding principles in FRCP Rule 1, and undergirding all FRCP Rules.

    36.​ Mr. Austin is a conscientious, diligent, thoughtful, engaged, Citizen
          who exercises his God given rights as the Constitution intended
                             (per controlling precedent).

36a.​ Mr. Austin’s well researched cases, and causes of action, following well settled

Supreme Court precedent, honest, fact intensive, detailed (without outside help

although he sought the aid of Pro Se Clinic) are part of civic engagement &

education process for a pro se litigant and engaged citizen. See www.cand.

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uscourts.gov/ community-outreach/.

       “a pro se complaint, .. must be held to less stringent standards than formal pleadings drafted by lawyers.”
                                      -​   Erickson v. Pardus, 551 U.S. 89, 94 (2007)


In light of the Supreme Court’s Erickson v. Pardus mandate for pro se litigants to be

held to less stringent standards (as they do not have the same luxuries, nor

professional resources, guidance, training, etc. as formal bar certified attorneys)

this mean spirited, and underhanded, wasteful of resources under Cooter Gel,

motion must be placed in proper context. This is especially true under Supreme

Court’s Griffin v. Breckenridge per the US African American or Black American

experience as the 13th, 14th, and 15th Amendments were brought forth to explicitly

protect Black people’s rights, under the circumstances Mr. Austin’s pleadings

directly address. See Griffin v. Breckenridge 403 U.S. 88 (1971) Cited 4,194 times:

      “And surely there has never been any doubt of the power of Congress to impose liability on private persons under § 2
      of that amendment, "for the amendment is not a mere prohibition of State laws establishing or upholding slavery,
      but an absolute declaration that slavery or involuntary servitude shall not exist in any part of the United States."
      Civil Rights Cases, 109 U.S. 3, 20. See also id., at 23; Clyatt v. United States, 197 U.S. 207, 216, 218; Jones v. Alfred
      H. Mayer Co., 392 U.S., at 437-440. Not only may Congress impose such liability, but the varieties of private conduct
      that it may make criminally punishable or civilly remediable extend far beyond the actual imposition of slavery or
      involuntary servitude. By the Thirteenth Amendment, we committed ourselves as a Nation to the proposition that
      the former slaves and their descendants should be forever free. To keep that promise, "Congress has the power under
      the Thirteenth Amendment rationally to determine what are the badges and the incidents of slavery, and the
      authority to translate that determination into effective legislation." Jones v. Alfred H. Mayer Co., supra, at 440. We
      can only conclude that Congress was wholly within its powers under § 2 of the Thirteenth Amendment in creating a
      statutory cause of action for Negro citizens who have been the victims of conspiratorial, racially discriminatory
      private action aimed at depriving them of the basic rights that the law secures to all free men.”

36b.​ Mr. Austin did nothing wrong, and in fact did what the law provides for what

a Black person, and Black male admitted student, should do under the

circumstances he is experiencing. When Mr. Austin was made aware of any issues,

he adjusted and changed per the requests or orders presented. Mr. Austin has

already applied the lessons from this scenario to other new ongoing cases, with

never heard issues. Mr. Austin filed this separate, unlitigated, case with ongoing

discrete adverse unconstitutional actions in good faith seeking relief from ongoing

anti-Black racism akin to Oliver Brown (II) v. Board of Education whereas his


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federal right to non-discriminatory education is being infringed, trampled upon or

murdered.

36c.​ At present, Mr. Austin has no plans on re-filing this separate, unrelated case,

either, although the issues have not been litigated, at all (i.e. Notice Clarification

without prejudice). Mr. Austin’s intent, after Georgetown’s Article III legal harms

materialized fully, was to give Georgetown a good faith opportunity to correct their

ongoing pattern of facially discriminatory conduct toward a highly recruited,

admitted Black student (whom they owe certain duties under Federal and

California law). Mr. Austin never wanted, nor does he want, to sue Georgetown (or

anyone for that matter). Mr. Austin never intended to be involved in litigation (not

even in a professional capacity), and instead was interested in the collaborative

aspects of business and entrepreneurial law (helping to to design win-win scenarios

for all stakeholders). Georgetown’s illegal conduct, ongoing and unrepentant, is

what triggered litigation. However, in seeing the counsel’s attitude, reflecting

Defendant’s direction, toward ADR they have made clear their intent, & thought

pattern toward Black male students. Counsel’s attitude toward having a basic

conversation within the realm of their professional capacity about Plaintiff

proactively obtaining materially omitted information to try and work out a mutually

beneficial solution outside of a litigation context (in context to the long anti-Black

history of that particular institution), after they violated his rights, and continue to

violate his rights further highlight or ‘Spotlight’ defendant Georgetown’s abusive

posture and mindset: who seeks to harm their own admitted students?.




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   37.​ Mr. Austin’s cases honor the legacy of ‘Mr. Civil Rights’ the first
      Black, non-White, Supreme Court Justice Marshall in the subject
      matter, specific parties (i.e. Black student(s); Powerful White
      educational institution), context, and principles.
37a.​ Mr. Austin’s diligent, conscientious, courageous, tireless, and autodidact

efforts, and cases, should be celebrated, and encouraged, as they stand up for the

rule of law. Not the rule of bullying White Goliath defendants who feel entitled to

take whatever they want without consequences. This should be celebrated,

encouraged, and supported (even by Georgetown themselves as this goes to the

heart of their advertised principles), not retaliated against with any sort of

sanctions (as it cemented from the foundation of the founding of the United States.

See Dckt. 44. Beyond any sanctions, this honorable conduct by an engaged citizen

standing up for his rights, to a “Goliath” bully, based on factually pled, precedent

based, well settled, grounded lawsuits should be applauded, encouraged, and

supported (by both the Judiciary, and Law Schools like Defendant as this is what

they publicly promote, and is foundational to our legal system). See e.g.

www.uscourts.gov/educational-resources/educational-activities/justice-thurgood-mar

shall-profile-brown-v-board

      “chipping away [at] Jim Crow …in higher education, Marshall succeeded in having the Supreme Court declare
      segregated public schools unconstitutional in Brown v. Board of Education (1954).

      After Brown, Marshall argued many more court cases in support of civil rights. His zeal for ensuring the rights of all
      citizens regardless of race”


37b.​ Like Justice Marshall, eradicating this illegal Jim Crow like conduct is what

Mr. Austin is doing (on a smaller scale as a Self Represented litigant who is

personally experiencing Jim Crow (or worse its Enslaver predecessor era) like

facially discriminatory conduct from the White, ‘Goliath’ Defendants he is suing).

Mr. Austn most definitely should not be met with an extreme measure designed to


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discourage endless baseless lawsuits, not grounded in fact, nor law, nor precedent

(as that is the opposite of what Mr. Austin is doing).                       Equal Protection per 1. the

current Supreme Court’s factual pleading standards, 2. framework of analysis, 3.

actual cited to specific examples for application, and 4. instructions on Equal

Protection violations applied directly to Mr. Austin’s experience with Georgetown is

not frivolous, nor baseless, at all, (it is the opposite). Coextensive 42 USC 1981

violations per the current Supreme Court’s 1. factual pleading standards, 2.

framework of analysis, 3. actual cited to examples for application, and 4.

instructions on Equal Protection violations applied directly to Mr. Austin’s

experience with Georgetown is not frivolous, nor baseless, at all, (it is the opposite).

      “Frivolous filings are "those that are both baseless and made without a reasonable and competent inquiry." Buster v.
      Greisen, 104 F.3d 1186, 1190 (9th Cir. 1997)
This is a form of individual liberty, the heights of political participation and

citizenship as well as foundational self defense against racial abuse (especially for a

Black man) right up there with the 1st and 2nd Amendment.

      “"The first amendment is first for a reason.. The second amendment is just in case the first doesn't work out.”
          -​   Dave Chappelle

37c.​ Because Mr. Austin’s cases or causes of action 1. have merit, 2. are not barred

by res judicata, and 3. honors the legacy of only the second Justice to be provided

the honor of “his flag-draped casket … laid in state in the Great Hall of the

Supreme Court,” they cannot be frivolous, and are in fact the opposite as his

pleadings address facially violative conduct of Title VI, Equal Protection, 42 USC

1981, and other fundamental laws (providing more than a ‘plausible’ view of the

law) under the 2023 Supreme Court’s Students for Fair Admissions, Inc. v.

President & Fellows of Harvard no sanction should even be considered. Mr. Austin’s

case(s) or still unheard on the merits causes of action are based precisely on the


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Supreme Court’s most on point recent ruling on the very topic displaying an

overabundance of Merit, and facially discriminatory prima facie case Defendant

conduct. See e.g. Students for Fair Admissions, Inc. v. President &

Fellows of Harvard Coll. No. 20-1199 (U.S. Jun. 29, 2023):
      (For present purposes, it is significant that, in so excluding Black people, government policies affirmatively
      operated…., affirmatively acted-to dole out preferences [creating unfair advantage for centuries] to those who
      ….were not Black [,helping to create massive racial wealth inequality and other societal racial markers of inequity;
      injustice))
      (“[Georgetown’s privacy, and internal complaint or conflict resolution] systems also fail to comply with the Equal
      Protection Clause's [co-existent with section 1981’s) twin commands that race may never be used as a "negative" and
      that it may not operate as a [derogatory] stereotype…. [Georgetown’s structures] are zerosum, and a benefit
      provided to some [students] but not to others necessarily advantages the former at the expense of the latter.”)”)
      (“[Georgetown’s privacy, and complaint structures] are infirm for a second reason as well: They require[d]
      stereotyping [Mr. Austin by the way the operated]-the very thing Grutter foreswore….it engages in … offensive …
      demeaning [and derogatory] assumption[s] …. Such stereotyping is contrary to the "core purpose" of the Equal
      Protection Clause. Palmore, 466 U.S., at 432. Pp. 2629.”)

As part of his duties to report wrongdoing, when initially uncorrected, Mr. Austin is

a Federal whistleblower, and admitted student (with ongoing simultaneous

investigations) protected by whistleblower statutes per OIG, DOE, DOJ, etc.,

regarding good faith formal complaint(s) of Defendant Georgetown illegal,

fraudulent, facially discriminatory, Equal Protection violating ongoing conduct.

37d.​ Mr. Austin made formal complaints and provided notice to key decision

makers of all stakeholder of Georgetown’s ongoing illegal conduct. Mr. Austin

alerted Defendant Georgetown and Magistrate Judge Ryu (and other witnesses) in

real time that he is a whistleblower and protected by Federal Whistleblower

statutes. In response Defendant Georgetown, and their counsel, notably did not

correct their ongoing violations of Federal, DC, and California law, but furthered

their illegal conduct through additional illegal discriminatory and retaliatory

conduct (like this motion) designed to intimidate, unjustly attack Mr. Austin’s

person, intelligence, and character, and suppress Constitutionally protected activity

(that he legally engages in conscientiously, thoughtfully and mindfully).




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37e.​ Defendant’s motion violates Due Process, is dishonest, in bad faith, and

retaliatory meant to harass, discourage civic engagement, and continue a

transparently discriminatory “interposition and nullification” White Supremacist

pattern and should have never even been considered. Defendant’s sanctions motion

is knowingly-willfully dishonest to violate Due Process. See e.g. Fjelstad v.

American Honda Motor Co.762 F.2d 1334 (9th Cir. 1985) Cited 317 times:
      (682 F.2d 802 (9th Cir. 1982). Due process limits the imposition of the severe sanctions of dismissal or default to
      "extreme circumstances" in which "the deception relates to the matters in controversy" and prevents their imposition
      "merely for punishment of an infraction that did not threaten to interfere with the rightful decision of the case."
      Wyle, 709 F.2d at 589, 591.)


Defendant knows they are acting in bad faith by “going to extraordinary measures

to [hide or] destroy evidence,” pervert justice, and evade a fair hearing on the merits

of the still unheard claims. See e.g. Haeger v. Goodyear Tire & Rubber Co., 793

F.3d 1122, 1133 (9th Cir. 2015):
      (“Leon, 464 F.3d at 961 (plaintiff demonstrated bad faith by going to extraordinary measures to destroy evidence). Actions
      constituting a fraud upon the court or actions that cause “the very temple of justice [to be] defiled” are also sufficient to support a bad
      faith finding. Chambers, 501 U.S. at 46, 111 S.Ct. 2123. For example, in Pumphrey v. K.W. Thompson Tool Company, the decedent's
      family brought a wrongful death action against a gun manufacturer after the decedent dropped the manufacturer's gun with the safety
      devices engaged and it fired, killing the decedent. 62 F.3d 1128, 1130 (9th Cir.1995). During trial, the manufacturer introduced tests
      showing that when the gun was dropped, the safeties performed as designed and the gun never fired. Id. After the trial concluded,
      Plaintiffs' attorney learned that in a subsequent, unrelated lawsuit, the manufacturer had produced tests during which the gun had fired
      when dropped. Id. These tests had not been produced during Plaintiffs' litigation even though they were available two months before
      trial, and despite the manufacturer's assurance that gun tests would be made available upon their discovery. Id. at 1131. The
      manufacturer also affirmatively mischaracterized the nature of these tests during later discovery, and introduced testimony during trial
      that it had never seen the gun fire when dropped. Id. at 1132. Plaintiffs moved to set aside the trial verdict, pursuant to Federal Rule of
      Civil Procedure 60(b). Id. at 1130. We upheld the district court's grant of a new trial finding that the manufacturer had “engaged in a
      scheme to defraud the jury, the court, and [the Plaintiffs], through the use of misleading, inaccurate, and incomplete responses to
      discovery requests, the presentation of fraudulent evidence, and the failure to correct the false impressions created....” Id. at 1132. We
      further held that the “end result of the scheme was to undermine the judicial process, which amounts to fraud upon the court.” Id.
      (citing Hazel–Atlas Glass Co. v. Hartford–Empire Co., 322 U.S. 238, 245–46, 250, 64 S.Ct. 997, 88 L.Ed. 1250 (1944) (deliberately
      planned scheme to present fraudulent evidence constitutes fraud upon the court); Abatti v. C.I.R., 859 F.2d 115, 118 (9th Cir.1988)
      (fraud upon the court involves unconscionable plan or scheme to influence the court improperly)). While the procedural posture of
      Pumphrey differs from the one in this case, the similarities with this case support the conclusion that the district court did not abuse its
      discretion in concluding that Sanctionees engaged in fraud upon the court in their scheme to avoid their discovery obligations.”)
Defendant counsel knows these are new, never heard, substantive issues, and

causes of action (both in substance and temporally) which is why he used procedural

manipulation tactics to avoid a hearing on the merits. Defendant descended into

underhanded maneuvers to discredit, and baseless ad hominem attacks to distract

from justice, not in pursuit of it (while distracting from the very real phenomena of

Defendant’s purpose of hiding or destroying material evidence).
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